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G. CALEB ALEXANDER, MD, MS, EXPERT WITNESS REPORT

BACKGROUND AND QUALIFICATIONS OF AUTHOR
1. My name is G. Caleb Alexander. I am a practicing general internist and Professor of
   Epidemiology and Medicine at Johns Hopkins Bloomberg School of Public Health. I have
   been retained by the Multidistrict Litigation (MDL) to provide my scientific expertise
   regarding the opioid epidemic, nationally and in Cuyahoga and Summit Counties, and ways
   to abate or reduce the harms caused by the oversupply of opioids into these communities.
   My research focuses on the utilization, safety, effectiveness and regulation of prescription
   drugs.

2. As a physician, I am responsible for the primary care of approximately 250 patients, most of
   whom live in and around Baltimore County. I have clinic one half-day per week and I am also
   responsible for patient care matters that arise at other times. The patients that I see range
   from young adults to nonagenarians and as a primary care physician, I oversee their acute,
   preventive and chronic needs, which include conditions such as asthma, diabetes,
   hypertension, osteoporosis, chronic pain, anxiety and depression. While I do not specialize
   in the care of patients with opioid use disorder (OUD), I have patients in my practice with
   OUD who I co-manage with addiction specialists, and I care for patients who have lost family
   members from fatal opioid overdoses.

3. In contrast to my work as a physician, as a pharmacoepidemiologist, I focus on “the study of
   the uses and effects of drugs in well-defined populations.”1 Pharmacoepidemiology is a
   bridge discipline that combines insights and tools from clinical medicine, pharmacology and
   epidemiology to generate fundamental new knowledge regarding the utilization, safety and
   effectiveness of prescription drugs. It also concerns itself with understanding the effects of
   pharmaceutical policy, such as regulatory or payment policies that influence prescription
   drug use. As a pharmacoepidemiologist, much of my work has focused on the nature, quality
   and determinants of prescription drug utilization in the United States, although I have also
   conducted or participated in many investigations examining the safety of specific products. I
   have used many different data for this work, often data that has already been assembled for
   other purposes, such as administrative claims data from health
   plans or large national surveys.

4. During the past eight years, I have devoted much of my
   professional time to addressing the opioid epidemic. I have
   served as one of three Co-Editors of monographs issued by the
   Johns Hopkins Bloomberg School of Public Health providing
   comprehensive, concrete, evidence-based solutions to the
   epidemic. These monographs were issued in October 2015 and
   October 2017; the latter report is provided as Appendix A
   (Figure 1). I have also testified in front of the U.S. Senate (March
   2015) and the U.S. House of Representatives (November 2017);



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    briefed groups such as the National Governors Association, Congressional Black Caucus,
    Centers for Medicare and Medicaid Services and the National Academy of Science,
    Engineering and Medicine; and participated in efforts to improve the safe use of prescription
    opioids within Johns Hopkins Medicine and other health systems. My work focused on the
    epidemic has been funded by the Department of Health and Human Services Assistant
    Secretary for Planning and Evaluation (DHHS/ASPE), the Centers for Disease Control and
    Prevention (CDC), the Robert Wood Johnson Foundation and the National Institutes of
    Health (NIH).

5. I have published extensively about opioids, including analyses of prescription opioid use in
   the United States2,3 as well as evaluations of the structure and impact of regulatory4,5,6,7,8,9,10,11,12
   and payment13,14,15,16 policies on opioid prescribing, dispensing and utilization. I have also co-
   authored policy perspectives17,18 and a widely referenced public health review of the
   epidemic.19

6. In addition to these studies, I have also led or participated in teams examining many other
   facets of the crisis, including: opioid initiation among members of households with a
   prescription opioid user;20 the effect of reformulated Oxycontin on opioid utilization;21
   physicians’ knowledge and attitudes regarding non-medical opioid use;22 use of medication
   for opioid use disorder (MOUD);23,24 the costs and healthcare utilization associated with high-
   risk opioid use;25 use of automated algorithms to identify non-medical opioid use;26 the
   relationship between high-risk patients receiving prescription opioids and high-volume
   prescribers;27 opioid use among individuals with HIV,28 chronic kidney disease29,30 or recent
   surgery;31,32,33 and potential financial conflicts of interest among organizations opposed to the
   CDC’s 2016 Guideline for Prescribing Opioids for Chronic Pain.34,35

7. The studies I have performed have used a variety of epidemiologic methods, including:
   descriptive analyses based on cross-sectional, serial cross-sectional and period prevalence
   designs; retrospective cohort studies using difference-in-difference, interrupted time-series,
   comparative interrupted time-series and time-to-event designs; prospective cohort studies;
   qualitative assessments using grounded theory; and narrative and systematic reviews. A
   complete list of my publications is contained in my curriculum vitae (Appendix B).

8. I received a B.A. cum laude from the University of Pennsylvania (Philosophy) in 1993, an M.D.
   from Case Western Reserve University in 1998, and an M.S. from the University of Chicago in
   2003. A more complete description of my qualifications is found in my curriculum vitae. My
   rate of compensation for this matter is $700 per hour. I am also reimbursed for my out-of-
   pocket expenses. I am not compensated based on the outcome of this matter nor the
   substance of my report.

9. The opinions and conclusions in this report are based on the information and documentation
   that was available to me at this time, and they are my own, rather than those of Johns Hopkins
   University. I reserve the right to supplement and revise these perspectives based on
   additional evidence or information that is made available to me after the date of this report.



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DATA SOURCES, METHODOLOGY AND OPINIONS
10. In preparing this report, I travelled to Akron, Ohio to meet with local stakeholders and
    reviewed materials from a number of sources, including: select confidential materials
    provided to me by Plaintiffs; published reports regarding the epidemic in Cuyahoga and
    Summit Counties such as the 2016 Cuyahoga County Opiate Task Force Report,36 February
    2019 Medical Examiner’s Office Report from Cuyahoga County37 and the 2017-2018 Summit
    County Opiate Task Force Strategic Plan;38 information derived from other national and local
    experts submitting reports in this litigation; and peer-reviewed literature, whitepapers,
    reports from public health authorities, non-profit organizations and other publicly available
    sources. Many of my findings are based on prior investigations that my team and I have either
    performed or synthesized, such as knowledge contained in Appendix A and in citations such
    as references #1-#35. A complete list of the documents I consulted in preparing this report is
    provided as an Attachment.

11. For some remedies, such as the use of MOUD1, the evidence-base is vast, with thousands of
    peer-reviewed manuscripts examining this matter. In these settings, formal evidence
    syntheses were often available, typically systematic reviews that represent a pre-specified,
    transparent, reproducible, highly structured approach to curating and critically appraising the
    totality of information required to address a carefully specified question. Because of their
    comprehensiveness and rigor, such evidence-syntheses are often regarded as at the top of
    the “evidence pyramid”.39 In some cases, I also used information available from authoritative
    sources such as the CDC, National Institutes on Drug Abuse (NIDA) or the Substance Abuse
    and Mental Health Services Administration (SAMHSA).

12. Whether or not systematic reviews were available, I reviewed the literature in order to learn
    more about the evidence supporting various approaches. There are a number of qualitative
    criteria that are often useful in evaluating the strength of scientific evidence supporting a
    given scientific finding or claim. These include factors such as the publishing journal,
    authorship team, affiliated institutions, funding source(s), data source(s), methodologic
    approach and interpretation.2 The “Hill Criteria” (strength of association, consistency,
    specificity, temporality, biological gradient, plausibility, coherence, experiment, and analogy)
    are also an important means of evaluating the strength of causal inference possible from a
    given scientific study.40

13. To estimate national abatement costs as described in Paragraphs #175-#181, I used an
    economic model of the opioid epidemic (“Markov model”). The model describes the
    dynamic movement of populations through different phases of the opioid epidemic, such as
    medical use, non-medical opioid use, OUD, overdose and death. It is based on publicly

1
 Definitions of terms such as “opioid use disorder”, “addiction”, “non-medical opioid use” and “misuse”
are provided in Dr. Katherine Keyes’ expert report.
2
 Neither these criteria nor the Hill Criteria are absolute. Rather, they serve as contextual factors that provide
qualitative information that can be useful in examining the credibility of scientific claims.



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   available data from the United States Census Bureau, Centers for Disease Control and
   Prevention (CDC), National Survey on Drug Use and Health (NSDUH), National Health and
   Nutrition Examination Survey (NHANES), and National Epidemiologic Survey on Alcohol and
   Related Conditions (NESARC), as well as information derived from the peer-reviewed
   literature and other models of the opioid epidemic.41,42,43 While no model can perfectly
   capture all of the dynamic and complex processes of the epidemic, developing and analyzing
   formal models forces one to make assumptions explicit, and allows for these assumptions to
   be evaluated in light of the best available data. Such models provide policy-makers with
   information about the potential public health value of different interventions, and they allow
   for estimations of the costs of interventions such as those provided later in this report.

14. There is widespread consensus in both clinical and public health communities that the
    abatement measures identified in this report are effective in reversing opioid-related
    morbidity and mortality. The measures discussed herein have been put forth by numerous
    consensus panels, task forces, professional society organizations and others. Disagreement
    about these solutions, when present, has tended to focus more on the priority of the
    interventions given limited funding (e.g., how much should be spent on law enforcement vs.
    MOUD)44, as well as in some cases, the potential unintended effects of some interventions.
    Fortunately, there is a large evidence base to guide the selection of interventions that should
    be undertaken, and also a recognition of the critical point, as expressed by former
    Congressman John Delaney, “that the cost of doing nothing is not nothing”.45

15. I conclude that an opioid epidemic currently exists in Cuyahoga and Summit Counties. This
    epidemic continues to result in high levels of opioid-related morbidity and mortality as
    described in this report and that of other experts such as Katherine Keyes. I further conclude
    that based on my experience in epidemiology, clinical medicine and public health, my
    extensive application of these fields to the opioid epidemic, and my analysis in this case, I am
    able to determine what additional evidence-based and evidence- informed measures and
    approaches should be used in Cuyahoga and Summit Counties to reduce opioid-related
    morbidity and mortality. These measures and approaches are described below. The specific
    utilization and combination of measures should be subject to the opinions of other experts,
    especially within the affected communities. The opinions expressed by me in this report are
    held by me to a reasonable degree of professional certainty.


INDICIA OF OPIOID CRISIS
16. The modern opioid epidemic can be traced to the 1980’s, when a growing number of journal
    articles argued that the perceived risks of opioids were overstated and that more aggressive
    pain management was needed in the United States.46,47,48 One often cited report, published
    in 1980 in the New England Journal of Medicine and entitled “Addiction Rare in Patients
    Treated With Narcotics”,49 is a particularly striking example of the misapplication of scientific
    evidence regarding the risks of opioids and a cautionary tale of how such information has
    been perpetuated over time.50 While opioid sales increased gradually through the early
    1990’s, in 1996, the FDA approved an extended-release/long-acting formulation of


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    oxycodone, and sales accelerated, fuelled in part by aggressive marketing and promotion51
    as well as the activities of a number of intermediary organizations supported by
    manufacturers.3,52,53 As a result, between 1992 and 2010, the volume of opioids prescribed in
    the United States increased by ~400 percent.54 Rates of addiction, overdose deaths, and many
    other opioid-related harms increased in parallel with rising sales.55 In 2012, health care
    providers wrote 259 million prescriptions for opioid or narcotic pain relievers - enough
    prescriptions for every adult American to have a bottle of pills.56

17. The current opioid epidemic is the worst drug
    epidemic in our nation’s history. Prescription opioids
    play a vital role in the treatment of severe, acute pain
    and pain at the end of life, yet the oversupply of
    opioids in other settings has skyrocketed.57,58 In 2017,
    an estimated 47,600 people died in the United States
    (US) from opioids, more than from motor vehicle
    accidents, suicide, gun violence, or than died at the
    peak of the AIDS epidemic.59 For the third year in a
    row, life expectancy in the United States has declined.60 For every life that has been lost,
    countless others have been affected by opioid use disorder or other collateral harms. Despite
    modest declines in opioid use since 2010, they remain vastly overused, both relative to pre-
    epidemic baseline as well as to other parts of the world (Figure 2). This overuse is a key driver
    of ongoing injuries and deaths from the epidemic.

18. The National Survey on Drug Use and Health (NSDUH) suggests that, in 2015, 91.8 million –
    that is, more than one-third of U.S. civilian, non-institutionalized adults – used prescription
    opioids. Based on these data, another 11.5 million (4.7%) reported misusing opioids and 1.9
    million (0.8%) fulfilled formal diagnostic criteria for an opioid use disorder (OUD), or addiction,
    within the past year.61 This substantially underestimates the number of Americans with opioid
    addiction, since it does not include individuals who may be stably maintained on medication
    assisted treatment (MAT) nor those with a history of OUD whose symptoms are no longer
    prominent; it also excludes individuals who are homeless, incarcerated or otherwise
    institutionalized. Based on data from the National Epidemiologic Survey on Alcohol and
    Related Conditions (NESARC), as many as ~2.5-3.0 million additional Americans may fulfil
    criteria for lifetime diagnosis of opioid use disorder.62

19. Between 1999 to 2017, more than 700,000 individuals died from a drug overdose of any type
    in the United States.63 During the past decade, the epidemic has been further complicated
    by an abrupt rise in heroin-related overdoses and overdoses from synthetic opioids such as
    illicitly manufactured fentanyl. There is a clear link between non-medical use of prescription

3 For example, manufacturers provided financial support to professional societies such as the American
Pain Society, advocacy groups, the Federation of State Medical Boards and other organizations, who in
turn developed programs, position statements and other materials arguing for more aggressive pain
management, including the use of opioids.



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    opioids and subsequent heroin or illicit fentanyl use, with several studies suggesting that as
    many as 70-80% of current heroin users reporting prior non-medical prescription opioid use
    before initiating heroin.64 In 2017, overdose deaths involving opioids – both prescription and
    illicit – were six times higher than in 1999.65

20. In addition to the human suffering and loss of life, the epidemic poses enormous economic
    costs. Florence et al. estimated the 2013 costs of the epidemic at $78.5 billion, including
    ~$21.5 billion for fatality costs and ~$57 billion for non-fatality costs.66 More recently, in 2017,
    U.S. Council of Economic Advisers (CEA) estimated the 2015 costs of the epidemic at $504
    billion, or 2.8% of the Gross Domestic Product (GDP).67 These estimated costs included ~$432
    billion for fatality costs and ~$72 billion for non-fatality costs. The difference between
    Florence and the CEA estimates are driven by growth in the epidemic and fatality costs, and
    note that these are annual costs; the 10-year present value of costs range from $682 billion to
    $4.3 trillion.4

21. In Ohio, the opioid crisis has been particularly acute, including in Cuyahoga and Summit
    Counties. There was a 41% increase in overdose mortality in Cuyahoga County from 2006 to
    2014, including a four-fold increase in heroin-related deaths (49 deaths in 2006 to 198 deaths
    in 2014).68 In 2017, the number of fatal opioid overdoses in Ohio, 4,293, exceeded those of
    any other state,69 while in Cuyahoga County, fatal overdoses reached a record-high of 727
    deaths.70 Fentanyl-associated deaths have also soared, from 37 deaths in 2014 to 492 deaths
    in 2017.71,72 In Summit County, mortality from drug overdoses in 2015 and 2016 (480) was
    equivalent to the entire decade before, from 2000-2009 (474)73, with fentanyl as the most
    commonly identified cause of death amongst drug-related deaths in 2015, followed by
    morphine and heroin.74 At the height of the epidemic in July 2016, there were as many as 19
    total drug overdoses in emergency rooms per day in Summit County75, up from an average of
    ~2.5 overdose emergency room visits per day in 2012-2015.76

22. Cuyahoga County and Summit County have made great strides to address the epidemic, and
    the counties continue to invest heavily to abate the crisis. The Cuyahoga County Opiate Task
    Force (CCOTF), formed in 2010, has grown since its inception and is composed of nearly 200
    individuals working in tandem across 65 member organizations representing public health
    officials, law enforcement, health care providers, physicians, pharmacists, drug treatment and
    recovery services, mental health services, educators, concerned citizens, and individuals in
    recovery.77 In 2016, the CCOTF’s activities included the launch of a three-month
    Heroin/Fentanyl Prevention Awareness Campaign, increased naloxone distribution through
    local pharmacies and law enforcement, and increased funding for MOUD, particularly for drug
    court participants.78,79  The CCOTF also worked with law enforcement to establish 30
    permanent medication drop boxes and participated in designated drug takeback days,
    collecting more than 100,000 pounds of expired medication. Since then, it has also helped


4
  Ten-year present value costs based on applying “present value of annuity” formula with a 3% discount
rate. Formula available at: http://financeformulas.net/Present_Value_of_Annuity.html



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   facilitate evidence-based education on prescription drug misuse/abuse for more than 2,000
   middle and high school students. It has also created a mandated physician education module
   that covers use of the state’s Prescription Drug Monitoring Program (PDMP), screening tools,
   and prescribing guidelines. During the past three years the Summit County Opiate Task
   Force (SCOTF) has similarly invested in addressing the epidemic, such as by increasing the
   availability and training in the use of naloxone among law enforcement, expanding residential
   treatment and detox capacity and establishing a Summit County Safe Needle Exchange as
   well as a drug testing program.80,81,82 The SCOTF has also partnered with pharmacies,
   emergency medical services, and hospitals to distribute more than 60,000 prescription drug
   disposal pouches, and has helped significantly expand the County's detox center.83,84 Quick
   Response Teams visit residents within seven days of an overdose to connect them to
   treatment services and to provide naloxone training to friends and family.85

23. Data from 2018 suggest some gains. For example, in Cuyahoga County, from 2017 to 2018
    overdose deaths related to fentanyl and heroin are estimated to have dropped from 492 to
    404 and 240 to 153, respectively.86 In Summit County, total overdose deaths declined from
    310 in 2016 to 105 in 201887, and overdose-related Emergency Department visits in the County
    have declined from an average of ~6.5 per day in 2016-201788 to an average of 3.0 overdoses
    per day in October 201889 and 3.8 overdoses per day in January-February 2019. 90

24. Despite these investments, which have helped to a degree, many more resources will be
    needed to fully abate injuries and deaths in Cuyahoga and Summit Counties, as
    demonstrated by continued evidence of substantial harms and a continuing epidemic. I have
    noted the need for these in my visit to Akron and review of materials to prepare this report,
    and these needs are also referenced in Katherine Keyes’ expert report. For example, based
    on my assessment of materials in preparation for this report: rates of overdose remain high;91,92
    children are being adversely effected because of drug exposure, death of parents, and other
    trauma;93,94 neonatal abstinence syndrome has increased;95 resources are stretched;96
    treatment remains in short supply;97 and a lack of coordination further prevents people who
    need treatment being connected to the services that can deliver it. Similarly, as noted by the
    Cuyahoga County’s Medical Examiner Thomas Gilson during a January 2019 interview, “We
    are by no means back to where we were before the crisis started and these [2018] numbers,
    while encouraging, really indicate we need to strenuously continue our efforts.”98

25. Though the current opioid epidemic is the worst drug epidemic in our nation’s history, it is
    not the first opioid crisis we have had.99 In mid- to late-19th century, opioid use rose
    dramatically, fuelled by unrestrained prescribing and liberal use of opioids to treat Civil War
    combatants and veterans.100 Historical precedent suggests that the current crisis can be
    successfully reversed with a multi-faceted approach that addresses the root causes of the
    epidemic, including misleading marketing and promotion and widespread overprescribing,
    while also investing in treatment and recovery.101 Further investing in law enforcement is also
    important. My report presents key, evidence-based recommendations that should be
    implemented to abate the opioid epidemic by both minimizing further unnecessary exposure
    to opioids and addressing the harms that have already been caused.


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PROBLEM CAN BE SOLVED

26. Despite the unprecedented injuries and deaths from the opioid epidemic, there is virtual
    consensus in the clinical, public health and health policy communities that the epidemic can
    be abated. This consensus is reflected in the high concordance between a November 2017
    report from the current Administration regarding the opioid epidemic,102 a report that I co-
    Edited released by the Johns Hopkins Bloomberg School of Public Health,103 and other
    groups’ recommendations to prevent further harms.104,105,106

27. Our prior work as described in Appendix A stemmed from
    three principles (Figure 3) that provide a valuable basis for
    current efforts. The first principle is informing action with
    evidence. Fortunately, there is a large and ever-expanding
    evidence-base regarding many facets of the opioid
    epidemic. For example, there is clear scientific consensus
    that: (1) opioids have an unfavorable risk/benefit balance
    for many patients who have received them;107 (2) non-
    medical opioid use and addiction are not uncommon;108 (3)
    the risks of overdose are dependent on dose and duration
    of opioid use;109,110,111 and (4) medications for opioid use
    disorder are safe and effective and represent a cornerstone of OUD treatment.112

28. The second principle is intervening comprehensively. The epidemic is a complex one
    because it involves many stakeholders and harm accrues at many levels. Because of this,
    interventions are needed all along the supply chain, from opioid manufacturers to wholesalers
    to pharmacies, health systems, hospitals, prescribers and the end users of prescription
    opioids, patients. In addition to reducing the overuse of prescription opioids in clinical
    practice, efforts are also needed to identify and treat those misusing opioids or affected by
    opioid use disorder, including to identify important treatment gaps that exist, to prevent
    overdoses and to institute harm reduction programs. When it comes to abatement, there are
    many other important partners beyond the health care system, including those working within
    law enforcement, criminal justice, educational systems and the courts.

29. The third principle is improving the care of those with pain. Improving quality of care for
    people in pain is not threatened by reducing opioid overuse, it demands it. Millions of
    American experience chronic, non-cancer pain, and efforts to reduce the overuse of
    prescription opioids offer an important opportunity to improve their quality of care. While
    there is a significant need for new pain treatments, an increasing body of evidence also
    underscores principles of high-quality pain management, including the importance of
    assessing pain comprehensively, recognizing that it is a multidimensional concept, and
    focusing on physical, psychological and social functioning rather than pain levels per se.




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30. Some abatement approaches may be framed in the context of looking forward five or ten
    years.5 However, the legacy of the opioid epidemic will endure far beyond that. Prevention
    of new cases of addiction will require long-term investments in research and training to
    transform the culture of pain treatment in America. While opioid use disorder can be treated
    and may remit, it is not curable, and some individuals with opioid use disorder will require
    treatment indefinitely.113,114,115 Others have acquired HIV or other Hepatitis C from an
    addiction that began with prescription opioids,116,117 and they may require indefinite care for
    these comorbid conditions. Foster care for those orphaned by the epidemic, child protective
    services, and services for children impacted by opioid use in utero must be resourced to
    address the needs of children and young adults as they grow and develop. For many, living
    healthy, productive lives in recovery is an active process, and thus to be successful, individuals
    must be supported with long-term resources to maximize their opportunities for success.


MISCONCEPTIONS MUST BE ADDRESSED
31. In order to address and abate the epidemic, it is also important to eliminate common
    misconceptions about opioids and the ensuing epidemic, since inaccurate, misleading or
    false statements about the epidemic have allowed it to flourish. For example, during the first
    decade of the epidemic, some said that if a patient has “organic” pain, one need not worry
    about the addictive potential of opioids. I was taught this as a resident in Internal Medicine
    at the University of Pennsylvania in the late 1990’s, and I was part of an entire generation of
    health care professionals who were not properly trained on this point. This approach led me,
    and my fellow physicians, to prescribe opioids much more liberally than we might have
    otherwise for patients who had a clear source of their pain (e.g., broken bone, cancer, recent
    surgery, inpatient procedure), viewing these patients as “legitimate pain patients”6, while
    overlooking the paucity of evidence that the source of a patient’s pain protects them from
    developing an opioid use disorder or other adverse event.


32. Another misconception that is important to understand and correct is that the primary driver
    of the epidemic is one of abuse, rather than addiction.118 (Dependence is distinct from both
    of these and discussed further in Paragraph #51). This has been one of the most destructive
    and widely circulated misconceptions about the epidemic, because it has been used to argue
    for a reliance on ineffective solutions (e.g., risk mitigation measures such as patient contracts
    or unscheduled pill counts) while allowing for the crisis to flourish. Abuse is a behavior.
    Addiction is a brain disease and not one that is simply a function of “bad choices”.119 It
    requires different approaches to support prevention, treatment and recovery as discussed
    herein.

5
  This medium-term view strikes a balance – it is long enough to support infrastructure development and
several cycles of planning and evaluation while avoiding some of the uncertainty entailed in trying to
anticipate the magnitude of sequelae from the epidemic that may last decades or even generations.
6 The notion of a “legitimate pain patient” also reinforces stigma against those with non-medical opioid

use or addiction who commonly have pain, suggesting that pain that they experience is not “legitimate”.




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33. A related misconception is that
    the epidemic is largely driven by
    devious individuals such as
    rogue physicians and patients
    who are “doctor-shoppers”.
    Such a frame has fostered a
    narrow focus on individual “bad-
    actors” that distracts from the
    much more pervasive, insidious
    and systematic drivers of the
    epidemic.7      In other words,
    individuals such as “doctor-
    shoppers” represent a very small proportion of people who are at high risk for opioid-related
    adverse events, and they also account for a small proportion of prescription opioids entering
    the general circulation. For example, consider Figure 4, which is derived from a database
    study that my co-authors and I performed and which depicts three groups of high risk opioid
    users on a monthly basis: those using chronic high dose opioids, those using opioids
    combined with benzodiazepines, and opioid shoppers.120 Note that the number of opioid
    shoppers is dwarfed by the other groups of high risk users.8 It is important that “doctor-
    shopper” patients and rogue prescribers are identified and targeted, but such efforts must
    not come at the expense of fundamental changes in prescribing and OUD identification and
    treatment in the U.S.

34. Some have also argued that if we constrain access to prescription opioids, it will just push
    people to heroin. It is important to understand the relationship between the prescription
    opioid epidemic and heroin/illicit fentanyl use.121 The heroin and (illicit) fentanyl epidemic has
                                                       flourished because of the prescription opioid
                                                       epidemic.         Prescription opioids and
                                                       heroin/illicit fentanyl are remarkably similar in
                                                       their    organic      structure    (Figure    5),
                                                       pharmacokinetics (what the body does to the
                                                       drug) and pharmacodynamics (what the drug
                                                       does to the body). In contrast to 40 years
                                                       ago, today most individuals who use
                                                       heroin/illicit fentanyl report that prescription
                                                       opioids were their first opioids of use.122
                                                       While some individuals do initiate heroin


7
 In addition, an emphasis on “opioid shoppers” as the root cause of the epidemic also supports a simplistic
and erroneous notion that as long as one is a “legitimate pain patient”, the risks of opioids are overblown.
8
  The Figure also demonstrates that a significant proportion of each group of high-risk patients receives
prescription opioids from low-volume prescribers, indicating the importance of training and provider
education across a continuum of prescribers.



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     without having first used prescription opioids, the vast majority do not. There is not a zero-
     sum game between efforts to reduce the oversupply of prescription opioids and efforts to
     reduce heroin/illicit fentanyl use. However, it is vital that comprehensive interventions take
     place so that as the oversupply of prescription opioids is reduced, individuals do not transition
     to heroin or illicit fentanyl and treatment for opioid misuse and OUD is available to all in need.


MOVING FROM A NATIONAL TO A COMMUNITY FOCUS
35. The opioid epidemic has impacted communities differently. Because of this, there is not a
    one-size-fits-all approach with respect to the abatement remedies. For example, some
    communities have been ravaged by fentanyl, while others have not. In some communities,
    large investments have been made to reduce the oversupply of prescription opioids, while in
    other communities, this remains a pressing matter. Some communities have invested heavily
    in naloxone distribution and training, others have struggled to identify the resources for such
    programs. Because of this variation, while each of the remedies are worthy of consideration,
    some will be far more important than others in specific communities, and stakeholders should
    be consulted as abatement remedies are iteratively designed, deployed and evaluated at
    local levels.9 These stakeholders include, but are not limited to, public health and law
    enforcement; treatment providers and systems; behavioral health providers and systems;
    educators; community advocates; employers; payers; and the courts.

 36. The foundation of any community’s response should be a comprehensive needs assessment,
     which is based on a systematic approach for reviewing the public health needs faced by a
     population. Such an assessment enables community leaders to objectively determine the key
     public health issues in local populations, and provides a better understanding of how to
     prioritize and allocate resources in order to efficiently address these issues.123,124 Public health
     needs assessments may use a combination of epidemiologic, qualitative and comparative
     methods to incorporate clinical, ethical and economic considerations when determining
     solutions, i.e. "what should be done, what can be done, and what can be afforded."125
     Furthermore, needs assessments are not only intended to measure ill health, but also to
     incorporate the concept of "capacity to benefit" in order to place emphasis on interventions
     producing tangible benefits to specific community populations.

 37. There are many frameworks that can be used to conduct a needs assessment and several
     tools are available to guide their development and implementation.126,127,128 Regardless of the
     framework that is selected, assessment can be broadly separated into six main steps.129,130,131
         1) Scoping the needs assessment: Defining population to be studied, identifying
             assessment objectives and understanding resources available to support it.




 9
    Although nearly all of the remedies discussed herein are directly relevant to Cuyahoga and Summit
 counties, a few, such as the need for greater investment in the research infrastructure to identify new
 treatments for pain and OUD, are primarily relevant at federal rather than state or local levels.



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          2) Defining stakeholders, community leaders and sources of information: Articulating
             relevant participants, reviewing existing data sources (e.g., PDMP, task force reports)
             and developing and implementing strategies to fill gaps in existing sources.
          3) Identifying health needs: Using information sourced from prior step, characterizing
             the health needs of the community, while ensuring those of different subpopulations
             are appropriately identified.
          4) Establishing opportunities and strategies to address needs: Identifying and
             prioritizing evidence-based and evidence-informed strategies to address needs,
             taking into account limitations and cost-effectiveness, where available.10
          5) Creating community action plan: Taking into consideration the resources available,
             develop plans that contain specific, measurable, attainable, realistic and timely
             (SMART) objectives.132,133
          6) Evaluating progress: Assessing baseline measures, identifying success metrics,
             gathering credible evidence, and communicating results to stakeholders and
             community leaders, while iteratively adjusting strategies to reflect findings of
             evaluations.

38. Both Cuyahoga and Summit Counties have already
    conducted many laudable activities to lay the groundwork
    for a comprehensive needs assessment. For example,
    Summit County’s Cross-System Sequential Intercept
    Mapping project, implemented by the County’s Criminal
    Justice Coordinating Center of Excellence, represents a
    dynamic approach aimed at creating effective systems of
    care bridging criminal justice and mental health services at
    specific “intercepts” (i.e. specific stages in the continuum
    of the criminal justice system).134 The objectives of the
    Mapping project were: to develop a comprehensive picture of how individuals with substance
    use disorders flow through Summit County’s criminal justice system along six intercept
    points;11 to identify gaps, resources and opportunities that can be provided to individuals at
    each intercept; and to develop and prioritize activities that can improve system and service
    level responses for individuals in the target population. The project identified and prioritized
    specific recommendations at each intercept, information that can be integrated and
    synthesized in a comprehensive needs assessment that extends beyond the County’s criminal
    justice and mental health services systems.

39. No single abatement remedy that is proposed can fully reverse the oversupply of opioids and
    associated morbidity and mortality; there are no magic bullets, and thus the importance of


 10
    Strategies should be prioritized given pre-identified criteria, such as size and severity of problem, current
 interventions and resources, economic and social impact, and magnitude of public health concern. For one
 example of how strategies can be ranked, please see Figure 6.
 11
    These points included: prevention/treatment/regulation, first contact and emergency services, initial
 detention/court hearings, jails and courts, re-entry, and probation/community supervision.


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      intervening comprehensively as noted in Paragraph #28. Also, some of the abatement
      remedies discussed may interact with one another in synergistic fashion, and successful
      implementation of some strategies may be dependent upon the simultaneous intervention of
      other strategies. For example, initiatives to decrease stigma and educate law enforcement
      and other community members about addiction may increase the demand for treatment,
      while expansions in treatment capacity to meet such demand may decrease rates of active
      OUD, which in turn may decrease overdose deaths and the need for naloxone. The dynamic
      nature of the epidemic, as well as the potential for these sorts of interactions, speaks to the
      vital need for surveillance and leadership as outlined in Paragraphs #126-#136 This will
      maximize the ability of communities to respond effectively to near real-time intelligence
      regarding key parameters of the epidemic and thus to use, and redirect, resources to
      maximize their public health value.


ABATEMENT CATEGORIES
40. There are three major categories of remedies that must be undertaken to address the
    epidemic.12,13 First, we must improve the safe use of prescription opioids and treatment of
    pain, since opioid oversupply has been a key driver of the epidemic.135,136 Second, we must
    identify and treat individuals with opioid use disorder. This is important because even if
    prescription opioids were to be responsibly marketed, promoted and used beginning
    tomorrow, there are still several million Americans with opioid use disorder, many of whom
    require active treatment and all of whom deserve access to care if and when treatment or
    recovery services are sought. Third, we must customize abatement remedies for specific
    subpopulations, including: individuals within the criminal justice system, children,
    adolescents, and young adults; child in foster care and protective services; pregnant women
    and neonates; and African Americans, American Indians and Alaskan Natives (AIANs). We
    must also address the large number of individuals who may misuse opioids but who do not
    yet not fulfil formal criteria for an opioid use disorder. While I outline a comprehensive set
    of abatement remedies, as well as consider some contextual factors relevant to their local
    application (e.g., Paragraphs #35-#39), significant progress can be made in abating this crisis
    through various elements and combinations of these elements. I leave the task of defining
    the specific application of these programs for Cuyahoga and Summit Counties to the
    communities themselves, with assistance where needed from experts participating in the MDL
    and other outside consultants.




 12
   Other interventions are important in addressing the epidemic yet beyond the scope of this report, such
 as changes to coverage and reimbursement policies so as to improve options for pain treatment and
 reduce financial and non-financial barriers to treatments for opioid use disorder.
 13
    While there are other ways to classify potential remedies, the elements within these remedies are
 remarkably consistent across different proposals, reflecting the widespread consensus about what needs
 to be done.



                                                   13
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     •   Category 1: Reducing Opioid Oversupply and Improving Safe Opioid Use
            1A. Health Professional Education
            1B. Improving Pain Treatment
            1C. Prescription Drug Monitoring Programs & Clinical Decision Support
            1D. Patient and Public Education
            1E. Drug Disposal Guidelines and Programs
            1F. Expanding Scientific Knowledge

     •   Category 2: Identifying and Treating Individuals with Opioid Use Disorder
            2A. Treatment for Opioid Use Disorder
            2B. Peer Coaches, Recovery Housing and Jobs Training
            2C. Naloxone Distribution and Training
            2D. Harm Reduction Interventions
            2E. Surveillance and Leadership

     •   Category 3: Caring for Special Populations
            3A. Individuals Within Criminal Justice System
            3B. Children, Adolescents and Young Adults
            3C. Children in Foster Care and Child Protective Services
            3D. Pregnant Women and Neonates
            3E. African Americans, American Indians and Alaskan Natives
            3F. Individuals with Opioid Misuse

CATEGORY 1: REDUCING OPIOID OVERSUPPLY AND IMPROVING SAFE OPIOID USE
The goal of this category is to reduce the widespread oversupply of prescription opioids so as to
decrease injuries and deaths from these products.14 This is important because the oversupply of
prescription opioids during the past two decades has been an important driver of the opioid
epidemic.15 Harm from this oversupply arises from many points in the continuum of care, ranging
from how clinicians treat pain to the diversion of opioids throughout the supply chain.

CATEGORY 1A. HEALTH PROFESSIONAL EDUCATION
The goal of this remedy is to train health care providers, including prescribers and other health
care personnel, such as dispensers (pharmacists) and emergency medical technicians (EMTs),
regarding the appropriate use of opioids in clinical practice, as well as how to identify and
appropriately respond to patients who may have an opioid use disorder. This is important
because historically, many providers have overestimated the effectiveness of opioids and/or
underestimated their risks. This has contributed to the oversupply of opioids, not only with

14
   This report excludes consideration of Drug Enforcement Agency (DEA) quotas, controlled substance
scheduling and other mechanisms federal government may use to reduce supply of opioids or precursors
in the marketplace.
15
  Reductions in opioid oversupply will also decrease opioid demand, since opioids are highly habit forming,
tolerance quickly develops and a substantial minority of individuals receiving chronic opioids develop OUD.



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respect to whether they are used at all, but also with respect to the dose and duration of use. In
addition, opioid use disorder is often not recognized in clinical practice, and even when
recognized, the delivery of treatment and recovery services often falls short.

41. Many types of provider education should be performed, and this training should be
    customized to address the learning and professional development needs of different
    audiences. For example, medical, nursing and other health professional trainees should have
    comprehensive, longitudinal exposure to principles of pain management, the appropriate
    role of opioids, and the diagnosis and treatment of individuals with opioid use disorder.
    Graduate medical education programs, including internships, residencies and fellowships,
    should expand more advanced training in these areas, as well as facilitate the completion of
    waivers allowing for the prescription of buprenorphine for the treatment of OUD.137,138
    Practicing clinicians, especially prescribers, should also have additional opportunities for
    continuing professional education through workshops and seminars, as well as through more
    applied clinical interventions such as audit and feedback and other reminder systems.139

42. One of the most systematic and well-studied approaches at direct training of prescribers,
    sometimes referred to as “academic detailing”, should also be employed. Academic
    detailing is a method of evidence-based, interactive outreach to prescribers that uses trained
    personal make face-to-face visits with clinicians to promote optimal prescribing and improve
    the quality of patient care. Established in the 1980’s, there are dozens of studies that provide
    evidence of its value140,141,142,143, including a recent investigation indicating large decreases in
    opioid prescribing following a multi-level intervention that included academic detailing.144 A
    systemic review of the impact of provider education, the most comprehensive assessment of
    its kind, concluded that this strategy results in significant improvements in prescribing
    quality145, and is consistent with a large literature overview examining the effectiveness of
    interventions to shape prescriber behaviour.146

43. Academic detailing should be considered for at least four types of health care providers:
    • Licensed prescribers, such as physicians, dentists, nurse practitioners and physicians’
       assistants, are important to target because they issue prescriptions for opioids and other
       analgesics.
    • Nurses, especially in settings such as Emergency Departments, urgent care settings and
       other settings where opioids are commonly used, should be targeted because they are in
       an influential position to shape the culture of pain management and to raise awareness
       about evidence-based methods to identify and treat pain and opioid use disorder.
    • Dispensers, or pharmacists, should be targeted because they dispense opioids and are
       increasingly responsible for implementing drug utilization management policies and
       practices designed by payers and pharmacy benefits managers (PBMs).
    • Emergency medical technicians (EMT’s), are important to reach because they are often
       the first point of contact with individuals who have overdosed, and thus in a key position
       to bridge a common treatment gap that contributes to low rates of evidence-based
       treatment for OUD, namely, individuals who are resuscitated but not connected with OUD
       treatment.


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44. Resources permitting, education of other health care personnel, such as pharmacy technicians
    and physical therapists, should also be undertaken. Since opioid oversupply, as well as opioid
    use disorder, are both so common, these personnel also regularly engage with patients who
    have a high likelihood of being harmed by the epidemic, and thus they too are in a position
    to support a required cultural shift in the paradigm of pain and opioid use disorder (OUD)
    identification and management in the United States.

45. While there are many criteria that could be used to select physicians who should be detailed,
    a conservative approach might focus on ~10% of all active, ambulatory patient-care physicians
    - those that account for the highest prescribed opioid volume.16 Because opioid prescribing
    is highly skewed, such a focus, properly designed, could reach prescribers accounting for the
    majority of opioids in the marketplace. For example, we previously found that fewer than 5%
    of prescribers in Florida accounted for approximately two-fifths of opioid prescriptions and
    two-thirds of opioid volume during a given calendar year.147 Similarly, a study of workers
    compensation claims in California indicated that approximately 87% of opioid volume was
    accounted for by the top 10% of prescribers.148

46. Since academic detailing should target high volume prescribers, it must be based on
    information regarding specific individuals’ prescribing behaviors. One source of such
    information would be states’ Prescription Drug Monitoring Program (PDMP) data. As
    discussed in Paragraph #59, every state in the country now has a PDMP, and these programs
    compile and redistribute controlled substance prescribing information for clinical and law
    enforcement purposes. However, in many states, restrictions on access to PDMP data might
    prevent their use for this purpose and legislative efforts to broaden their availability would be
    uncertain and, at best, delayed.

47. An alternative source of similar data would be from a market intelligence firm such as
    Symphony Health or IQVIA. These companies license data regarding prescription drug
    prescribing to pharmaceutical companies and other clients, and in contrast to PDMPs, would
    represent a single source of more efficiently gathered, much better curated and more timely
    information regarding both physician and non-physician prescribers (e.g., advanced nurse
    practitioners, physicians’ assistants).149

48. The value of provider education lies in the quality of the information that is delivered. Thus,
    the information must be of the highest quality and from the most reputable sources. A natural
    foundation for this effort would be the 2016 Centers for Disease Control and Prevention (CDC)
    Guideline for Prescribing Opioids for Chronic Pain, given the credibility of the CDC, the
    extraordinary rigor that was exercised in its development, as well as the widespread
    endorsement that it has received.150 This Guideline could be cross-referenced with other
    guidelines and sources used by established provider education programs already underway

16
  While this discussion focuses on ambulatory care, an increasing number of evidence-based guidelines
are also available for the post-surgical setting, where opioids have also been heavily oversupplied; an
academic detailing program should also be considered for these prescribers as well.



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     on opioids.151,152 In addition to delivering information about best practices, academic detailing
     should also include reports so that individual prescribers or dispensing pharmacists can
     review and critically evaluate their prescribing or dispensing patterns relative to peers at local,
     regional and national levels, as well as identify instances of prescribing or dispensing that may
     warrant closer and more critical evaluation.

49. Provider education has to deliver a limited number of focused messages or it will not be
    effective. The CDC Guideline for Prescribing Opioids for Chronic Pain17 includes twelve
    scientifically supported "clinical reminders" that can be used as basis for provider education
    modules:
          1) Opioids are not first-line or routine therapy for chronic pain;
          2) Establish and measure goals for pain and function;
          3) Discuss benefits and risks, as well as the availability of non-opioid therapies with
               patients;
          4) Use immediate-release opioids when starting opioid therapy;
          5) Start with the lowest effective dosage and use caution when titrating the dose (avoid
               increasing dosages by ≥ 90 morphine milligram equivalents/day);
          6) When treating acute pain, prescribe quantities no greater than what is needed for
               the expected duration of pain that is severe enough to warrant opioids (often no
               more than 3 days);
          7) Follow-up and re-evaluate risks and benefits with patients as they continue opioid
               therapy, and should the harms of continued opioid therapy outweigh the benefits,
               taper to a lower dosage or taper and discontinue opioid therapy;
          8) Evaluate risk factors for opioid-related harms and incorporate risk mitigation
               strategies into treatment regimens;
          9) Utilize PDMP data to determine whether a patient is receiving other therapies that
               put them at risk;
          10) Urine drug testing should be utilized to assess for the presence of other medications
               and illicit substances;
          11) Avoid concurrent benzodiazepine and opioid treatment; and
          12) Arrange treatment for patients with opioid use disorders.153

50. The CDC Guideline runs counter to prior consensus statements and clinical guidelines in
    several ways. For example, very early in the opioid epidemic, the American Academy of Pain
    Medicine and the American Pain Society issued a consensus statement that endorsed the use
    of opioids to treat chronic, non-cancer pain, arguing that “studies indicate that the de novo
    development of addiction when opioids are used for the relief of pain is low”.154 By contrast,
    the CDC Guideline underscores the risks of addiction and other adverse events related to
    prescription opioids, recommend lower dosages, focus on improving safe use among all,
    rather than “high-risk”, patients, and provide more specific guidance regarding how to best

17
  While the CDC Guideline is one of the most comprehensive, authoritative and widely cited opioid
guidelines, any academic detailing program as part of an abatement remedy should be based on an
assessment of the most current and suitable sources of information for such a program.



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     monitor opioid use and establish thresholds for stopping them in the setting of unfavourable
     risks/benefit balance.155

51. Training on the management of patients who have been maintained on chronic opioids is also
    important, especially the subset of patients on high-dose opioids (e.g., greater than 90
    morphine milligram equivalents per day). Since patients using opioids chronically are
    physically dependent on them,18 they must not have their opioids abruptly discontinued, nor
    should tapering be performed unilaterally. An increasing number of guidelines for tapering
    opioids among these individuals are available.156,157 These guidelines include information on
    when tapering should be considered among patients on long-term opioid treatment, which
    often occurs when adverse effects or the risk of adverse effects (e.g., sedation, drowsiness,
    constipation, nausea) outweigh potential benefits with respect to reductions in pain and
    improvements in physical, psychological and/or social functioning.158 The guidelines also
    speak to the optimal management of individuals who, based on taper failure, may fulfil criteria
    for persistent opioid dependence and who may be best managed through long-term opioid
    treatment with treatments such as buprenorphine or methadone.

52. The National Resource Center for Academic Detailing (NaRCAD), a center aimed to support
    clinical outreach education programs, provides an extensive directory of established provider
    education programs, including a section for those dedicated to opioid safety.159 For example,
    Alosa Health is a non-profit that has deep experience in this area, including state- and
    nationwide campaigns.160 While pharmaceutical companies and pharmacy benefits managers
    both have extensive workforces available for direct prescriber outreach, neither would be
    credible in this setting given the conflicts of interest that would be posed. Instead, provider
    education programs typically recruit physicians, nurses, pharmacists or other individuals with
    a background in related health disciplines to conduct outreach.

53. Regardless of the detailer’s background, it is essential that educators have no potential
    commercial conflicts of interest, have a background in a health discipline such as medicine or
    pharmacy, and receive rigorous training on how to conduct this outreach. Lack of clinical
    knowledge may cripple the detailer’s credibility with the prescriber, making it difficult to
    establish a strong relationship that promotes rational prescribing. Furthermore, it is also
    important that the outreach is repeated over time, with follow-up visits to encourage positive
    changes and reinforce key messages.




18
  Within a few weeks or less, all patients using opioids develop physical dependence, a predictable
neurochemical change associated with sustained use. By contrast, addiction is far less predictable,
represents compulsive use despite harm, and is often associated with impairment in social, psychological
and/or physical functioning.




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54. An academic detailing program should be included as part of any abatement plan within
    Cuyahoga and Summit Counties.19 Such an effort is feasible and could be highly scaled as
    well; numerous state-wide and even national provider education programs promoting safe
    prescribing have been conducted during the past two decades, including across Pennsylvania
    (e.g., Department of Aging Pharmaceutical Assistance Contract for the Elderly (PACE)
    Academic Detailing Program),161 Massachusetts (e.g., Boston Medical Center's Transforming
    Opioid Prescribing in Primary Care)162 and the United States Department of Veterans Affairs
    (e.g., National Academic Detailing Service).163 Many health systems, including large
    integrated delivery networks such as the Kaiser Permanente,164 have also executed such
    programs. Careful review of the evidence indicates that academic detailing works and would
    be an effective abatement tool.165

55. In addition, while training and professional development of health care personnel such as
    doctors, nurses and EMTs is vital, additional educational capacity-building, as well as technical
    assistance, must be employed if the opioid epidemic is to be successfully addressed. For
    example, hospitals, health systems, integrated delivery networks, physician practices, long-
    term care facilities and other health care institutions and organizations should work diligently
    to incorporate educational programming and professional development services that assist
    in raising awareness and disseminating knowledge regarding the drivers of the opioid
    epidemic, as well as the role of their respective institutions in addressing it. Health systems
    play an especially important role given their broad reach and ability to promulgate evidence-
    based guidelines, as well as to engage in opioid stewardship.166 Technical assistance to the
    courts, law enforcement, substance use treatment providers and other stakeholders should
    also be provided so as to ensure that these entities are kept abreast of the changing contours
    of the epidemic and the most relevant advances in prevention, treatment and recovery.


CATEGORY 1B. IMPROVING PAIN TREATMENT
The goal of this remedy recognizes the principle of improving the care of those with pain (see
Paragraph #29). This is important because the under-treatment of pain served as one of several
rationales for the large increases in opioid prescribing that occurred between 1996 and 2010, as
many as two-thirds of adults with opioid misuse report pain as the reason for such misuse,167 and
many individuals with diagnosed opioid use disorder also report chronic pain.168,169

56. Fortunately, there is increasing acknowledgement of the limited evidence supporting the use
    of opioids for the management of chronic pain.170,171 Combined with many studies
    nevertheless demonstrating their common use in this setting, this has underscored the
    importance of improving the management of individuals with acute and chronic pain,
    including through a focus on comprehensive assessments, multidisciplinary management and
    functioning rather than pain levels per se. Opioids represent just one of a large number of


19Here and throughout, while I suggest remedies that should be included as part of a comprehensive
abatement plan, I leave it to the communities themselves to determine whether elements of any given
remedy are already in place and the degree to which further investment should be undertaken.


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   pharmacologic and non-pharmacologic treatments that providers and patients may use for
   the treatment of pain. Alternative pharmacologic treatments include acetaminophen, non-
   steroidal anti-inflammatories (NSAIDs), antidepressants, anticonvulsants, and topical
   analgesics,172 while non-pharmacologic treatments for pain include physical therapy,
   occupational therapy, chiropractic care, acupuncture and psychological interventions.173 In
   addition, the care of pain among those already engaged in opioid misuse or with opioid use
   disorder requires additional skill and training given the need for clinical management of both.

57. As an abatement remedy, several complementary strategies should be used to improve the
    identification and management of individuals with acute and chronic pain in Cuyahoga and
    Summit Counties. First, it is critical to design, deploy and continually evaluate educational
    programs and outreach initiatives for health care providers. While there is an urgent need for
    a coordinated, evidence-based, national approach to pain education across federal agencies,
    such as the FDA, CDC and DEA174, implementation of comprehensive pain curricula across
    Cuyahoga and Summit Counties through coordination among local and regional stakeholders
    (e.g., state professional societies, hospitals, health systems) should be pursued. Second,
    hospitals, health systems and ambulatory practice sites must invest in expanding their
    workforce and resources devoted to pain management (also see Paragraphs #41 and #99).
    While most patients with acute and chronic pain can be suitably managed by primary care or
    Emergency Medicine physicians, a subset of patients have complex, chronic pain syndromes
    and require greater levels of supervision and care coordination that is overseen by pain
    specialists.    Third, remedies to improve the treatment of OUD should also include
    investments to improve the identification and management of chronic pain that is often
    present among these individuals.175,176 As I note in Paragraph #40, coverage and
    reimbursement policies are also an important determinant of care patterns for pain as well as
    opioid use disorder.177


CATEGORY 1C. PRESCRIPTION DRUG MONITORING PROGRAMS & CLINICAL DECISION
SUPPORT
The goal of this remedy is to improve the information available to support prescribers and law
enforcement as they optimize the care of patients with pain as well as reduce opioid diversion.
This is important because clinical information systems can enhance the quality of care that
providers deliver, and prescription drug monitoring programs can be used by law enforcement
to investigate aberrant patterns of controlled substance prescribing.

58. Prescription drug monitoring programs (PDMPs) are electronic databases that can be used to
    gather, curate and disseminate information about controlled substance prescribing within a
    state. By providing prescribers and pharmacists access to information regarding a patient's
    controlled substance history, PDMPs can be used to identify individuals with high risk
    prescription opioid use. PDMP data may also be useful to law enforcement and professional
    licensing boards to identify possible misconduct, and consequently implement administrative
    action, such as revoking state authorization to prescribe controlled substances. Despite this,
    it is important to emphasize, as discussed in Paragraph #33, that the opioid epidemic has not


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   been primarily driven by “bad doctors” or “bad patients”, and a misplaced focus on such a
   notion as PDMPs are deployed and implemented will limit their ultimately effectiveness at
   reducing opioid-related injuries and deaths.

59. Although there is conflicting literature on the impact of PDMPs, evidence suggests that PDMP
    implementation is associated with decreases in opioid prescribing, morbidity and
    mortality,178,179,180,181 especially in the setting of states’ legal requirements that health care
    providers query a PDMP in at least some circumstances.182 Currently, all 50 states, the District
    of Columbia, Guam and Puerto Rico have a PDMP that is operational or have indicated an
    intention to establish a PDMP.183 While PDMPs are state-level programs, interstate sharing of
    PDMP data has also been undertaken and may be especially valuable in parts of the country
    where individuals are especially likely to seek care and receive prescriptions from providers
    and pharmacies located in different states;184 in 2017, Ohio’s Automated Rx Reporting System
    (OARRS) expanded its functionality by allowing for linkage with Pennsylvania’s PDMP
    program, completing the ability of OARRS users to review controlled substance PDMP data
    from each of Ohio’s border states.185

60. Despite the benefits of PDMPs and their ubiquitous adoption, historically many providers
    have failed to routinely register or use them except in states where such registration or use
    has been mandated. In a national survey of primary care physicians we performed in 2014, a
    majority of physicians were aware of their states’ PDMP and had a generally favourable belief
    regarding its value, yet these same providers reported that they did not access the PDMP
    consistently.186 According to a 2015 report from the Journal of the American Medical
    Association (JAMA), the national median PDMP registration rate was 35% amongst licensed
    prescribers.187 Since 2015, states have continued to evolve their programs and policies, with
    a strong trend towards states increasingly requiring mandatory PDMP registration and use.188

61. PDMPs can be optimized by mandating that prescribers review PDMP data; allowing
    prescribers to delegate staff (e.g. nurses) to optimize workflow; requiring 24-hour or real-time
    reporting after dispensing a controlled substance; streamlining the registration process for
    PDMP participants; offering providers financial incentives based on PDMP use; and
    supporting educational and promotional initiatives such as workshops to train prescribers on
    how to access and use PDMP data.189 Though it is still a growing practice and many barriers
    remain,190,191 integrating PDMP data with other electronic health information systems can
    provide clinicians with a more complete medical record collated in a single source to support
    clinical decision-making.192 Other interventions to optimize PDMPs address their use by law
    enforcement. While some of these applications require legislative or administrative
    intervention, they nevertheless represent potential innovations that could be supported
    through increased infrastructure and funding as part of an abatement remedy.

62. PDMP data, particularly, when integrated with other health information technology, such as
    electronic health records (EHRs), can also be used as the basis for clinical decision support




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     systems (CDSSs).20 CDSSs may consist of automated alerts, reminders, templates, or care
     guidelines that are designed to provide providers, patients or other members of the care
     team with customized, just-in-time information to improve health care quality. In this instance,
     such systems can be used to help improve quality of care of individuals with chronic pain or
     opioid use disorder, such as by providing lower defaults for the number of opioids dispensed
     on a first fill, prompting screening criteria for OUD, or by alerting clinicians when they are
     seeing a patient on chronic opioids who has already experienced an overdose or other serious
     adverse event.21

63. Although relatively few studies have examined the effect of CDSS in the context of the opioid
    epidemic,193,194,195 there is a much larger literature that has examined the effects of CDSS in
    other contexts. As a whole, this literature underscores that while the use of electronic health
    records may not automatically translate into higher quality care,196 many CDSSs improve
    provider performance,197 and several features of such systems may drive improvements in
    clinical practice, including their incorporation into the workflow and provision of
    recommendations, rather than simply assessments, in a “just-in-time” fashion.198

64. CDSS are facilitated by electronic prescriptions, which should be universally adopted as an
    additional technological approach to improve the safety and security of opioid and other
    controlled substance prescribing and dispensing. There are many advantages to electronic
    prescribing, which can reduce errors and fraud while improving the ability for surveillance as
    well as security through measures such as two-factor authentication.199,200

65. Ohio’s PDMP, OARRS, began operation in 2006.201 It is housed in Ohio’s Board of Pharmacy,
    an agency that has dual roles focused on both health as well as law enforcement, which may
    help facilitate PDMP implementation. The OARRS collects information every 24 hours on all
    outpatient prescriptions for controlled substances, as well as one non-controlled substance
    (gabapentin) dispensed by Ohio-licensed pharmacies and personally furnished by Ohio
    prescribers. Drug wholesalers are also required to report on a monthly basis information on
    all controlled substance and gabapentin that were sold to an Ohio licensed pharmacy or
    prescriber. The OARRS serves multiple functions, including minimizing the risk of drug-drug
    interactions, allowing for prescribers to review reports of their own prescribing,202 assisting
    law enforcement in cases of controlled substance diversion and identifying clinicians with
    patterns of inappropriate prescribing/dispensing. Since November 2017, Ohio drug courts


20
  In other words, the value of PDMPs extends past identifying “opioid shoppers” or “rogue prescribers”;
while these individuals are important to identify, they are a symptom of rather than the primary driver of
the opioid epidemic (see Paragraph #33). Rather, PDMPs have the potential to improve pain management
services, such as for individuals at risk of opioid misuse.
21
  Shockingly, evidence suggests that more than nine out of ten patients who have a non-fatal overdose
during long-term opioid use for non-cancer pain receive subsequent opioid prescriptions (Larochelle MR,
et al. Ann Intern Med. 2016;164:1-9).




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       have also been provided access to OARRS information, which may aid drug courts in ensuring
       that participants are complying with court ordered treatments.

66. As with many states, OARRS continues to transform as the state works to address the evolving
    epidemic. For example, prescribers are now required to review OARRS prior to initial
    prescription of opioids or benzodiazepines,22,203 and there are increasing efforts to integrate
    OARRS within health systems’ electronic medical records so as to minimize disruption of work-
    flow.23 There is also increasing interest in using PDMPs such as OARRS for clinical decision
    support. The ultimate utility of OARRS is only as good as the resources that are devoted to it,
    and thus, as part of any abatement remedy, resources should be committed to offsetting its
    future operational costs, expanding its functional integration within the electronic medical
    record systems of hospitals, health systems and other service providers in the State, and
    increasing its usability and value among law enforcement.


CATEGORY 1D. PATIENT AND PUBLIC EDUCATION
The goal of this remedy is to raise awareness and activate patients and the general public
regarding the risks of opioids as well as the prevalence and treatability of opioid use disorder.
Patient and public education can help to address the fact that many people do not understand
the risks of opioids or the fact that opioid use disorder is a treatable brain disease. It can also chip
away at stigma, which serves as a profound barrier to treatment.

67. Patient education is an important method of improving the safe use, storage and disposal of
    opioids, since there are important shortcomings in patients’ knowledge regarding these
    matters. For example, the 2016 CDC Guideline highlights the importance of clinicians
    discussing with patients the known risks and realistic benefits of opioid therapy before
    initiating treatment.204 Other professional societies and organizations, such as the Veterans
    Administration/Department of Defence Clinical Practice Guideline for Opioid Therapy for
    Chronic Pain, also emphasize the importance of patient education as part of a multi-faceted
    strategy to maximize the risk/benefit value of opioids in clinical practice.205

68. In contrast to public education, which is addressed below, clinicians play an especially
    important role in educational outreach targeting patients who may be using opioids or
    otherwise at risk for opioid-related adverse events. However, clinicians themselves must be
    equipped to conduct such education, and their preparation for this can be maximized through
    academic detailing or other educational outreach. In addition, the CDC has prepared a
    number of educational materials for patients focused on promoting safer opioid use and
    minimizing the risk of overdose,206 SAMHSA’s Opioid Overdose Prevention Toolkit includes a


22
     Prescriptions for seven-day supplies or less are exempt from the mandate.
23
  To be clinically useful, PDMPs have to be accessible within the electronic health record system, rather
than requiring a separate username and password. As one expert put it to me, “if it is more than two clicks
away, it is worthless”.



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   module providing safety advice for patients and family members,207 and other organizations,
   such as the American College of Surgeons,208 have developed their own messaging that can
   be used to educate patients regarding different aspects of the opioid epidemic.

69. Public education is also a crucial component in abating the epidemic, and one important way
    to conduct such education is through mass media campaigns. Properly designed and
    branded, such campaigns can deliver “sticky” messages, that is, messages that are concrete,
    memorable, contagious and therefore, impactful.209 Such messaging can serve as part of an
    effective intervention to positively change health behavior.210 Despite this, not all mass media
    campaigns have been successful in achieving their desired impact211, and their success is
    dependent on several factors including the level and duration of investment made, the
    planning that goes into the campaign and the availability of concurrent treatment and other
    services. A mass media campaign may include a variety of media, including television, radio,
    billboards, and social media. Though there is limited literature on mass media campaigns
    focusing on opioids, there is robust information from campaigns on alcohol, tobacco and
    other illicit substances.

70. A number of these campaigns can be used as models when designing a nationwide campaign
    to address the opioid epidemic. For example, Idaho's Meth Project was aimed at reducing
    methamphetamine use through a comprehensive approach of public service announcements,
    community outreach, public policy approaches and in-school lessons. Following the
    campaign's initiation in 2007, Idaho experienced a 56% decline in meth use amongst teens.212
    The U.S. Food and Drug Administration's award-winning youth tobacco prevention
    campaign, “The Real Costs”, is another example of a relatively recent mass media campaign.
    This campaign was launched nationally on multiple platforms, including TV, radio, print and
    social media. The campaign was focused on reaching youths, 12 to 17 years old in the United
    States, who were open to trying smoking or were already experimenting with smoking. In
    2014-2016, high exposure to the campaign was associated with a 30% decrease in the risk of
    smoking initiation amongst youths.213

71. While several mass media campaigns addressing the opioid epidemic have also been
    conducted,214,215 less is known regarding their impact, although early findings suggest their
    potential utility. For example, in January 2017, then New Jersey Governor Chris Christie rolled
    out the REACH NJ initiative aimed at raising awareness about the availability of new addiction
    treatment services in New Jersey.216 The initiative included television ads airing on New
    Jersey, New York and Philadelphia television stations. As of January 2018, more than 18,600
    people have called the ReachNJ hotline, with the frequency of calls at least three times higher
    in April-June 2017, when television and radio ads were on air, compared to July-August, when
    only digital ads were used.217 Another example focused on opioids was launched by the Ohio
    Department of Health. This education and awareness campaign, Prescription for Prevention:
    Stop the Epidemic, has included public service announcements, drug disposal guidelines,
    and both county and state-level factsheets to prevent non-medical prescription drug use.218
    A third example was designed to raise awareness about a new law increasing naloxone access
    and providing legal protection for people who call 911 to report an overdose. This state-wide


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   media campaign, the Good Samaritan Law Awareness & Naloxone Access Media Campaign,
   was launched ~2013 by the North Carolina Harm Reduction Coalition (NCHRC), focusing on
   leveraging inexpensive platforms such as social media, printed flyers, public service
   announcements and local media. The NCHRC reported that the media campaign was
   effective in building connections with the local community and helping the organization
   become established as “the go-to expert for local media” regarding the opioid epidemic.219

72. Any abatement program in Cuyahoga and Summit Counties should include investments in
    educational campaigns targeting patients and the general public. While both counties have
    invested in educational campaigns around drug disposal and safe opioid use over the past
    several years, including dissemination of SAMHSA materials, greater resources are required
    educate patients and the general public. Multimedia campaigns should include experts in
    health communications and public safety and be carefully designed to fully address widely
    prevalent yet insidious stigma that erodes effective community responses to the epidemic,
    treating addiction as a willful choice or moral failure and cleaving off addiction and its
    treatment from the rest of medical care.220 These campaigns must also educate the general
    public both about the risks of opioids as well as the prevalence and treatability of opioid use
    disorder. In addition, they should include messaging around the safe storage and disposal
    of opioids, since many individuals receiving opioids do not report having received such
    information.221


CATEGORY 1E. DRUG DISPOSAL GUIDELINES AND PROGRAMS
This remedy respects the principle of intervening comprehensively all along the supply chain
(Paragraph #28), including addressing enormous stockpiles of opioids in homes across America,
by providing individuals with convenient opportunities to safely store and discard these unused
medicines.

73. Safe storage and drug disposal guidelines are a critical component of public education, since
    the improper storage and disposal of unused prescription opioids is a widely recognized
    public health concern and an important component of the current opioid epidemic. In a 2017
    systematic review that my colleagues and I published in JAMA Surgery, 67-92% of surgical
    patients reported having unused opioids after surgery, and in 2 studies examining storage
    safety, 73-77% of patients did not store their opioids in locked containers, resulting in a large
    reservoir of opioids which contributes to the misuse of these products.222 Other studies also
    support the assertion that the safe storage and proper disposal of opioids is uncommon.223
    The failure to safely store and dispose of unused opioids extends beyond surgical settings
    and contributes to the diversion of opioids as well as their non-medical use. For example, of
    the 11.4 million individuals in the United States reporting opioid misuse in 2017, more than
    four-fifths (83%) reported that they bought, were given, or stole opioids from individuals who
    were in turn prescribed these drugs by a licensed prescriber.224

74. Safe storage and drug disposal guidelines must be accompanied by increased availability of
    drug disposal programs, since these programs provide one avenue for proper disposal of


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   unused opioids.225 Some disposal programs are based on periodic events. For example, the
   U.S. Drug Enforcement Administration (DEA) hosts short-term events wherein temporary
   collection sites are set up for the safe disposal of unused prescription medicines. The DEA’s
   most recent National Take Back Day was October 27, 2018, representing the participation of
   4,770 law enforcement personnel and 5,839 collection sites that collected a total of 457.12
   tons of prescription drugs.226

75. Other disposal programs are based on permanent collection
    sites authorized by the DEA, such as within pharmacies or law
    enforcement facilities (Figure 7). Unless disposal programs
    are convenient, they are unlikely to be widely used, and the
    use of pharmacies as part of a “reverse logistics” program,
    where the standard distribution system is reversed to return
    unused or unwanted product, has many efficiencies.227 Some
    authorized collection sites may also provide mail-back
    options to assist patients in disposing unused medicines, especially for homebound patients
    or others with special needs.

76. Historically, permanent collection sites have been uncommon due to administrative, legal and
    economic barriers. As of 2017, the United States Government Accountability Office reported
    that only 2,233 of 89,550 eligible entities (2.49%), such as pharmacies, hospitals/clinics,
    narcotic treatment programs, reverse distributors, distributors and manufacturers, were
    registered as authorized collectors of unused prescription drugs.228

77. There are four major components to consider when establishing a drug disposal program:
    promotion; staffing; equipment and supplies; and disposal.229,230 Programs can be promoted
    through varied means ranging from pharmacy posters or informational stickers on pill bottles
    to the use of social media to promote a drug disposal event. Staffing needs will vary based
    on the magnitude of work involved. Equipment, supplies and frequency of disposal will
    depend upon the volume of drugs collected. For example, a 6-month pilot program
    established in 5 different pharmacies in rural counties in New York collected an estimated 300
    lbs. of prescription medicines in 2016.231 By contrast, between 2014 and 2016 the Winchester
    Police Department's Drug Collection Unit collected approximately 1,240 lbs. of medication
    from a single, “24-7”, collection site for unused and expired medications.232

78. Despite their importance, historically, drug disposal programs have only re-collected a small
    proportion of the total number of controlled substances dispensed, with collected drugs also
    including a mix of other medications such as antibiotics, oral contraceptives and
    cardiovascular treatments.233 Furthermore, the U.S. Food and Drug Administration directs that
    certain prescription medicines, such as opioids, should be immediately flushed down the
    toilet when no drug disposal program option is readily accessible.234 Patient and pharmacist
    education regarding how to properly dispose of opioids is important. In the absence of drug
    disposal programs, other routes of disposal include mixing unused opioids with inedible



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   garbage (e.g. cat litter) or using specialized chemicals that trap the unused pills in a non-
   divertible and biodegradable matrix.235

79. Any abatement program in Cuyahoga and Summit Counties should include investments to
    educate individuals regarding safe opioid storage, as well as to expand the availability and
    convenience of drug disposal programs. These programs should be implemented
    throughout community pharmacies as well as urgent care centers, hospitals, health systems,
    and law enforcement facilities. For select populations, such as homebound elderly or others
    with special needs, it may also be helpful to invest in mail-back options and/or distribution of
    biodegradable technologies that allow for safe and convenient at-home disposal.


CATEGORY 1F. EXPANDING SCIENTIFIC KNOWLEDGE
The goal of this remedy is to generate fundamental new knowledge that will ultimately translate
into safer treatments for pain and opioid use disorder, as well as increased knowledge regarding
how interventions can best be disseminated and implemented in communities across the country.
The development of new treatments is important because both pain and OUD are common, and
while both have a number of FDA-approved treatments, just as with treatments for cancer,
cardiovascular disease and mental illness, these treatments are not perfect.

80. Scientific research is a key component in the fight to end the opioid crisis.236 Ensuring funding
    for scientific research will help to enhance the safety and effectiveness of current interventions
    as well as to develop new technologies and approaches to aid lawmakers, healthcare
    professionals, affected communities, and other stakeholders committed to addressing the
    crisis. In 2018, the National Institutes of Health (NIH) launched the HEAL (Helping to End
    Addiction Long-term) Initiative to speed scientific solutions to end the epidemic.237

81. Developing non-opioid and safer opioid pain medications is crucial to reduce reliance on
    addictive prescription opioids to address the problem of untreated pain. There are several,
    potentially promising, new treatments that remain under development. For example, animal
    studies of “biased opioid agonists” that produce pain relief via the mu-opioid receptor have
    produced promising yet very early results; the mechanism of action for these compounds
    does not depend on the “rewarding pathway” and does not cause respiratory depression like
    currently approved opioids.238 Other non-opioid-based approaches may also lead to new
    therapeutics such as brain-stimulation technologies, sodium channel blockers and
    cannabinoids. Accelerating research to further develop these approaches may offer patients
    with chronic pain and their healthcare providers more effective, and safer, less addictive,
    alternatives to currently available opioids.

82. Research is also needed to develop innovative technologies and medications to expand the
    number of treatment options for opioid addiction. Fortunately, there is ample evidence to
    support the effectiveness of current opioid addiction medications including the opioid
    agonist methadone, partial agonist buprenorphine, and antagonist naltrexone.239 However,
    not all patients are successfully treated with these MOUDs. Some experience cravings and


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   compulsions so powerful that they discontinue MOUD and return to active addiction. Others
   experience adverse effects from MOUD, such as nausea, abdominal pain or sedation, that
   prevent its continued use. Others are hindered by chaotic lives, social determinants of health
   (e.g., poverty, lack of education) and other factors (e.g. intimate partner violence, trauma) that
   disrupt adherence to a medicine regimen that generally requires daily administration and
   relatively high levels of functioning. Recent advances in the field include longer acting
   formulations of products such as buprenorphine that obviate the need for daily administration
   and decrease the potential for diversion; for example, a long-acting, once-monthly, clinician-
   administered, injectable formulation of buprenorphine was approved by the FDA in
   November 2017.240 Other advances that remain in earlier stages of development include
   vaccines that prevent opioids from entering the brain by utilizing the body's own immune
   system and safer treatments for opioid use disorders that depend on modifying brain circuits
   or that have novel molecular targets such as the kappa-opioid receptor.241,242

83. While naloxone is an effective overdose-reversal intervention that has saved many lives,243
    there is also an urgent need to develop additional overdose-reversal agents and
    technologies. In some cases, usual doses of naloxone are not sufficient to reverse fentanyl
    and other highly potent synthetic opioids overdoses.244 Additionally, bystanders may not
    reach persons who experience an overdose in time to administer naloxone. Developing new
    technologies and medications to reverse opioid overdose that are more powerful, longer-
    lasting, and that intervene automatically to stimulate respiration may decrease overdose
    mortality from opioids.

84. Although basic science and clinical research on safer treatments for pain and opioid use
    disorder are important, it is also vital to invest in scientific research that rigorously appraises
    community-level interventions to address the epidemic. For example, the National Institutes
    of Health’s HEALing Communities Study represents an ambitious undertaking on the part of
    the NIH “to test the immediate impact of an integrated set of evidence-based interventions
    across healthcare, behavioral health, justice, and other community-based settings to prevent
    and treat opioid misuse and opioid use disorder within highly affected communities”.245
    While the precise nature of these programs has yet to be determined, interventions likely to
    be pursued include many of those discussed herein, ranging from prescriber education to
    naloxone distribution to expansion of OUD treatment within the criminal justice system. The
    primary motivation for this study is the fact that so many effective, evidence-based
    interventions to reduce opioid-related morbidity and mortality exist yet are not being
    adequately implemented and scaled in hard hit communities around the country. While the
    HEALing Communities Study is likely to make a valuable contribution to our knowledge of
    how to bring evidence-based interventions to scale, it is also important that resources are
    invested in carefully evaluating the effects of innumerable other interventions within clinical,
    behavioral health, justice, and other settings in communities across the U.S.

85. Local communities such as those within Cuyahoga and Summit Counties can play an
    important role in the generation of new scientific knowledge regarding how to best design,
    implement, and evaluate abatement remedies to reverse opioid-related injuries and deaths.


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     However, broad dissemination and implementation of successful strategies from Cuyahoga
     and Summit Counties will only be possible if the program evaluations are incorporated early
     and throughout the process of implementation of remedies.


CATEGORY 2: IDENTIFYING & TREATING INDIVIDUALS WITH OPIOID USE DISORDER (OUD)
The goal of this category is to better identify individuals with OUD and to remove clinical,
economic and social barriers diminishing their access to comprehensive, coordinated high-quality
care.24 One important principle is to close treatment gaps. For example, some individuals who
overdose in the field are not formally evaluated or successfully linked with treatment246,247, while
many others, even if brought to an Emergency Department, are discharged rather than
transferred to an inpatient detox/rehabilitation facility, enrolled in an intensive outpatient (IOP)
program or initiated on MOUD.248 However, many other interventions are necessary in addition
to the closure of treatment gaps, including a transformation of the delivery system so that it
“mainstreams” addiction care and delivers it as consistently and compassionately as it does care
for pediatric cancer or amyotrophic lateral sclerosis (ALS).


CATEGORY 2A. TREATMENT FOR OPIOID USE DISORDER
The goal of this remedy is to provide patients with opioid use disorder readily accessible
treatment. Such treatment should include access to FDA-approved MOUD, since these are
efficacious treatments that not only reduce the likelihood of opioid use, but also the risk of
overdose, criminal activity and the transmission of infectious disease.249 However, not everyone
with OUD requires MOUD, and even when it is provided, it should be part of a full continuum of
care, including care that addresses other acute, chronic and preventive needs.

86. People enter the treatment system multiple ways. Some have a near-fatal overdose and first
    have contact with EMTs or through evaluation in Emergency Departments or acute care
    facilities. Others come to the attention of Emergency Medicine, primary care, or other health
    care providers as they seek care for unrelated needs. Yet other individuals are first identified
    through syringe exchange programs or other harm reduction or community-based outreach,
    while some are identified through contact with the criminal justice system. There are
    opportunities to improve the identification and treatment of individuals with OUD within each
    of these settings, and the larger the gaps, the more people will fall through them. Therefore,
    multiple methods are needed to connect people to services, including through direct referral
    and transfer such as may occur from a hospital or Emergency Department, as well as through
    the use of a variety of human and technological resources including: 24-7 hotlines, or
    “treatment connectors”; web-based platforms to provide a centralized, easy to use repository




24
  It is also important to consider individuals with opioid dependence and non-medical use who may not
yet fulfil formal criteria for an OUD; I consider these individuals in Paragraphs #170-174




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     of information for those seeking care; and adequate staffing of social workers, case managers
     and addiction counselors in clinical, behavioural, criminal justice and community settings.25

87. The FDA has approved three medications for the treatment of OUD and the choice of
    medication should be tailored to the unique needs of each individual.
         1) Methadone is an opioid agonist, which means it can activate opioid receptors in the
            brain and provide pain relief similar to other opioids. It can prevent withdrawal
            symptoms, reduce cravings and block the euphoric effects of other opioids.
            However, due to federal regulations, its dispensing for OUD is limited to certified
            opioid treatment programs, serving as a barrier to broader use.250
         2) Naltrexone is an opioid antagonist that blocks the effects of other narcotics.
            Provided as a daily pill or monthly intramuscular injection, it can be prescribed in
            ambulatory settings and does not have any abuse or diversion potential.251 However,
            it cannot be administered to individuals with opioids in their systems, since doing so
            will precipitate abrupt opioid withdrawal.252
         3) Buprenorphine is a partial agonist and partial antagonist of the opioid receptor, with
            significantly lower potential to produce euphoria or respiratory depression than
            other opioids. Appropriately waivered physicians may prescribe buprenorphine
            offices, community hospitals or correctional facilities.253 While the main form of
            buprenorphine for OUD is an orally administered combination of buprenorphine
            and naloxone (the latter of which is an opioid reversal agent as described in
            Paragraph #107), other formulations of buprenorphine are likely to be FDA approved
            in the years to come.254

88. Historically, some have opposed MOUD based on a number of misconceptions, including
    that it is invariably diverted (it is not, and when it is, it is often to avoid the dysphoria of opioid
    withdrawal including symptoms such as agitation, anxiety, muscle aches, nausea and
    vomiting),26 or that it is simply substituting one addiction for another (it is not).255 Rather,
    MOUD increases social functioning and retention in treatment, allowing individuals a better
    opportunity to reintegrate within their families and communities and to transition from active
    addiction through treatment into recovery.256,257 It is also associated with a wealth of other
    positive outcomes, including decreased opioid use and improved survival.258 Because of this,
    its use is supported by numerous authoritative sources, including the Centers for Disease
    Control and Prevention, National Institutes of Drug Abuse, American Society of Addiction
    Medicine and Substance Abuse and Mental Health Services Administration. It is also
    supported by global authorities such as the World Health Organization, which includes

25
  These include, but are not limited to, Emergency Departments, hospitals and other acute care facilities,
schools, the courts, jails, prisons, detention facilities, and syringe exchange programs and other
community-based outreach programs.
26
  Even the need for such defense of MOUD underscores the marked stigma and asymmetry that exists
between OUD and other diseases; for example, it is hard to imagine a setting where the use of inhalers for
asthma, insulin for diabetes, or even psychotropics for mental illness, would be met with such skepticism
or outright opposition.



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     buprenorphine and methadone as Essential Medicines.259 However, as I discuss further in
     Paragraphs #94 and #95, MOUD is not a stand-alone therapy nor does everyone require it;
     when it is used, it must be accompanied by other clinical interventions as part of
     comprehensive care for those with OUD.

89. Despite the potential of MOUD to help address the opioid epidemic, it is severely
    underutilized. For example, an analysis of 2012-2013 data from the National Epidemiologic
    Survey on Alcohol and Related Conditions (NESARC) indicated that fewer than one in five
    individuals with non-medical prescription opioid use disorder were ever treated,260 and rates
    of use of MOUD within publicly funded treatment programs have historically been low.261,262
    Combined with low use of MOUD even within programs offering it, some estimates are that
    as few as 1 in 10 individuals with OUD receive MOUD.263 Worsening matters further, treatment
    courses are often short, rates of treatment discontinuation and relapse high,264 and even
    periods of MOUD use are often punctuated by the receipt of prescriptions for non-MOUD
    opioids, underscoring common and serious lapses in care even for those accessing these
    treatments.265,266

90. A 2018 study from Massachusetts provides useful context.267 In this analysis of adults who
    survived an overdose between 2012 and 2014, in the 12 months after an overdose, 11%
    received methadone, 17% received buprenorphine and 6% received naltrexone. The average
    (median) duration of treatment was short, 1-5 months. Both methadone and buprenorphine
    utilization were associated with decreased opioid-related and all-cause mortality.27 Thus, this
    study underscores: (a) large gaps in MOUD adoption; (b) high discontinuation rates; and (c)
    the life-saving benefit of methadone and buprenorphine.

91. There are many barriers that account for the large gap between the number of individuals
    with opioid use disorder and the proportion that are treated with MOUD. Underlying these
    barriers are misconceptions about the nature of OUD and the effectiveness of MOUD, as well
    as other concerns such as those identified in Paragraph #88. In a recently published study
    based on national surveys, my colleagues at the Johns Hopkins Bloomberg School of Public
    Health found that only about one in three substance use treatment facilities offered MOUD
    in 2016, and fewer than one in sixteen (6.1%) offered all three.268 There is also a large shortage
    in the number of providers who are equipped to provide care for those with addiction.269,270
    Finally, the costs of MOUD, as well as other treatments for opioid disorder, have historically
    been an impediment for many individuals who might otherwise seek care.271 While our own
    work272,273, and that of others274, suggests that health plans are increasingly modifying their
    coverage and reimbursement policies so as to address the opioid epidemic, many individuals
    with opioid use disorder still face economic barriers to treatment, with a 2016 Department of


27
  The authors speculated several reasons they may not have observed a statistically significant benefit with
naltrexone, including a small sample and short duration of use, with most patients receiving it for a single
month. In addition, the study was unable to differentiate oral from intramuscular naltrexone.




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     Defense estimate of the costs of MOUD28,275 exceeding that of diabetes mellitus ($3,560) or
     kidney disease ($5,624).276

92. Overcoming these economic and structural barriers is just the first step in achieving the
    potential for high quality OUD care.277 This is because there is enormous stigma associated
    with opioid addiction, which discourages patients from seeking treatment and discourages
    clinicians from providing it.278 While opioid use disorder is a brain disease, it is often framed
    as a moral failing instead; treatment systems remain marginalized rather than
    “mainstreamed”; language about “legitimate pain” and “junkies” and “getting clean”
    perpetuates such marginalization; and many features of the criminal justice system’s
    intersection with opioid use disorder also contribute to the persistent organizational failures
    that are seen.279

93. Improving treatment uptake and use for OUD is not just the right clinical thing to do, it also
    makes good economic sense. For example, Ettner and colleagues280 and Gerstein and
    colleagues281, have estimated at least a 7:1 return on investment when examining the
    economic benefits and costs of the treatment of alcohol and drug disorders using California
    treatment data. These and other data are helpful in suggesting the value of MOUD, although
    there is also a need for further research that is focused specifically on treatments for OUD,
    rather than broader substance use disorders such as alcohol use disorder or use disorders
    associated with other controlled or illicit substances.

94. Investments in the treatment infrastructure must be made along a full continuum of care, from
    overdose reversal and acute detox to supports enabling long-term recovery. Individuals with
    OUD need regular contact with health care professionals responsible for supervising their
    pharmacologic and/or behavioral treatments, screening for adverse events or treatment
    failures and delivering supportive care and psychological counselling. In many ways, such a
    model is no different than a model of care for someone with asthma or diabetes. These
    diseases, and their treatments, can’t be managed in a vacuum. Medications, whether MOUD
    or treatments for other chronic diseases, should be provided in the context of a therapeutic
    relationship where risk factor attenuation, supportive counseling, medication monitoring, and
    attention to other health care needs take place. In the case of OUD, the delivery of structured
    social support and counseling may be especially important, given that these engagements
    assist patients in establishing the social reconnection that can be critical to long-term
    recovery. Treatment must also recognize the importance of screening and treatment for
    infectious diseases such as Hepatitis C and HIV282, as well as attending to chronic pain, other
    substance use disorders and mental illness, all of which are common among individuals with
    non-medical opioid use or OUD.283

95. In addition, no single treatment is right for everyone, and not every individual with a history
    of opioid use disorder should be treated with MOUD. For example, some people have a

28
  Estimated annual costs, which included a number of assumptions and were framed as preliminary, were
$6,552 (methadone), $14,000 (naltrexone) and $5,980 (buprenorphine).


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     remote history of opioid use disorder and while they retain a lifelong sensitivity and
     vulnerability to opioids, just as an alcoholic does to alcohol, many of these individuals are
     living productive, successful lives in recovery without MOUD. Some individuals are able to
     maintain healthy recovery through abstinence-based, 12-step programs such as Narcotics
     Anonymous, psychological counselling and supportive therapy, or combinations of these or
     other approaches.

 96. There are many different models for expanding access to OUD treatment within communities
     such as Cuyahoga and Summit Counties, and this remains an area of rapid growth and
     program evaluation. For example, Office-Based Opioid Treatment (OBOT) allows for
     physicians completing a waiver program to prescribe buprenorphine for OUD within primary
     care settings, the Medicaid Health Home Model integrates MOUD and behavioral health
     treatments with primary care for people with OUD and the Hub-and-Spoke Model triages
     patients between primary care clinics for uncomplicated patients with OUD (the “spokes”)
     and centralized clinics equipped to care for patients requiring methadone or whose complex
     behavioral and medical needs exceed those routinely provided in primary care settings.284
     Other models employ telemedicine or evaluate the increasingly common induction of MOUD
     within Emergency Department or inpatient settings.285

97. These programs differ along many dimensions, such as the degree to which they focus on the
    delivery of pharmacotherapy, behavioral services, care integration and community-based
    education or outreach. It is important that programs are designed to deliver care to
    individuals who have initiated MOUD, or “induction”, in low-barrier settings such as syringe
    exchange programs or emergency departments, given that the marginalization and social
    isolation of some of these individuals increase their likelihood for relapse or loss to follow-up.
    As discussed elsewhere, the needs of communities differ, and the optimal program for a given
    city or county will depend upon a variety of different factors including the adequacy of the
    primary care and specialty workforce, urbanicity, and existing infrastructure devoted to
    addiction treatment.

98. Most individuals with opioid use disorder who are entering treatment can be managed either
    in an ambulatory or intensive outpatient (IOP) setting, although initial evaluation and
    appropriate triage is important so as to optimize each individuals’ likelihood of successful
    treatment and recovery. IOP programs typically provide for several hours of patient
    engagement four to five days per week for a period of several weeks, and may include services
    ranging from individual, group and/or family counseling to case management to vocational
    training and employment services.286 A minority of individuals with opioid use disorder
    require inpatient hospitalization for initiation of detoxification and treatment, such as when
    acute illness (e.g., pneumonia or soft tissue infection), advanced comorbid disease (e.g., heart
    failure or liver failure) or uncontrolled psychiatric illness (e.g., bipolar affective disorder) makes
    ambulatory or IOP treatment unfeasible.

99. Workforce expansion is also important as part of efforts to build treatment infrastructure,
    given that many communities lack a sufficient number of well-trained health care professionals


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     who are equipped to deliver needed services for those living with chronic pain and/or opioid
     use disorder. These shortages have been experienced in Ohio;287 for example, in a survey of
     specialty addiction treatment organizations in the state, nearly half of the surveyed facilities
     reported insufficient prescribing capacity and one in four facilities using buprenorphine
     reported they had to turn patients away.288 There are a number of complementary
     mechanisms to prepare the workforce, including greater training through existing graduate
     health professional education programs as outlined in Paragraph #41 and elsewhere in this
     report, as well as capacity-building through expansion of existing infrastructure and the
     creation of new programs for health care professionals and paraprofessionals.289

100. Any abatement program within Cuyahoga and Summit Counties should include investments
     in the treatment system so as to allow for the provision of comprehensive, coordinated high-
     quality care for individuals with OUD, including access to services for the identification and
     management of acute, chronic and preventive care needs.290 Cuyahoga and Summit Counties
     already have taken significant steps to expand treatment capacity.291 Even so, only a small
     percentage of residents who could benefit from treatment are receiving it, and more must be
     done to connect individuals to appropriate services. Such investments should be also
     targeted at each specific points where gaps occur or individuals otherwise experience
     unacceptably high rates of relapse or loss to follow-up, ranging from the identification and
     triage of patients after non-fatal overdose to the expansion of detox and IOP programs to the
     provision of compassionate, evidence-based care for individuals living in recovery.


 CATEGORY 2B. PEER COACHES, RECOVERY HOUSING AND JOBS TRAINING
 The goal of this remedy is to increase the use of peers, who have credible, lived experience with
 opioid addiction, as well as to provide recovery housing and employment or vocational training
 for individuals whose recovery from opioid addiction might otherwise be jeopardized by the
 absence of a stable, supportive home environment or opportunities for gainful employment and
 career advancement.

101. While there is an urgent need to train more primary care practitioners to identify and treat
     opioid use disorder, peer recovery coaches also can play an important role in the treatment
     and recovery process for some individuals with OUD. The primary value of a trained peer
     coach is their lived experience with addiction, which allows for them to provide a level of
     credibility and authenticity that can be enormously helpful for individuals entering the
     treatment system. Coaches may provide a number of different types of resources or support
     to individuals with OUD, ranging from psychological support to connections to recovery
     communities, activities and events.292 Two systematic reviews examining the impact of peer-
     recovery services suggest the positive impact that such services can have on those with
     substance use disorders.293,294

102. Recovery housing is also an important component of care for some people with OUD. The
     National Alliance for Recovery Residences (NARR) defines four levels of recovery housing
     ranging from self-funded, peer-run, residential facilities where individuals can stay indefinitely


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     (Level 1) to residential facilities that also serve as clinical treatment centers (Level 4).295 As
     explained by Lori Criss, the Associate Director of the Ohio Council of Behavioral Health &
     Family Services Providers, “Who we spend our time with, where we go, and the things we
     surround ourselves with all impact who we are and the decisions that we make. Many times,
     people in early recovery have to give up everything they’ve known… because those people,
     places, and things put them at risk for relapse or continued use. Early recovery can be painful
     and isolating. Recovery housing can fill that void with a safe place, compassionate people,
     and a life full of purpose and fun that doesn’t involve alcohol or drugs.”296

103. As with peer recovery coaches, evidence examining the effect of recovery housing on
     outcomes such as drug and alcohol use, employment and psychiatric symptoms, while
     limited, suggests salutary effects.297 However, concerns have also been raised regarding
     substandard or outright fraudulent services being provided by some recovery houses. A
     March 2018 report from the U.S. Government Accountability Office (GAO) examining this
     matter in five states, including Ohio, underscores both the potential promise of recovery
     housing as well as the importance of adequate state regulatory oversight of their practices to
     ensure the prevention of exploitative or outright fraudulent housing practices.298

104. The role of the workplace in impacting the opioid epidemic must also be considered. For
     example, individuals with OUD who are under- or unemployed need opportunities for
     vocational training and access to employment, since unemployment is a significant risk factor
     for substance use, as well as relapse.299 In addition, prevention programs should be
     developed to broader populations of under- and unemployed through job training programs
     and other mechanisms, so as to decrease the likelihood of new cases of non-medical opioid
     use or OUD among this population.

105. The workplace is also important to consider because of the myriad ways that employers can
     positively impact the opioid epidemic.300 For example, employers should develop programs
     and policies that support employees living with chronic pain or who seek or are in treatment
     or recovery from opioid use disorder, including ensuring sufficient coverage and
     reimbursement of comprehensive services along the full continuum of care for OUD.301
     Employers can also create a workplace that is supportive of treatment and recovery by
     ensuring that hiring policies do not discriminate against individuals with a history of substance
     use disorder or criminal records secondary to such disorders.

106. Abatement remedies in Cuyahoga and Summit Counties should include resources to support
     a cadre of peer recovery coaches available to work directly with individuals entering the
     treatment system. In addition, investments should be made to maximize the availability and
     quality of recovery housing for individuals with OUD who are in need of such services as part
     of their recovery. Cuyahoga and Summit Counties have expanded recovery housing in recent
     years, but capacity is still not sufficient to serve everyone who could benefit from such services
     or for sufficient duration.302, 303 Finally, individuals with OUD who are under- or unemployed
     should be provided opportunities for career advancement through employment or vocational
     training programs that equip them to enter the workforce so as to maximize their likelihood


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      of a healthy and successful recovery, and employers should develop policies that affirm the
      workplace and societal value of individuals who have been harmed by the epidemic.

CATEGORY 2C. NALOXONE DISTRIBUTION AND TRAINING
This abatement category focuses on naloxone distribution and training. Naloxone is an opioid
antagonist, or "blocker”, that can save lives by safely and rapidly reversing opioid overdoses.
However, its costs, stigma and other barriers have historically limited accessibility to those in need.

107. As an opioid antagonist, naloxone works by binding to opioid receptors and blocking
     respiratory depression and other effects of prescription opioids and heroin or illicit fentanyl.
     It only works if someone has opioids in their system. Naloxone is a non-scheduled
     prescription medicine rather than a controlled substance.

108. There is widespread consensus that naloxone distribution and training represent an important
     method to reduce opioid-related overdose304, and reductions in opioid overdoses, including
     in areas such as Dayton, Ohio, have been attributed in part to widespread campaigns to
     improve the availability and use of naloxone.305

109. Naloxone can be easily administered through three FDA-approved formulations: injectable,
     autoinjector delivered and nasal spray, and it has little risk of adverse events. Injectable
     naloxone requires professional training, but it is also the least expensive since naloxone is no
     longer under patent protection.306 The autoinjector, branded as Evzio®, was approved in 2014
     and is most expensive. It has also been suggested to offer the easiest usability.307 The nasal
     spray, branded as Narcan®, was approved in 2015 and is favored by some given its usability
     and price. As with MOUD, additional formulations and continued innovation in the naloxone
     market are highly likely, and abatement remedies should remain flexible to keep pace with
     these changes.29

110. The price of naloxone is important to consider because historically its costs have been an
     important barrier preventing more widespread availability and use. For example, a two-dose
     package of the auto-injector Evzio was priced at $690 in 2014 but $4,500 in 2016, representing
     more than a six-fold increase in price over the course of two years.308 In response to surging
     demand for naloxone, as well as its escalating costs, some cities and counties have had to
     ration it.309

111. While the costs of naloxone have prevented its more widespread availability and use, other
     barriers are also important to consider. These include stigma surrounding opioid use
     disorder, which impacts the readiness and willingness of individuals to engage with its
     preparation or use, as well as training requirements regarding its use.310,311



 29
   For example, it is plausible that a new formulation of naloxone may be developed and brought to market
 that has a significant comparative advantage over currently available naloxone formulations.



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112. Three different channels should be used to increase naloxone distribution and use. First,
     health care providers and first responders, such as law enforcement and EMTs, should be
     provided with naloxone and training, since these individuals often serve as the initial point of
     contact with those who have overdosed. Second, high risk patients, such as those who are
     maintained on chronic, high-dose prescription opioids or who have already experienced a
     non-fatal overdose, should be prescribed naloxone and trained on how to administer it. In
     many cases, such training should also include their caregivers and/or family members, given
     the likelihood that these individuals would be most likely to be the ones responding to an
     overdose. Finally, naloxone should be distributed throughout communities in public spaces,
     similar to automatic external defibrillators which are routinely available in movie theaters,
     malls, schools, airports and houses of worship.

113. Despite its benefits, naloxone distribution and training will have a finite impact on the opioid
     epidemic. Not all overdoses are witnessed by someone willing and able to administer
     naloxone. In addition, the long-term public health impact of naloxone programs depends on
     what happens after an overdose is successfully reversed. For example, successfully revived
     individuals remain vulnerable to future overdose and death, and individuals who overdose
     once have escalating risks of future overdoses.312 After naloxone, individuals may temporarily
     or permanently desist from use, continue as active users, obtain addiction treatment,
     overdose again, or die of other causes. Ultimately, the outcomes of an overdose reversal
     depend upon the availability and comprehensiveness of OUD treatment, other mortality risks
     and background factors. These factors underscore the importance of a comprehensive
     abatement approach.

114. There have been several efforts to improve the utilization and access to naloxone in Ohio.
     Initiated in 2012 by the Ohio Department of Health, Project DAWN (Deaths Avoided With
     Naloxone) is a community-based overdose education and naloxone distribution program
     created to combat Ohio's opioid overdose crisis.313 Participants of Project DAWN receive
     training on how to recognize signs and symptoms of overdose, as well as learn overdose
     response protocols, such as rescue breathing, calling emergency services and administering
     intranasal Naloxone. Several Project DAWN and naloxone access sites exist across Ohio,
     including sites in Cuyahoga County and Summit County. In Cuyahoga County, Project DAWN
     was attributed with saving ~900 lives in 2017 and was projected to save another ~700 lives in
     2018.314 In Summit County, two new sites were opened in 2018 as part of Project DAWN. One
     site reported 167 opioid overdose reversals due to Project DAWN within the first six months
     of operation.315 Despite this, as Katherine Keyes outlines in her report, more resources are
     needed to adequately scale up naloxone across Cuyahoga and Summit Counties.

115. Cuyahoga County has also implemented a collaborative naloxone initiative between Discount
     Drug Mart, wherein the Cuyahoga County Board of Health and the MetroHealth System
     aimed at creating a protocol to begin distribution of naloxone at every Discount Drug Mart
     throughout Ohio.316 As of 2016, all Discount Drug Marts in Ohio were equipped to dispense
     naloxone kits to individuals without a prescription317. This initiative has included educating
     pharmacists and pharmacy technicians on addiction paradigms and how to provide naloxone,


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     as well as the creation of a pain medication awareness pamphlet distributed with every opioid
     filled at Discount Drug Marts in Ohio.318

116. Any abatement program within Cuyahoga and Summit Counties should ensure that naloxone
     is readily available to all in need, including first responders and high risk patients, as well as
     distributed effectively in public spaces. Naloxone distribution should be accompanied by
     direct training, and its role in reversing overdoses should also be considered for inclusion in
     educational campaigns as discussed elsewhere herein.


CATEGORY 2D. HARM REDUCTION INTERVENTIONS
The goal of harm reduction is to implement evidence-based interventions that “meet people
where they are at”. Such approaches recognize the formidable barriers that often prevent people
from treatment seeking or achieving full recovery; harm reduction diminishes individual and
societal harms from the opioid epidemic.

117. Harm reduction refers both to a set of general principles used to underpin policies concerning
     the way that societies respond to drug problems and to specific interventions. A defining
     feature of harm reduction is its focus on harms associated with opioid use rather than the
     prevention of such use per se. Harm reduction approaches can target individuals as well as
     the structural (e.g., drug paraphernalia laws)319 and environmental (e.g., physical environment)
     contexts which engender harm.

118. Harm reduction can be contrasted with approaches that prioritize the singular prevention of
     drug use, which often are embodied in “zero tolerance” enforcement approaches.320
     Empirical evidence has demonstrated short-comings of the U.S. “War on Drugs,”321,322
     including its failure to reduce the demand for drugs323,324 or decrease drug-associated
     violence325 while leading to the disproportionate incarceration of people of color and the
     urban poor. Such findings underscore the need for innovative, evidence-based approaches
     to address opioid use disorder and other harms stemming from non-medical opioid use. An
     important component of any comprehensive response to the opioid epidemic includes
     scaled-up harm reduction services targeting people who are actively using drugs. There are
     three main harm reduction approaches that are relevant to the opioid epidemic.

119. Syringe Service Programs (SSPs). These programs are designed to provide clean syringe
     access and disposal to people who use drugs (PWUD) intravenously. Such programs were
     scaled up in the U.S., Europe and Australia in the 1990s and 2000s to help reduce the
     transmission of blood-borne infectious diseases. This is important because an estimated 4.1
     million people in the U.S. are infected with HCV326 and ~1.1 million are infected with HIV, with
     about 25% of HIV cases co-infected with HCV.327, 328 While studies suggest only a small
     proportion of individuals with non-medical opioid use progress to heroin,329 there are
     nevertheless millions of individuals who report such non-medical opioid use, intravenous drug
     use (IVDU) is a primary risk factor for the acquisition and transmission of both HCV and HIV,
     and the opioid epidemic has resulted in a sharp increase in both of these diseases. From


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     2012 to 2016, the Centers for Disease Control and Prevention (CDC) estimated acute HCV
     infections have increased by ~70%,330 and states with the highest rate of new HCV infections,
     such as West Virginia, Kentucky, and Tennessee, are also among those that have been hardest
     hit by the opioid epidemic.331

120. Beyond national statistics, a microcosm illustrating the interconnectedness of the opioid
     epidemic and HIV and HCV infections was seen in rural Scotts County, Indiana. In 2015, this
     rural county experienced a community outbreak of HIV, and by April 2016, there were 188
     confirm cases of HIV infection, of which 92% were coinfected with HCV.332 The Indiana State
     Department of Health led an investigation into this outbreak and determined it to be linked
     to injection drug use of the prescription opioid oxymorphone.333 This outbreak also
     highlighted the vulnerabilities of communities to handle these crises.

121. The U.S. Public Health Service has long recommended to have a clean syringe for every
     injection, effectively increasing the “coverage” of sterile needles and syringes.334 Through
     extensive research over three decades, SSPs have been associated with reductions in risky
     syringe sharing behaviors335,336, as well as rates of HIV337,338,339,340, Hepatitis B and Hepatitis C.341
     SSPs also generally include onsite evaluation and referrals for substance use disorder
     treatment for an otherwise difficult to access population. As of October 2017, there were an
     estimated 310 syringe services programs in 42 U.S. states and Washington, D.C.342

122. SSPs often provide medical services for PWUD, many of whom are marginalized and may have
     otherwise very limited access to ambulatory care. In addition to doctors, nurses, and social
     workers, such care may include peer recovery coaches, whose potential value and services
     are discussed in Paragraph #101. Clinical services delivered as part of SSPs may include care
     for acute conditions such as upper respiratory infections, chronic conditions such as diabetes
     or cardiovascular diseases, or most commonly, preventive screening and other preventive
     interventions such as flu shots or other vaccinations. Such programs may also include family
     planning services. Individuals who test positive for HIV, HCV or both should be referred for
     treatment. Positively identified individuals will require access to necessary health care
     including effective antiretrovirals and direct-acting antiviral treatments that treat HIV and
     HCV, respectively, as well as treatment for their underlying OUD, including access to MOUD
     and other treatments for opioid use disorder.

123. Overdose prevention sites. Overdose prevention sites, or supervised consumption sites are
     places where people can legally use previously purchased prescription or non-prescription
     opioids (e.g., heroin, fentanyl) under medical supervision. These sites have been established
     in Canada, Europe and Australia for over 30 years and have been shown to decrease overdose
     death, transmission of infections and public drug use.343,344,345,346 Primarily staffed by medical
     or case management staff and current or former PWUD who do not assist in drug
     administration347, they are equipped to address questions about how to decrease the risks of
     drug consumption, provide sterile equipment (e.g., syringes) and condoms, and reverse
     overdose. In addition to their public health impact and cost-effectiveness, these sites are



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     uniquely effective in sustaining contact with the most marginalized PWUD who consume
     drugs in public places348,349, and positively impact communities by reducing public drug use.350

124. Drug checking. Drug checking services enable people who use drugs to have the content of
     their drugs chemically analyzed, allowing them to make informed decisions about use.351,352
     Drug checking, a method pioneered in Europe, has the potential to introduce the concept of
     product safety into the unregulated illicit drug supply in the U.S. Currently, its use in the U.S.
     has been limited to raves or similar parties, primarily for the testing of 3,4-methylenedioxy-
     methamphetamine (MDMA, or “ecstasy”). Recently, some syringe services programs in the
     U.S. have begun distributing fentanyl testing strips originally designed for testing urine
     samples. Such “fentanyl checking” allows users to objectively determine whether their drug
     samples contain fentanyl or fentanyl analogues. While few evaluations of fentanyl testing
     services have been performed, recent assessments suggested a high degree of acceptability
     and potential utility among PWUD.353,354,355

125. Any abatement program in Cuyahoga and Summit Counties should include resources to
     support harm reduction services. Syringe exchange services, including outreach, delivery of
     non-OUD care and referral for treatment, should be expanded sufficiently so as to reach the
     broadest population of individuals with IVDU possible within Cuyahoga and Summit Counties.
     Such programs should include increased availability of drug checking services to assist in the
     rapid identification of fentanyl so as to allow users to avoid using heroin adulterated with
     fentanyl, which is far more lethal. For example, in 2018 Summit County Public Health began
     distributing fentanyl test strips in limited quantities, and has documented harm reduction for
     PWUD.356 While significant legal and policy reform will be required357, consideration should
     also be given to the establishment, and continual evaluation, of one or more overdose
     prevention sites, given evidence of a salutary public health impact.358,359,360


CATEGORY 2E. SURVEILLANCE AND LEADERSHIP
The goal of surveillance is to convert local data to actionable intelligence at a local level by
gathering, curating and disseminating timely information about key dimensions of the epidemic to
public health officials, policy-makers and other stakeholders. This is important because the
absence of timely, granular information about the epidemiology of opioid use, addiction and
overdose at a local level has limited the ability of stakeholders to rapidly design, iterate and
evaluate targeted interventions to address the epidemic in communities such as Cuyahoga and
Summit Counties.


126. The opioid epidemic is a complex phenomenon with many different dimensions and impacts,
     and it continues to change and evolve rapidly at national, state and local levels. At a national
     level, prescription opioid sales increased approximately four-fold between 1999 and 2010361,
     though since then, sales have modestly declined. Despite a plateauing of prescription opioid
     deaths, since 2010 there have been large increases in the rates of use and overdose deaths
     from heroin and illicit fentanyl.362,363 Other national changes, and some glimmers of hope, are



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      apparent, such as large declines in new users of heroin in 2017, as well as significant increases
      in ambulatory treatment among those with substance use disorders.364,365 However, enormous
      gaps remain.

127. At a local level, these changes have often been even more profound, as the opioid epidemic
     has impacted communities differently. For example, there is enormous variation in the
     volume of opioid prescribing, overall, and per capita, across different geographic regions of
     the United States366. Similarly, rates of illicit fentanyl, as well as overdose367,368, vary widely,
     with some states, such as Ohio, Pennsylvania and Kentucky, having experienced
     disproportionately high numbers of overdoses compared with other states, such as Nebraska
     or Wyoming or Texas. Communities within these states have also been affected differently,
     both with respect to prescription sales or overdose deaths, as well as with respect to other
     important features of the epidemic, ranging from treatment capacity369 to spending on the
     epidemic.370

128. Policy-makers and public health leaders need timely and accurate information on key
     parameters they can use to make informed decisions about resource allocation. The
     importance of data is affirmed by the U.S. Department of Health and Human Service’s Five-
     Point Opioid Strategy, which includes “Better Data” as one of the five key strategies to
     address the crisis.371 Without such information, local communities are “flying blind”, no better
     off than an airplane pilot without access to the plane’s instrument panel. For example, the
     deployment, targeting and evaluation of academic detailing programs depends vitally on
     timely information regarding opioid prescribing across prescribers. Similarly, naloxone
     distribution and training should be designed based on the relative incidence, causes and
     outcomes of overdose within small, well-defined geographic areas.

129. Expanding surveillance capabilities is important at every level.372 At a national level, the
     federal government must continue to invest in surveillance of opioid prescribing, addiction
     and overdose.30 This information aids in quantifying populations at-risk and also provides
     insight regarding the effectiveness and unmet needs of prevention, treatment and recovery
     programs. The National Survey of Drug Use and Health has consistently provided valuable,
     annually updated data regarding some key features of the epidemic, but it is limited by
     several factors, including, under-coverage of high-risks groups such as homeless or
     institutionalized individuals as well as a focus on past-year rather than life-time or incident
     OUD.373 Similarly, the CDC Wonder online database provides the best single source of
     information about one vital measure of the epidemic - opioid mortality - yet causes of death
     are variably reported across states, and further work is needed to improve the uniformity and
     quality of data from medical examiners and coroners that is reported into this system. 374, 375




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    Despite the value of national sources of information, there are often lengthy lags in availability and other features
 limiting its utility for cities and counties in need. Rather, cities and counties often have information that could be of
 great value, yet historically these communities have lacked the resources required to put these data to use.



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130. At a state level, funding is needed to assist states who continue to expand and harmonize
     their reporting systems. Such efforts are already underway and have been partially
     underwritten by the CDC, which in 2016 and 2017 provided funding for 32 states and
     Washington D.C. to implement state-based opioid surveillance systems, designed to provide
     more timely and comprehensive data on fatal and nonfatal opioid overdoses and risk factors
     associated with fatal overdose.376 States need additional investments to build systems to
     increase the speed and comprehensiveness of overdose reporting, which should incorporate
     emergency medical services data as well as comprehensive toxicology testing by medical
     examiners and coroners. Such efforts should also include syndromic surveillance, designed to
     detect illness or disease prior to diagnostic confirmation. While such systems were first
     developed in response to bioterrorism threats, their structure and approach may be useful for
     some elements of surveillance of the opioid epidemic.

131. At local levels, cities and counties should invest in near real-time surveillance of key
     parameters relevant to understanding the nature of the opioid epidemic within their
     communities. These data should be drawn from medical, behavioral and criminal justice
     systems, and include, but not be limited to, measures such as: opioid and non-opioid
     analgesic prescribing, OUD treatment capacity, MOUD use and persistence, non-fatal and
     fatal opioid overdose events, naloxone distribution and use, criminal justice offense type,
     sentencing, treatment received while under court supervision (e.g., mandated treatment) and
     reoffending rates.

132. At a local level, such as within Cuyahoga and Summit Counties, there are many potential
     sources of data for these and other relevant measures.31 For example, clinical information can
     be derived from prescription drug monitoring programs and states’ Health Information
     Exchanges (HIEs), emergency medical services and hospital and emergency administration
     data. Behavioral health data can be drawn from sources such as the minimum data sets that
     are directly collected by all Single State Authorities (e.g., state agencies on drug abuse) for
     specialty treatment programs and from Medicaid programs, as well as from sources such as
     the Drug Enforcement Agency’s National Technical Information Service (NTIS) database of
     waivered prescribers and state and federal databases on specialty treatment providers (e.g.,
     the SAMHSA treatment locator which is updated annually and provides street addresses for
     treatment programs). Criminal justice data can be derived from states’ Department of
     Corrections.

133. There is no question that the collection, curation, and integration of these data will require
     substantial cooperation, effort and tenacity on the part of local communities such as
     Cuyahoga and Summit Counties. Many of these data systems are maintained by different


 31
   While cities and counties should prioritize local high performance surveillance, resources are also needed for broader
 evidence repositories. Such repositories would allow for evaluation of interventions (e.g., naloxone distribution,
 treatment expansion) across diverse communities, strengthening opportunities for replication and dissemination of
 best practices.




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     private or public entities, and in some cases, significant administrative, legal and cultural
     barriers will have to be overcome. However, there is tremendous promise in such efforts,
     especially since the effects of the opioid epidemic, and remedies to abate it, extend across
     medical, behavioral and criminal justice systems. Linkage of these data will provide a more
     comprehensive understanding of the current issues associated with the epidemic and identify
     areas where local communities should focus.

134. For example, consider the case of policing, where public health oriented policing
     interventions, such as a focus on overdose deaths, use of naloxone, education regarding
     addiction and stigma, and treatment on demand, can play an important role in reducing
     opioid-related injuries and overdose deaths.377 Routine tracking of measures that evaluate
     that these and other approaches can be used for a number of purposes including to establish
     benchmarks, allocate resources, and evaluate the success of new initiatives with respect to
     process, such as how many doses of naloxone have been dispensed, and outcomes, such as
     how many overdoses have been reversed.

135. Surveillance must be combined with leadership such as has been demonstrated by individuals
     within Cuyahoga and Summit Counties. In other words, a cohesive, multidisciplinary team
     should coordinate a given community’s response across multiple agencies, departments and
     stakeholders and based on a comprehensive needs assessment as outlined in Paragraphs
     #36-#37. Representation, and appropriate staffing, from key entities such as the medical,
     behavioral and criminal justice systems within the community is vital. The overall effectiveness
     of a community’s response will rest in part upon the relationships among those coordinating
     the effort, and the overall coherence and shared vision among relevant parties. This team
     should meet regularly to review programs and policies, as well as assess surveillance data and
     emerging evidence from the field. In addition to serving as liaisons to their respective
     organizations, as well as more broadly championing the community’s strategic response, the
     team should troubleshoot, redirecting resources and re-engineering how individuals with
     chronic pain, non-medical opioid use or OUD are identified and managed within relevant
     systems of care.

136. Abatement remedies in Cuyahoga and Summit Counties should include resources to support
     the development and management of a state-of-the-art surveillance program that can serve
     as a mission control center as remedies are deployed, iteratively refined and evaluated. Such
     resources should allow for relevant data from a variety of local, state and national sources to
     be gathered, curated and analysed, and in turn, reported back out using a variety of different
     approaches customized to the specific needs of key stakeholders such as public health
     officers, treatment providers and law enforcement officials. Remedies should also include
     resources to support the leadership that will be needed for a well-coordinated, longitudinal,
     multi-stakeholder initiative.




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CATEGORY 3: CARING FOR SPECIAL POPULATIONS
Many groups of individuals have been uniquely affected by the epidemic, including pregnant
women, children and adolescents and those who are incarcerated or otherwise enter the criminal
justice system. Other marginalized or historically underrepresented groups, such as African
Americans, Native Americans and Alaskan Natives, have also been impacted in unique ways. While
some abatement remedies, such as naloxone distribution, generally need not be customized to
specific subpopulations, there are other remedies that are important to design with specific
populations in mind. The groups below are not intended to be exhaustive of special populations
of interest, and in some communities or settings, other subpopulations may be important to
consider as abatement remedies are deployed, ranging from women378 to those living in rural
areas.379

CATEGORY 3A. INDIVIDUALS WITHIN CRIMINAL JUSTICE SYSTEM
One goal of this remedy is to increase the identification and treatment of individuals with opioid
use disorder within the criminal justice system in both community and detention settings. This is
important because the criminal justice system is a major thoroughfare for individuals with opioid
addiction, and treatment of these individuals reduces their risk of overdose and recidivism while
improving their societal reintegration. This remedy also focuses on other ways that the criminal
justice system can positively impact the opioid epidemic through activities ranging from reducing
stigma surrounding OUD to disrupting drug trafficking rings that are responsible for the
distribution of illicit fentanyl.

137. The opioid epidemic has burdened the U.S. criminal justice system with a surge of inmates,
     increasing health care costs associated with OUD and producing high rates of overdose and
     recidivism. Data from the Department of Justice suggest over half of the incarcerated
     population has a substance use disorder,380 approximately one in four state prisoners between
     2007-2009 reported prior heroin or opioid use,381 and by some estimates, as many as one-
     fourth to one-third of individuals with heroin addiction are estimated to pass through the
     criminal justice system each year.382 Fewer than 20% receive treatment,383 and what treatment
     is received is often inadequate. According to the Federal Bureau of Justice Assistance, as of
     August 2017, only 30 of the 5,100 (0.6%) prisons and jails in the U.S. offered opioid users
     methadone or buprenorphine,384 despite evidence that such treatment improves treatment
     entry and retention after release if arrangements exist to continue treatment.385 Because of
     this, detox facilities and access to MOUD, as well as other treatments along the continuum of
     care, are important for those incarcerated in jails, prisons or juvenile detention facilities. While
     such treatments should be made available to anyone with OUD, they are especially important
     for high priority populations such as pregnant women with OUD and individuals already on
     MOUD prior to incarceration. 386

138. Drug courts. There is substantial evidence regarding the role that drug courts can play in
     diverting non-violent offenders from the criminal justice system to the treatment system,
     where their needs can be more effectively addressed.387 These programs represent special
     court dockets that provide judicially-supervised substance use treatment in lieu of


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      incarcerating individuals with drug-related offenses. The President’s Commission on
      Combatting Drug Addiction and the Opioid Crisis included a recommendation that the “DOJ
      broadly establish federal drug courts within the federal district court system in all 93 federal
      judicial districts.” Further, the Commission reported “States, local units of government, and
      Indian tribal governments should apply for drug court grants established by 34 U.S.C. § 10611.
      Individuals with a SUD who violate probation terms with substance use should be diverted
      into drug court, rather than prison.”388 One of several sources of evidence to support the
      efficacy of drug courts is a comprehensive review commissioned by the U.S. Department of
      Justice that examined drug courts in the U.S.; the report, which was also supported by the
      Office of National Drug Control Policy (ONDCP) of the Executive Office of the President,
      found that the combination of comprehensive treatment services and individualized care
      provided by drug courts is an effective way to provide treatment to criminal offenders with
      substance use disorders.389 Both Cuyahoga County and Summit County have established drug
      courts. In Summit County, the majority of participants are opioid-dependent and yet capacity
      is limited.390

139. Interventions focused on law enforcement agents play a synergistic role to drug courts
     targeting criminal justice offenders. Law enforcement officers are in a key position to help
     reverse the opioid epidemic as they respond to overdoses and engage in community
     policing, a practice that places officers consistently in the same local settings to support their
     greater integration and partnership with community residents. Police departments in hard hit
     areas of the country have been stretched thin as they have attempted to devote sufficient
     resources to the opioid epidemic, which has in turn diminished their capacity to respond to
     other pressing needs within their communities. In addition to a pressing need for greater
     personnel, there are also specific law enforcement-related strategies that can equip officers
     responding to the opioid epidemic.

140. Training to reduce stigma. Since law enforcement officers are often the first responders to an
     overdose, they must have the training and confidence to appropriately respond.32 Such
     training, which should be repeated at regular intervals, may reduce stigma, increase the
     likelihood that individuals will call 911 for help and improve referrals for services and/or
     treatment. While not focused on opioid overdose per se, training for officers to reduce stigma
     related to behavioral health crises has been effective at improving officers’ attitudes toward
     individuals with mental health issues391,392 and self-efficacy in handling these calls.393 Such
     Crisis Intervention Team (CIT) training has also reduced arrests and use of force394 and
     increased referrals for services during a mental or behavioral health crisis. 395,396

141. Law Enforcement Assisted Diversion (LEAD). LEAD is a program to divert individuals who
     would otherwise be arrested for drug-related charges into community-based services and/or
     treatment.397 LEAD is unique in that it occurs pre-booking so that if an individual who qualifies


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   Law enforcement officers within prisons and detention centers should also undergo similar training, given
 high rates of stigma in these settings as well.



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      for the program chooses to enroll, they do not have an arrest on their record if they complete
      program requirements. Qualifications are based on having committed a low-level drug
      offense and factors such as the amount of drugs possessed, absence of any intent to distribute
      and absence of disqualifying criminal history such as violent crime.398 Thus, in contrast to drug
      courts, LEAD participants never enter the criminal justice system and they are enrolled in
      LEAD instead of being charged with a crime. LEAD programs reflect partnerships between
      law enforcement and local behavioral health systems to enroll individuals in appropriate
      services. Seattle created the first LEAD program and early evaluation results suggest
      improved outcomes for participants including housing, employment, and reduced
      recidivism.399,400 As with Crisis Intervention Team training, law enforcement officers require
      training that should be repeated at regular intervals to maximize their familiarity and expertise
      with the conduct of LEAD.

142. Specialized overdose units. Some police departments have created specialized units to
     address the opioid epidemic. These units, such as one in Cleveland, Ohio,401 are often
     comprised of detectives, sometimes within homicide or narcotics units, who work to link
     together overdose incidents across the city by identifying similar contacts, sources, dealers or
     other features between overdose events. These units treat sites of overdoses as crime scenes
     and work to track back to dealers and build cases for prosecution to bring down higher level
     supply sources for opioids.402 The specific size and composition of these units, as with other
     components of an effective law enforcement response to the opioid epidemic, will depend
     upon many features of the local community, including the size and urbanicity of the
     jurisdiction as well as the burden of prescription opioids, heroin and illicit fentanyl.

143. Law enforcement plays a vital role in an effective response to the opioid epidemic, and any
     abatement program in Cuyahoga and Summit Counties should include resources to support
     each of these functions. While the specific needs of local law enforcement could extend
     beyond the areas identified above, at a minimum, resources should be committed to ensure
     that police departments are adequately staffed so that demands posed by the opioid
     epidemic can be fully addressed without detracting from an ability to address other areas of
     high local need. In addition, resources should be committed so as to staff and otherwise
     support prosecutors, drug courts,33 training to reduce stigma for both community policing as
     well as among prison and detention center personnel, LEAD and, where required, specialized
     overdose law enforcement units. Resources are also required to support the development
     and management of detox units and treatment facilities within jails, prisons and detention
     centers so as to provide treatment access for individuals with opioid use disorder.



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   For example, court systems in many communities need greater support to optimize their potential to
 connect individuals in need of treatment with ambulatory or intensive outpatient treatment. Thus,
 resources are needed for courts to sufficiently staff positions that allow for technical assistance to judges
 as well as increased tracking, case management, and coordination and integration of the activities of the
 court with each community’s broader abatement approach.




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CATEGORY 3B. CHILDREN, ADOLESCENTS AND YOUNG ADULTS
The goal of this remedy is to address the direct impact of opioid use, addiction and overdose on
children, adolescents and young adults, including prevention programs that delay initiation or
escalation of opioid use as well as screening and treatment programs that are customized to the
unique needs of these special populations.

144. Children and adolescents are uniquely vulnerable to the consequences of non-medical opioid
     use, and as the opioid epidemic has flourished, many children and adolescents have been
     exposed. In 2005, approximately 10% of adolescents reported prior or current non-prescribed
     use of pain relievers.403 In 2015, an estimated 276,000 adolescents 12 to 17 years of age
     reported current nonmedical use of pain relievers with nearly half of these adolescents likely
     to be addicted to these products.404 Such use has occurred at high rates in Ohio, with 2013-
     2014 Summit County estimates that as many as one in eight (15.6%) of high school students
     reported non-medical prescription drug use (compared with state average of 12.8%) and an
     estimated 4.1% of high school students reported prior heroin use, twice as much as the state’s
     (2.0%) and national (2.2%) average.405 Fortunately, there is evidence that opioid misuse
     among children and adolescents has declined somewhat over time. Past-year misuse of
     Oxycontin among high school seniors has declined from 5.5% (2005) to 2.7% (2017), while the
     proportion of high school seniors reporting prescription opioids as easily accessible has
     declined from 54% (2010) to 36% (2017).406 Despite this, the fact that one-third of high school
     seniors in 2017 reported that opioids are easy to obtain suggests their continued oversupply
     and remains of great concern.

145. The American Society of Addiction Medicine recognizes adolescents, individuals 11-21 years
     of age, as a special population of interest with respect to substance use disorders.407 Not only
     has early initiation of drug use been strongly associated with a constellation of adverse
     consequences, such as poor peer and familial relationships and entanglements with the
     juvenile justice system,408 but the ongoing brain development in adolescents during this
     period of time make them highly vulnerable to substance use disorders.409 Because of their
     vulnerability and future potential, prevention and early detection of substance use disorders
     in youths should be heavily prioritized to minimize the short- and long-term consequences
     associated with drug use at an early age.

146. Several school-based or family-based prevention programs have successfully delayed
     initiation or escalation of drug use in youths.410,411,412 For example, the Life Skills Training (LST),
     a widely used school-based module, has been demonstrated in several controlled studies to
     reduce substance use amongst adolescents.413 The impact of LST may be enhanced when
     coupled with the Strengthening Families Program (SFP), a family-based intervention designed
     to develop and support family bonds and communication. Greater investment should be
     made in the continued dissemination, implementation and evaluation of these and other
     evidence-based programs that are focused on primary prevention through education of
     broad populations regarding the nature of opioid use disorder, risks of non-medical use and
     availability of treatment and recovery supports.



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147. Treatment for adolescents with substance use disorder requires a unique approach and
     should be delivered by individuals with specialized training in the care of this population. For
     example, unlike older adults who have often spent years coping with substance use
     accompanied by a deterioration in psychosocial domains (e.g., loss of job or family),
     adolescent users tend to present at treatment after only a few years of addiction. In contrast
     to adults with substance use disorders, adolescents’ drug use is often driven by different
     factors (e.g., familial discord), may be subject to different environmental influences (e.g., peer
     effects) and may compromise psychological development.414

148. Use of MOUD is recommended for adolescents with severe opioid use disorders.
     Buprenorphine and naltrexone may provide more suitable treatments for adolescents than
     methadone, since these can be administered in office-based treatment settings.
     Furthermore, one of several evidence-based psychosocial therapies should be used
     simultaneously with MOUD when treating adolescents with substance use disorders. One
     type of psychosocial therapy is family-based therapy, which aims to reduce the adolescent's
     drug use by involving the youth’s family members in the treatment process. This mode of
     therapy facilitates the development of emotional support and communication strategies in
     order to address issues such as antisocial behavior or dysfunctional family interactions.

149. Abatement remedies in Cuyahoga and Summit Counties should include resources to reach
     at risk children and adolescents through school and community-based youth programs. In
     addition to screening and primary prevention programs to teach and reinforce positive life
     skills, resources should also be committed to the care of children and adolescents with opioid
     use disorder, which may require expansion of personnel with customized expertise in this
     area, as well as resources to support the expansion of both pharmacologic and non-
     pharmacologic treatment and recovery services.


CATEGORY 3C. CHILDREN IN FOSTER CARE AND CHILD PROTECTIVE SERVICES

The goal of this remedy is to improve the resources available to support children who have been
orphaned by the epidemic, as well as to assist children and their families who have otherwise been
impacted and who may be served through child protective services.

150. The opioid epidemic has severely impacted many families, and at times, forced children to
     be separated from parents and placed in foster care. In 2017, there were nearly 443,000
     children in foster care in the U.S., an increase of 46,000 children since 2012.415 Much of this
     increase is attributable to the opioid epidemic.416 Of the 273,000 children that entered foster
     care 2016, over 92,000 (34%) children were placed in out-of-home care and parental substance
     use was reported as a factor in the reason for removal.417 However, states vary in reporting
     on this variable and these data are considered an undercount of the prevalence of substance
     use among child welfare cases.418,419,420 Vastly more children – as many as one in eight – live
     in a household with one or more parents who have a history of past year substance use
     disorder.421


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151. While the precise number of these placements that were directly due to opioids is unknown,
     a recent mixed-methods study commissioned by the U.S. Department of Health and Human
     Services provides additional context.422 Geographic regions of the country with higher rates
     of overdose deaths and drug-related hospitalizations also have higher child welfare
     caseloads, as well as more severe and complex child welfare cases. In addition, many key
     informants reported worsening conditions, such as overdose deaths and caseload numbers,
     between 2015 to 2017. The report also identified many barriers to treatment of impacted
     families, including misunderstanding and mistrust of MOUD, piecemeal substance use
     assessments, shortages of family-friendly treatment and an increasing shortage of foster care
     homes. The report concluded that while these findings may not represent every geographic
     region or state, they nevertheless suggest how the opioid crisis has taken an unusual toll on
     an already strained child welfare system.

152. Children entering the foster care system, including those whose entry has been driven by the
     opioid epidemic, have both medical and non-medical needs. Federal and state governments
     often provide support to guardians of foster children for non-medical needs such as food,
     clothing and housing. Many children in foster care also have special health care needs, given
     the high prevalence of chronic medical, developmental, and mental health problems, most
     of which predate placement in foster care.423 Lastly, approximately 21-23% of children exiting
     foster care are adopted.424 Though some adoption costs are offset with government subsidies,
     the adoption process can nevertheless impose a heavy economic burden on some families.

153. Child protective services (CPS) includes a variety of interventions that are undertaken by state
     agencies charged with optimizing the health and welfare of otherwise vulnerable infants,
     children and adolescents. Such services include the investigation of reports of child abuse or
     neglect as well as the delivery of services, such as specialized case management and
     multisystemic or other family-based therapy, to support children and families where abuse or
     neglect has taken place or is likely. CPS is based on several underlying principles including a
     recognition that a safe and permanent home is the best location for children to be raised and
     that most parents want to be good parents to their children.425 Summit County Children
     Services has served as one of 11 pilot counties for the Ohio Statewide System Reform Project
     (SSRP); they operate a family treatment court and have also implemented a universal
     screening tool which seeks to identify families and parents impacted by substance abuse
     disorders.426 Identification of parents and guardians who may have opioid misuse or OUD
     presents opportunities to connect them to needed treatment services. Summit County has
     also offered family drug assessments, recovery coaches, substance abuse treatment through
     local providers, and other related services under the STARS Program until the federal grant
     that funded the program ended.427,428 Cuyahoga County offers similar services for birth
     mothers who test positive for drugs or alcohol through the START program.429

154. Any abatement program in Cuyahoga and Summit Counties should include resources to
     support the needs of children who have been orphaned by the epidemic or who have lost a
     parent, whether or not they have entered the foster care system. In addition, abatement


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      remedies should include resources, including intensive case management and access to
      therapy, to support the needs of children and adolescents who may have entered child
      protective services or otherwise come to the attention of social services organizations within
      the affected communities.

CATEGORY 3D. PREGNANT WOMEN AND NEONATES
This abatement remedy focuses on pregnant women who have chronic opioid dependence, opioid
misuse or OUD, as well as infants born with neonatal opioid withdrawal syndrome (NOWS), a
condition among newborns that is a consequence of in utero exposure to opioids.34 (NOWS is also
sometimes referred to Neonatal Abstinence Syndrome, although the latter is a less specific term
that may refer to in utero exposure to other substances such as alcohol or tobacco.) As with other
special populations such as children and adolescents, pregnant women and their newborns are
important to consider because of the ways that abatement remedies should be designed to
address their unique needs and vulnerabilities.

155. The opioid epidemic has severely impacted pregnant women and neonates. Approximately
     15% of commercially insured women and 22% of women on Medicaid filled an opioid
     prescription during their pregnancy. 430,431 The rate of NOWS, a condition associated with
     utero exposure to opioids, has also increased as opioid prescribing has increased. For
     example, in an analysis of hospital discharges from 2009 to 2012, the estimated rate of NOWS
     increased from 3.4 to 5.8 per 1000 hospital births.432 A longer time horizon provides similar
     evidence, with estimates of the diagnosis of NOWS increasing from 1.2 to 8.0 live births
     between 2000 and 2014; during this time period, some states experienced as large as a ten-
     fold increase.433

156. Both the Substance Abuse and Mental Health Services Administration (SAMSHA) and the
     American College of Obstetricians and Gynecologists (ACOG) have provided similar
     recommendations for targeting and treating pregnant women and neonates impacted by the
     opioid epidemic, including with respect to prenatal screening for opioid use among women
     who are pregnant, MOUD treatment for pregnant women with opioid use disorder, neonatal
     care for neonates born with NOWS, and residential transition programs for pregnant women
     and new mothers with OUD who have limited social supports.434,435

157. Prenatal screening. SAMSHA and ACOG strongly recommend screening pregnant women
     for substance use disorders including OUD. ACOG specifically recommends universal
     screening as part of obstetric prenatal care visits, and both suggest using validated screening
     tools such as the National Institute on Drug Abuse’s (NIDAs) Quick Screen or Substance Use
     Risk Profile–Pregnancy (SURP-P).436 Both organizations also suggest screening be part of a
     Screening, Brief Intervention, and Referral to Treatment (SBIRT) approach, although concerns


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   NOWS has also been historically referred to using the less specific term “neonatal abstinence syndrome
 (NAS)” which may refer to infant in utero exposure to other medicines or substances such as tobacco or
 alcohol.



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      with SBIRT as it applies to opioids have been raised. For example, some SBIRT studies have
      been negative and the effect in positive studies often modest. In addition, SBIRT is predicated
      upon the availability of follow-up treatment and the motivation of the individual to seek it,
      and the “brief intervention” of SBIRT was designed for behavioral treatments, which
      overlooks FDA-approved pharmacotherapies for OUD.35 Because of this, Screening,
      Treatment Initiation and Referral (STIR) has been proposed,437 and demonstrated to achieve
      better outcomes than SBIRT in at least two randomized trials, one focused on tobacco
      dependence438 and the other on OUD.439 The decision to initiate MOUD upon an index visit,
      as compared with referral for follow-up care, should be informed by a number of factors,
      including the context of the visit, stability and preferences of the patient, and availability and
      likelihood of suitable follow-up.

158. MOUD treatment. SAMSHA and ACOG suggest pregnant women with OUD be treated with
     MOUD. This is partly due to concerns that other treatment approaches (e.g., abstinence) pose
     an increased risk of fetal injury or demise. MOUD treatment should focus on the provision of
     buprenorphine and methadone, rather than naltrexone, since there is less information on how
     naltrexone may impact fetal development.

159. Neonatal care. NOWS refers to the presentation of withdrawal symptoms amongst infants
     who have been exposed in utero to opioids. Expression of NOWS is widely variable, though
     long-term complications may include poor neurological and motor development.440 Infants at
     risk of presenting with NOWS may require specialized care such hospitalization within a
     neonatal intensive care unit.

160. Residential transition programs. Pregnant women and new mothers also need stable
     environments for their own health, their baby’s health, and the best chance for positive
     treatment outcomes. A stable environment includes long-term housing, child-care, access to
     transportation, all within a family-oriented and supportive environment. Some pregnant
     women with OUD will require residential treatment because of limited economic capital
     and/or serious medical illness or behavioral health needs.

161. Any abatement program in Cuyahoga and Summit counties should include resources for
     pregnant women and neonates impacted by the epidemic. Such resources should include:
     services to identify and treat pregnant women with OUD as early as possible; longitudinal
     services to support women and address modifiable risk factors throughout their pregnancy;
     clinical and behavioral interventions in the peri- and post-partum period; hospital and child
     welfare resources to comply with the Child Abuse Prevention and Treatment Act to ensure a
     plan of safe care is implemented for the infant and family or caregiver before the infant is
     discharged from the hospital; and follow-up services to optimize care for the mother-child

 35
   For example, some SBIRT studies have been negative and the effect in positive studies often modest.
 SBIRT is predicated upon the availability of follow-up treatment and motivation of the individual to seek it
 and the “brief intervention” of SBIRT was designed for behavioral treatments, which overlooks FDA-
 approved pharmacotherapies for OUD.



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     dyad following hospital discharge, including the required developmental assessment for early
     intervention if the child is placed in out-of-home care.


CATEGORY 3E. AFRICAN AMERICANS, AMERICAN INDIANS AND ALASKAN NATIVES
This abatement category focuses on the unique needs of African Americans, American Indians and
Alaskan Natives (AIAN’s). This remedy is important because the opioid epidemic is typically
portrayed as impacting young and middle-aged, working class, suburban and rural whites.
However, African Americans and AIAN’s have not only been historically disenfranchised but also in
some areas have been disproportionately impacted by the opioid crisis.

162. There is a long history of race intersecting with the issue of substance use disorder in America.
     As the historian David Courtwright has noted, “what we think about addiction [in America]
     depends very much on who is addicted”.441 Ironically, African Americans have been spared
     from some of the harms associated with prescription opioids because of racial and ethnic
     disparities in the treatment of pain, such that compared with Whites Americans, Black
     Americans are less likely to receive prescription opioids for pain.442,443 On the other hand,
     among individuals on long-term opioid treatment for chronic pain, prescribers are
     significantly more likely to discontinue such treatment based on a positive screen for illicit
     drug use (e.g., cannabis) among Black Americans than White Americans.444

163. There are many pathways where racial/ethnic bias may affect the clinical treatments that
     patients ultimately receive, ranging from stereotypes regarding pain thresholds of
     racial/ethnic minorities and their counterparts to different expectations regarding whether
     and how quickly pain resolution should be achieved. In addition, more systemic barriers
     contribute to the high rate of injuries and deaths from opioids among African Americans and
     AIAN’s in some communities, ranging from housing to education to health care access, and
     thus just as with other racial and ethnic disparities in care, these are important to consider and
     address as interventions are designed to focus around prevention, treatment and
     recovery.445,446

164. It is true that nationally, the mortality rate from opioids among African Americans has been
     lower than that of White Americans.447 For example, in 2016, the national rate of fatal opioid
     overdose was 17.5 per 100K among non-Hispanic whites as compared with 10.3 among non-
     Hispanic blacks. However, in some states, African Americans are dying at higher rates than
     their counterparts.448 In Ohio, while 2017 overdoses were greatest among non-Hispanic whites
     (42.8), even among non-Hispanic blacks overdoses were alarmingly above the national rate
     (33.3).449 Because of their historic marginalization, the impact of the opioid epidemic on
     African Americans within Cuyahoga and Summit Counties and other communities should be
     explicitly considered while designing interventions focused to support prevention, treatment
     and recovery. For example, policies that differentiate or focus on supporting those with
     prescription opioid addiction while instituting punitive approaches against those who use
     heroin or illicit fentanyl may disenfranchise African Americans, just as different criminal
     penalties for crack and powdered cocaine did in the 1980’s and 1990’s.450



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165. Mortality from drug overdoses of any kind among AIAN’s is also disproportionately high. For
     example, between 1999 and 2010, AIAN populations had a mortality rate of 17.1 per 100,000
     compared to 16.6 in white, non-Hispanic populations and 8.9 in black, non-Hispanic
     populations and 5.5 in Hispanic populations.451 That renders their mortality from drug-induced
     deaths the highest of any ethnic group in the United States. From 1999-2015, AIANs also
     experienced the largest percentage change increase in the number of deaths over time, up
     to 519% in nonmetropolitan areas.452

166. In 2016, the national rate of fatal opioid overdose was 13.9 per 100K for non-Hispanic AIAN.453
     Furthermore, SAMSHA's Tribal Technical Advisory Committee notes that determining
     universal rates and risks of substances misuse is challenging due to the diversity and
     geographical dispersion of AIAN population, resulting in varied estimates across different
     regions and tribes. For example, for the states of Idaho, Oregon, and Washington, the
     Northwest Portland Area Indian Health Board reported that from 2006 to 2012, of drug
     overdose deaths, 65.3% of AIAN deaths were from prescription drugs, and of those, 77.2%
     were from opioids.454 AIAN adolescents have also been affected quite heavily, with estimated
     2012 rates of non-medical use of prescription opioids twice as high as that of non-Hispanic
     whites and three times as high as that of African Americans.455 Furthermore, though most
     (71%) AIAN populations live in rural, urban and suburban areas,456 only ~2% of IHS funding is
     used to support urban Indian health clinics.457 As with African Americans and as noted in
     Paragraph #163, AIAN populations are also more vulnerable to risk factors that increase the
     risk of both OUD as well as mortality, such as poverty, unemployment and alcoholism.458

167. Not only has the opioid epidemic resulted in high morbidity and mortality among AIAN
     populations, but it also has affected tribal communities in unique ways. For example, such
     communities face persistent funding challenges, and community members are inhibited from
     seeking services due to geographic distances and staffing concerns.459 Further, Western
     treatment programs, including MOUD, may be incongruent with traditional healing practices,
     beliefs and ideas,460 and specialty services and types of medical care that are not available at
     a given facility are often purchased from the private sector through a contract health service
     (CHS) program, which applies a stringent eligibility criteria to determine which patients qualify
     for CHS funding.461 Efforts to alleviate the crisis are underway, with the IHS’ implementation
     of the RPMS Report and Information Processor (RRIP) program462 to monitor opioid
     prescribing, as well as initiatives for provider education and increased accessibility to
     naloxone and medication-assisted treatment in partnership with the Bureau of Indian
     Affairs.463 However, in many AIAN communities, greater resources to support a more
     comprehensive and sustained abatement program are urgently needed.464

168. While AIAN are important to consider in many parts of the United States, they are not heavily
     represented in Cuyahoga and Summit Counties. For example, Cuyahoga County is 30.5%
     African American and 0.3% Native American, while Summit County is 15.0% African American
     and 0.2% AIAN.465 In addition, the State of Ohio does not have any federally or state
     recognized tribes.466 Thus, while there are many parts of the United States where tribal


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     communities are essential to consider as a special population with respect to opioid
     abatement, in Cuyahoga and Summit Counties, African Americans are much more prevalent
     and impacted.

169. Because of this, as abatement remedies are developed in Cuyahoga and Summit Counties, it
     is important to consider how they can be deployed so as to equally serve African Americans
     as their counterparts. This includes assessing whether and how, at least inadvertently,
     remedies may further marginalize or stigmatize African Americans with opioid misuse or OUD.
     For example, if non-African Americans with OUD are predominantly treated with
     buprenorphine while African Americans are predominantly treated with methadone, a
     program that expands buprenorphine at the expense of methadone could inadvertently
     widen racial and ethnic disparities in MOUD uptake. Similar considerations should be given
     to other abatement remedies as they are designed, deployed and evaluated, ranging from
     media campaigns (e.g., “Is messaging designed so as to appeal to African American
     communities impacted by the epidemic?”) to interventions within the criminal justice system
     (e.g., “Are drug courts being used in ways that equitably support opportunities for societal
     integration of all individuals regardless of their race or ethnicity?”).


CATEORY 3F. INDIVIDUALS WITH OPIOID MISUSE
This abatement remedy focuses on individuals who misuse opioids. This category is important
because there are millions of Americans who engage in such misuse, and they are at elevated risk
for a number of harms from opioids, including the development of opioid use disorder and
overdose death.

170. Opioid misuse is defined by the National Institute on Drug Abuse (NIDA) as “taking a
     medication in a manner or dose other than prescribed; taking someone else’s prescription,
     even if for a legitimate medical complaint such as pain; or taking a medication to feel euphoria
     (i.e., to get high)”.467 In contrast to opioid use disorder, which has formal diagnostic criteria
     according to the Diagnostic and Statistical Manual of Mental Disorders, 5th Edition (DSM-5),
     opioid misuse is more common and encompasses a broader continuum of behaviors. It is
     important to identify individuals with opioid misuse because they are at increased risk of
     opioid-related adverse events.

171. An estimated 11.4 million Americans, or 4.2% of the total population, reported misuse of
     prescription opioids or heroin during the past year based on 2017 data derived from the
     National Survey of Drug Use and Health (NSDUH).468 While this represents a modest decline
     from 2015, during which 12.7 million people were estimated to have engaged in past year
     opioid misuse, the numbers nevertheless remain staggering. Of these 11.4 million individuals,
     97.2% engaged in past year misuse of prescription opioids, while 7.8% engaged in misuse of
     heroin and 4.9% engaged in misuse of both prescription opioids and heroin. Among adults
     who misused opioids in 2015 who did not have an OUD, approximately two-thirds of cases
     reported the reason for such misuse was the relief of pain, highlighting the overlap of chronic




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      pain with non-medical opioid use as well as the opportunities to address both simultaneously
      through well-designed abatement remedies.469

172. As many as one-third of individuals misusing opioids report that the source of their opioids
     was a single prescriber,470 an indication that the health care system, including high prescribing
     clinicians, continues to play a role in fostering the epidemic.36 By contrast, more than one-
     half of those misusing opioids report their source as a friend or relative, a reminder of the
     continued diversion of opioids that also commonly occurs, although here too, the most
     common source of opioids among these friends or family members remains a licensed
     prescriber.471 The large oversupply of opioids in these settings supports the use of
     interventions such as prescription “caps” that states and some payers are increasingly using
     to reduce the volume of opioids prescribed for short-term use,472 as do several studies
     indicating that the likelihood of an individual converting to chronic opioid use is significantly
     greater among individuals receiving greater doses or durations of opioids on their first
     fills.473,474,475

173. In contrast to patients who are using opioids fully as directed under the care of a licensed
     prescriber, which still poses unacceptably high risks in many patients currently receiving them,
     patients with opioid misuse should be identified and targeted for early intervention so as to
     avert their potential transition to opioid use disorder or overdose. Methods to identify and
     address these patients include both the routine clinical use of prescription drug monitoring
     program (PDMP) data and clinical interviewing. Clinical interviewing is useful not only to
     screen for potential misuse but also to explore motivations for such and to address underlying
     issues, including sub-optimally treated pain, depression or other behavioral health factors
     that may be driving such behavior. Once identified, such patients should receive more
     intensive clinical monitoring, psychosocial interventions, pain management, and in some
     cases, transition to partial opioid agonists such as tramadol.

174. Any abatement program in Cuyahoga and Summit Counties should include resources
     devoted to addressing the substantial minority of individuals who misuse opioids. Clinicians
     should be trained to routinely evaluate patients for such practices, OARRS data should be
     increasingly integrated within health systems and electronic medical records, and
     interventions should be deployed to decrease the volume of opioids prescribed, which in turn
     will decrease the incidence of misuse. Once opioid misuse has been identified, greater
     clinical resources should be devoted both to addressing opioid misuse directly as well as
     evaluating and treating potential contributory factors ranging from comorbid social stressors
     or mental illness to untreated or undertreated chronic pain syndromes.




 36
   By contrast, 1.5% of those with opioid misuse report their source as from more than one doctor, again
 attesting to the relatively small contribution opioid shoppers make to the epidemic (see Paragraph #33).


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ESTIMATING NATIONAL COSTS OF ABATEMENT

175. As I note in Paragraph #20, in addition to human suffering and loss of life, addressing the
     opioid epidemic will require significant economic investments. While the exact costs of
     abatement are difficult to estimate, and will depend upon the population requiring services
     and the programs in existence in each jurisdiction, it is possible to estimate the cost,
     nationally, of the efforts required to reduce further harms. These costs can then be "mapped"
     into Cuyahoga and Summit counties, based upon existing needs and resources. Estimating
     abatement costs can also help to identify how the need for investments may vary based on
     how the epidemic evolves.37

176. I performed preliminary analyses of the national costs of fifteen types of remedies (Table).38
     My goal was not to identify the precise costs of any given category, but rather to develop an
     initial estimate from which costs specific to Cuyahoga and Summit County can be developed
     based on this Court's findings with regard to the nuisance in these jurisdictions.




177. My general approach consisted of four steps:
        1) First, I identified the potential components for each category, estimated the unit costs
           based on published literature, primary data sources and budgets of existing programs
           (e.g. per diem, per patient, etc.);
        2) Second, I applied assumptions for a “ramp-up” period and the inclusion of indirect
           costs, such as infrastructure that will be required for treatment expansion in some
           communities;

 37
    For example, required investments in treatment for opioid use disorder will depend upon the population
 of individuals with OUD over time, which in turn may be affected by whether or not the oversupply of
 opioids can be effectively diminished.
 38
    While many communities will ultimately need to develop local estimates, these national estimates may
 nevertheless be of interest both with respect to methodology as well as the estimates derived.


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         3) Third, I modeled costs for ten years (2019-2028) with inflation, without a discount rate
            on the expectation that money would be paid out over time;
         4) Finally, I applied unit costs to a “target” population based on: (1) the current baseline
            population of affected individuals; and (2) estimated changes in the relevant
            population over time.39 I derived these populations from the economic model
            (“Markov model”) described in Paragraph #13.

178. For example, to calculate the ten-year treatment costs for OUD, which represented the largest
     abatement category, I derived estimates of the cost of MOUD from published cost-
     effectiveness analyses476,477 and the National Average Drug Acquisition Cost478, estimated
     infrastructure costs from the published literature479,480, assumed an equal mix of the three FDA-
     approved products as a base case40, and incorporated provider treatment costs, also from the
     peer-reviewed literature. Estimates of the population of individuals with OUD requiring such
     treatments over ten years were derived from the Markov model, and multiplied by the
     estimated treatment costs.41

179. For some categories, specific costs will depend upon decisions made by the Court or its
     designees, local policy-makers and service providers based on the mix of products and
     services used in the Counties and the manner in which those products and services are
     procured. In just one area, for example, the cost of naloxone will depend upon:
          • the most likely use of different formulations (e.g. Narcan® vs Evzio®)
          • how future product innovation will affect their prices
          • whether there are other distribution channels beyond those proposed in Paragraph
          #112
          • whether discounts are available to the purchaser
          • how future changes in the opioid epidemic will impact the need for naloxone.

180. Ultimately, detailed assessments of the specific costs within Cuyahoga and Summit Counties
     will be required, and there are a number of limitations in extrapolating from national estimates
     to specific localities. Nevertheless, using 2017 opioid overdoses as one proxy for global
     abatement needs from the epidemic, these counties accounted for approximately 1.50% of
     national overdose deaths481 (524 opioid deaths in Cuyahoga County and 190 deaths in Summit
     County/47,600 national opioid overdose deaths482), which would represent approximately
     $6.34 billion dollars of the total figure depicted in the Table over ten years (1.50% X $422.5
     billion).

 39
    Some of the interventions (e.g., mass media campaign, surveillance) were applied against a constant
 population, assuming that no reduction in these investments would occur over the observation period,
 although sensitivity analyses modifying these assumptions can be performed.
 40
    Data on MOUD suggests such an assumption substantially overestimates naltrexone and underestimates
 buprenorphine use, changes that the model can easily accommodate.
 41
    Note that while these estimates included the costs of MOUD for pregnant women with OUD as well as
 for those needing treatment within the criminal justice system, the costs did not incorporate the additional
 health care costs of those with OUD who are not on stable MOUD, which could substantially increase the
 estimated costs of this category.


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181. My analyses do not address how abatement costs should be shared across different parties.
     In addition, some (e.g., “Medication Assisted Treatment”), but not all, of my estimates
     exclude costs arising from individuals with heroin use disorders without prior prescription
     opioid use. These national estimates may be useful as local communities, including Cuyahoga
     and Summit Counties, map the resources they have committed or available, as well as
     estimate future costs of their own abatement programs. For example, my model inputs,
     structure and outputs may all be useful for communities to consider and compare against
     their own, when available. While the costs depicted in the Table are considerable, they
     remain a fraction of the costs of the epidemic, and as discussed in Paragraph #93, the
     individual and societal return on investment for interventions such as treatment for OUD is
     clear.

POTENTIAL OBJECTIONS TO PROPOSED ABATEMENT REMEDIES
There is remarkable consensus among public health experts regarding the abatement remedies
outlined above, because they rest upon a large evidence-base, and thus action can be informed
by evidence.42 Nevertheless, some might object to one or more of the proposed remedies on a
number of grounds.43

182. Enough is already being done. One argument is that there is already an enormous amount
     of effort being devoted to the epidemic, as well as some signs that things are “turning
     around”. For example, prescription opioid volume continues to decline, there have been
     large reductions in overdoses in some communities, there are open treatment beds in others,
     and national awareness of the gravity of the epidemic is growing. While such arguments might
     have some appeal, they overlook the complexity of the epidemic, continued evidence of
     grave harms and the fact that investments made thus far reflect a small fraction of the
     epidemic’s societal costs. For example, despite declines in opioid sales, prescribing rates
     remain far above pre-epidemic baselines. Similarly, while overdoses have declined in some
     communities, in others they remain higher than ever before, and there is no indication that
     flow of fentanyl into the country has been stopped. As noted in Paragraph #86 and elsewhere
     herein, there are vast gaps that remain in the treatment system, and many of the most
     damaging consequences of the epidemic, such as its effects on children, families and those
     with active addiction or a history of OUD, will endure for generations.

183. Further research is needed. Theoretically, it would be of interest to have randomized
     experiments assessing the effectiveness, and comparative effectiveness, of different
     interventions to reduce opioid-related morbidity and mortality. However, such investigations
     are impractical, and often, unethical as well.483 As a result, policy-makers and other

 42
    As noted in Paragraph #118, some policy-makers have sounded alarm regarding harm reduction
 approaches and supported more punitive enforcement policies, but there is little to no debate among
 public health experts regarding these matters, and any disagreement is dwarfed by the amount of scientific
 consensus regarding broad approaches to prevention, treatment and recovery as outlined above.
 43
    Yet an additional objection, that the primary problem is one of heroin and illicit fentanyl, not prescription
 opioids, is addressed in Paragraph #34.


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      stakeholders must rely upon observational evidence that is prone to shortcomings. For
      example, the effect of an intervention such as a naloxone law may be delayed, obfuscated by
      other contemporaneous policy changes, or associated with unintended effects that diminish
      its ultimate welfare impact. These challenges underscore the importance of continued study
      by clinicians and public health experts, as well as investments such as the National Institutes
      of Health HEAL Initiative.484 While it will always be the case that “further research is needed”,
      particularly regarding some abatement approaches, there is already a large amount of
      information about many facets of the epidemic, and, as already noted, “the cost of doing
      nothing is not nothing”.485 For example, there is unequivocal evidence of the benefits of
      treatment with MOUD, as of enormous gaps in its accessibility and provision for individuals
      with opioid use disorder. This overwhelming evidence explains the strong scientific
      consensus regarding the importance of expanding the treatment system, as well as many of
      the other abatement remedies discussed herein.

184. There may be unintended consequences. As noted in Paragraph #29 and Paragraph #34,
     concern has been raised regarding potential unintended consequences of efforts to address
     the epidemic, especially “supply-sided” interventions such as clinical guidelines that may
     reduce the volume of opioids used in clinical practice. It is theoretically possible that
     reductions in opioid prescribing may pose a burden on individuals in whom opioids are
     clinically appropriate, and thus the importance of multifaceted approaches to diminish this
     likelihood, including: investments in pain research; continued evidence generation and
     synthesis such as the activities undertaken by the CDC and professional societies, provider
     and patient education; insurance coverage and benefit redesign; and surveillance. Similarly,
     while arguments that constraining opioid oversupply “just pushes people to heroin” are over
     simplified,44 such concerns underscore the urgency of expansions in the treatment system to
     accompany supply-sided interventions reducing the flow of people from the general
     population into opioid use disorder.

185. We shouldn’t reward bad behavior. Variations on this argument include that people who are
     “running into trouble” should know better, or more abhorrently still, “three strikes and you
     are out”.45 These approaches to managing the opioid epidemic blame the victims and reflect
     classic stigmatizing language grounded in erroneous beliefs regarding the nature of
     addiction. No one chooses addiction any more than one chooses to have colon cancer or
     multiple sclerosis.486 Such language overlooks this and conflates abuse, which is a behavior,
     with addiction, which is a disease. It also is hard to reconcile with the fact that, as established
     in the expert report by Katherine Keyes, the majority of individuals with opioid use disorder
     developed it through receipt of opioids from the health care system. It is precisely this type


 44
    There is not a zero-sum game between reducing prescription opioid oversupply and increasing heroin
 use. For example, see Compton WM, Jones CM, Baldwin GT. Relationship between Nonmedical
 Prescription-Opioid Use and Heroin Use. N Engl J Med. 2016;374:154-63.
 45
    Such an argument was proposed by a city council member in a small town in Ohio, who argued that the
 use of Emergency Medical Services should be restricted among people who utilize such services for
 multiple opioid overdoses.


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      of language, and persistent stereotypes regarding the nature of opioid dependence, misuse
      and addiction, that have slowed progress in addressing the epidemic over two decades, and
      that should be aggressively rebutted head-on as part of campaigns to educate the general
      public and health care providers regarding the nature of the epidemic.

186. MOUD isn’t that effective and it is diverted. In fact, there is a substantial body of evidence
     regarding the effectiveness of treatments such as buprenorphine and methadone in retaining
     people in treatment, reducing illicit drug use, decreasing criminal activity and preventing
     overdose death.487,488 It is true that relapse among people with OUD is not uncommon, just as
     is the case with cancer, depression and many other chronic diseases. Similarly, while
     treatment failures occur with MOUD, the empiric response rate to many medicines (e.g., anti-
     depressants) is low, but this does not obviate their potential clinical and public health value.
     An overwhelming amount of evidence indicates that MOUD can significantly decrease
     mortality and other undesirable outcomes, a reduction that could be seldom matched by
     treatments for many other chronic diseases. Nonetheless, diversion of MOUD remains a
     concern, and underscores the importance of greater, rather than fewer, investments in the
     treatment system to enhance the comprehensiveness and continuity of individuals seeking
     care for addiction.46


CONCLUSION

187. The opioid epidemic is the worst drug epidemic in our nation’s history, and it has been driven
     by large increases in the oversupply of prescription opioids for the treatment of pain. While
     all measures of the epidemic, from prescription opioid sales to rates of addiction to overdose
     deaths, remain at alarming levels, there is increasing recognition of the magnitude of the
     harms that have accrued, and remarkable scientific and public health consensus regarding
     what needs to be done. The abatement remedies described herein represent evidence-
     based and evidence-informed approaches that many communities have already begun to
     undertake with varying degrees of coordination and scale, and they are highly aligned with
     the three principles described at the outset of this report: (1) informing action with evidence;
     (2) intervening comprehensively; and (3) improving the care of those with pain. There is no
     single template for how these interventions should be combined and deployed in
     communities across the country, although their impact will be greatest when based on a
     comprehensive needs assessment as proposed herein for Cuyahoga and Summit Counties.
     As the citizens and leaders of those counties know all too well, there is not a moment to lose.




 46
   The use of directly observed therapy (DOT) to deliver methadone, and provider administered
 buprenorphine formulations, are both additional means of reducing potential MOUD diversion.


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Risk of Long-Term Use. N Engl J Med. 2017;376:663-673.

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   Shah A, Hayes CJ, Martin BC. Characteristics of initial prescription episodes and likelihood of
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Health and Medicine Division; Board on Health Sciences Policy; Committee on Pain
Management and Regulatory Strategies to Address Prescription Opioid Abuse; Phillips JK, Ford
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                                                                                          February 2019
                                       CURRICULUM VITAE
                                      G. Caleb Alexander, MD, MS

PERSONAL DATA
  Business Address
  Johns Hopkins School of Public Health
  Center for Drug Safety and Effectiveness
  Department of Epidemiology
  615 N. Wolfe Street W6035
  Baltimore, MD 21205
  Phone: 410 955 8168
  Fax: 410 955 0863
  Email: galexand@jhsph.edu

  Clinical Address
  Johns Hopkins at Green Spring Station
  10753 Falls Road Suite 325
  Lutherville, MD 21093
  Clinic Phone: 410 583 2926
  Clinic Fax: 410 583 2883

EDUCATION AND TRAINING
  1988-1990          Candidate for BA, Oberlin College
  1991-1993          University of Pennsylvania, BA (Philosophy)
  1994-1998          Case Western Reserve University, MD
  1998-1999          Intern, Internal Medicine, University of Pennsylvania
  1999-2001          Resident, Internal Medicine, University of Pennsylvania
  2001-2003          Robert Wood Johnson Clinical Scholar, University of Chicago
  2002-2003          University of Chicago, Department of Health Studies, MS

  Medical Licensure
  Drug Enforcement Agency Controlled Substance Licensure, through 6/30/21
  Maryland Physician and Controlled Substance License, through 6/30/18


  Medical Board Certification
  American Board of Internal Medicine, through 2021


PROFESSIONAL EXPERIENCE
  2014-              Affiliate Faculty, Center for Health Services and Outcomes Research (CHSOR), Johns
                     Hopkins University
  2012-              Associate Professor of Epidemiology and Medicine, Johns Hopkins Bloomberg
                     School of Public Health



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   2012-             Founding Co-Director, Johns Hopkins Center for Drug Safety and Effectiveness
   2011-2012         Associate Professor, Division of General Medicine, University of Chicago
   2007-2012         Affiliate Faculty, Center for Interdisciplinary Health Disparities Research (CIHDR),
                     University of Chicago
   2005-             Adjunct Research Associate, Department of Pharmacy Practice, University of Illinois at
                     Chicago School of Pharmacy
   2005-2011         Assistant Professor, Division of General Medicine, University of Chicago
   2003-2005         Instructor, Division of General Medicine, University of Chicago
   2003-2006         Affiliate Faculty, Robert Wood Johnson Clinical Scholars Program
   2003-2012         Affiliate Faculty, MacLean Center for Clinical Medical Ethics
   2001-2003         Off-tour Attending Physician, Veterans Affairs Hospital, Hines, Illinois

PROFESSIONAL ACTIVITIES
Society Membership and Leadership
   1998-2001         Philadelphia County Medical Society
   1998-2009         American Medical Association
   1998-             Physicians for Social Responsibility
   1998-             Alpha Omega Alpha Medical Honors Society
   2000-             Society for General Internal Medicine
   2000-             American College of Physicians
   2003-2009         American Society of Bioethics and Humanities
   2006-2007         Chair, Program Committee, RWJ Faculty Scholars National Meeting
   2006              Member, Program Committee, RWJ Faculty Scholars National Meeting
   2007-             International Society for Pharmacoeconomics and Outcomes Research (ISPOR)
   2008              Selection Committee, Midcareer Research Mentorship Award, SGIM
   2009-             International Society for Pharmacoepidemiology (ISPE)

Non-Commercial Advisory Boards
   2000-2003        Transplant Task Force, End Stage Renal Disease Renal Network #9/#10
   2005             American Society of Bioethics and Humanities President’s Advisory Committee on
                    Ethics Standards
   2007-2011        Cost of Cancer Care Task Force, American Society of Clinical Oncology
   2008-2016        Charter Member, IMS Health Services Research Network
   2010-2014        FDA, Drug Safety and Risk Management Advisory Committees, Ad Hoc Member
                     October 2010 Cardiovascular and Renal Committee (Darbapoeitin)
                     October 2012 Endocrinologic and Metabolic Committee (lomitapide/mipomersen)
                     July 2013 Arthritis Committee (Criteria for axial spondyloarthritis)
                     November 2013 Peripheral & Central Nervous System Committee (Alemtuzumab)
                     May 2014 Public Meeting (Post Marketing Requirements for Opioid Analgesics)
                     July 2015 Bone, Reproductive and Urologic Drugs Committee (Flibanserin)
                     December 2015 Pulmonary & Allergy Drugs Committee (Cough Syrup/Codeine)
                     October 2016 Bone, Reproductive and Urologic Drugs Committee (desmopressin)
                     November 2017 Psychopharmacologic Drugs Advisory Committee (buprenorphine)
   6/2014-          Chairman, FDA Peripheral and Central Nervous System Drugs Advisory Committee
                     November 2015 Peripheral & Central Nervous System Committee (Drisapersen)
                     April 2016 Peripheral & Central Nervous System Committee (Eterplirsen)
                     April 2018 Peripheral & Central Nervous System Committee (Cannabidiol)
   8/2015-7/2018    Center of Excellence for Comparative Effectiveness, University of Illinois at Chicago

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   2015-2017             Legal Science, LLC, contract through National Institutes of Drug Abuse to develop
                         Prescription Drug Abuse Policy System
   2016-                 Scientific Advisory Board, Media Policy Center, Santa Monica, California
   2/2016                Facilitator, Prioritizing Comparative Effectiveness Research Questions for Preventing
                         Opioid Misuse in the Management of Pain: A Stakeholder Workshop (PCORI)

Commercial Advisory Boards
  1/2007-           IQVIA Institute for Healthcare Informatics
  1/2014-6/2016     PainNavigator, LLC, Minneapolis, Minnesota
  10/2015-          Delta Faucet Company, Indianapolis, Indiana
  7/2016-6/2018     MesaRx Innovations, New York, New York
  1/2017-           OptumRX National P&T Committee

Other Commercialization Activity
   8/2017-          Co-Founder, Monument Analytics, A Health Care Consultancy

Testimony and Briefings
   2012              Food and Drug Administration (Drug Labeling for Prescription Opioids)
   2015              U.S. Senate Veterans' Affairs Committee (Prescription Opioids)
   2016              Centers for Disease Control and Prevention (Prescription Opioids)
   2016              Committee on Health and Government Operations, Maryland House of Delegates
                     (Prescription Drug Monitoring Programs)
   2016              Food and Drug Administration (Prescription Opioids)
   2016              National Academy of Sciences, Institute of Medicine (Regulation of Opioids)
   2017              Senate Finance Committee, Maryland House of Delegates (Prescription Drug Pricing)
   2017              U.S. House of Representatives, Congressional Oversight Committee (Opioid Epidemic)
   2018              Briefing for U.S. Senate Staff Hosted by Senator Ben Cardin (Opioid Epidemic)
   2018              National Academy of Science, Engineering and Medicine (Opioid Epidemic)
   2019              Maryland House of Delegates (Prescription Drug Monitoring Program)

EDITORIAL ACTIVITIES
Peer Review Activities
Ad hoc reviewer – Journals
American Journal of Kidney Diseases                         Health Services Research
American Journal of Managed Care                            Hypertension
American Journal of Medicine                                International Journal of Quality Improvement
American Journal of Preventive Medicine                     JAMA
American Journal of Public Health                           Journal of American College Health
Annals of Internal Medicine                                 Journal of the American Pharmacists Association
Archives of Internal Medicine                               Journal of the American Society of Nephrology
BioMed Central (BMC) Gastroenterology                       Journal of Clinical Ethics
BioMed Central (BMC) Infectious Diseases                    Journal of General Internal Medicine
British Journal of Cancer                                   Journal of Rural Health
British Medical Journal                                     Medical Care
Canadian Medical Association Journal                        Medical Decision Making
Clinical Therapeutics                                       Milbank Quarterly
CNS Drugs                                                   New England Journal of Medicine
Disease Management and Health Outcomes                      PharmacoEconomics
Drugs                                                       Pharmacoepidemiology and Drug Safety
Health Affairs                                              Social Science and Medicine
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Editorial Board Memberships
   2007-2010        Medical Decision Making, Deputy Editor
   2008-2012        Journal of General Internal Medicine, Deputy Editor
   2008-2010        Society of General Internal Medicine Forum, Associate Editor
   2010-2011        BMC Health Services Research, Associate Editor
   2012-2014        Journal of the American Pharmacists Association (JAPhA), Editorial Board
   2012-2014        Journal of General Internal Medicine, Editorial Board
   2012-            Medical Care, Deputy Editor
   2013-            Drug Safety, Editorial Board
   2014-            Drugs – Real World Outcomes, Editorial Board

Grant Reviews
   1. The Netherlands Organization for Health Research and Development (ZonMw), The Ministry of
      Health, Welfare, and Sport, The Hague, The Netherlands (2007)

   2. The University of Chicago Program for Pharmaceutical Policy (2007-2010)

   3. University of Chicago/University of Illinois at Chicago CDC Center for Health Promotion
      Economics (2007)

   4. The University of Chicago Diabetes Research and Training Center (2008).

   5. Agency for Healthcare Research and Quality, Special Emphasis Panel (R18), “Optimizing
      Prevention and Healthcare Management for the Complex Patient.” March 2008.

   6. RFA 09-003. NIH Challenge Grants in Health and Science Research (RC21). April 2009.

   7. National Institute of Aging Special Emphasis Panel (PO1). Medical Professionalism and Healthcare
      Grants. November 2009.

   8. Agency for Healthcare Research and Quality Special Emphasis Panel (R18). Comparative
      Effectiveness Delivery System Demonstration Grants. July 2010.

   9. Agency for Healthcare Research and Quality. Centers for Education and Research in Therapeutics
      (CERT) (U-19) Special Emphasis Panel. July 2011.

   10. Swiss National Science Foundation. Drug Lag in Switzerland: Does it Exist and Why? June 2012.

   11. Dutch Ministry of Health Grant Review. Optimizing the use of Over-the-Counter Medicines.
       October 2012.

   12. Qatar National Research Fund Reviewer. November 2012.

   13. Veterans Health Affairs Health Services Research and Development (HSR&D) Center of Innovation
       Review. February 2012.

   14. Ad hoc reviewer. Agency for Healthcare Research and Quality. Health Care Research Training
       (HCRT) Study Section. January 2014 – July 2015.

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   15. Ad hoc reviewer. Canadian Institutes of Health Research (CIHR). Review Committee for the Drug
       Safety and Effectiveness Network (DSEN) and the Strategy for Patient-Oriented Research (SPOR)
       Catalyst Grant: Methods in Post-Market Drug Safety and Effectiveness Research. January 2015.

   16. Study section member. Agency for Healthcare Research and Quality. Health Care Research Training
       (HCRT) Study Section. August 2015 – July 2018.

   17. Chairman. Patient Centered Outcomes Research Institute. Clinical Strategies for Managing and
       Reducing Long-Term Opioid Use for Chronic Pain Merit Review. May 2016.

   18. Chairman. Patient Centered Outcomes Research Institute. Clinical Strategies for Managing and
       Reducing Long-Term Opioid Use for Chronic Pain Merit Review. May 2017.

   19. Chairman. Patient Centered Outcomes Research Institute. Assessment of Prevention, Diagnosis, and
       Treatment Options (APDTO) Program. August 2017.


HONORS AND AWARDS
Honors
   1993              Cum Laude, University of Pennsylvania
   1997              Alpha Omega Alpha, Case Western Reserve University
   2003-2005         John A. Oremus Memorial Scholar ($40,000 Research Stipend), MacLean
                     Center for Medical Ethics, University of Chicago
   2006              Top 5% of reviewers, Medical Care (also received annually through 2011)
   2007              Top 10% of reviewers, Ann Intern Med (also received 2008, 2009, 2014)
   2011              Elected Fellow of the American College of Physicians (FACP)
   2011              Top Reviewers, Pharmacoepidemiology and Drug Safety (annually through 2014)

Awards
   2001              Edward W. Holmes Resident Research Award, University of Pennsylvania
   2006-2009         Robert Wood Johnson Foundation Faculty Scholar Career Development Award
   2007              Research Finalist, International Society for Pharmacoeconomics and Outcomes
                     Research, Annual Meeting
   2008              Outstanding Physician Scientist Award, Central Society for Clinical Research
   2008              Career development award ($10,000 Research Stipend), Central Society for Clinical
                     Research
   2008              Department of Medicine Research Award (awarded to trainee for mentored research;
                     also received by mentored trainees in 2009 and 2010)
   2009              Pritzker School of Medicine Sigma Xi Award for Impact on Science (awarded to
                     trainee for mentored research)
   2017              Americal Society of Health-System Pharmacy, Drug Therapy Research Award
                     (awarded to trainee for mentored research and cv publication #144)




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PUBLICATIONS
Peer Reviewed Journal Articles (names of trainees are underlined)
1. Szele F, Alexander GC, Chesselet MF. "Expression of molecules associated with neuronal plasticity in
   the striatum after aspiration versus thermocoagulatory lesions in the adult cortex in adult rats." Journal
   of Neuroscience. 1995;15:4429-4448. PMID: 7790918

2. Alexander GC, Fera B, Ellis R. "From the students: learning continuous improvement by doing it."
   Joint Commission Journal on Quality Improvement. 1996;22:198-205. PMID: 8664952

3. Alexander GC, Sehgal AR. Dialysis patient assessments of the quality of medical care provided by
   generalists, nephrologists and other specialists. American Journal of Kidney Disease. 1998;32:284-289.
   PMID: 9708614

4. Alexander GC, Sehgal AR. Barriers to cadaveric renal transplantation among blacks, women, and the
   poor. JAMA. 1998;280:1148-1152. PMID: 9777814
           Editorial: Milford EL. Organ transplantation--barriers, outcomes, and evolving policies. JAMA.
           1998;280:1184-1185. PMID: 9777820

5. Lewin L, Agneberg B, Alexander GC. A course in end-of-life care for third year medical students.
   Academic Medicine. 2000:57:519-520. PMID: 10824792

6. Alexander GC, Sehgal AR. Why hemodialysis patients fail to complete the transplant process.
   American Journal of Kidney Disease. 2001;37:321-328. PMID: 11157373
           Editorial: Chertow GM, Zenios SA. Gridlock on the road to kidney transplantation. American
           Journal of Kidney Disease. 2001;37:435-437. PMID: 11157389

7. Werner RM, Alexander GC, Fagerlin A, Ubel PA. The "hassle factor": How physicians respond when
   third party payers decline reimbursement for important health care services. Archives of Internal
   Medicine. 2002;162:1134-1139. PMID: 12020183

8. Alexander GC, Sehgal AS. Variation in access to kidney transplantation across dialysis facilities:
   using process of care measures for quality improvement. American Journal of Kidney Disease.
   2002;40:824-831. PMID: 12324919
           Editorial: Powe NR, Boulware LE. The uneven distribution of kidney transplants: getting at the
           root causes and improving care. American Journal of Kidney Disease. 2002;40:861-863. PMID:
           12324926

9. Alexander GC, Werner RM, Fagerlin A, Ubel PA. Public support for physician deception of insurance
   companies. Annals of Internal Medicine. 2003;138:472-475. PMID: 12639080

10. Alexander GC, Wynia MK. Ready and willing? Physicians’ sense of preparedness for bioterrorism.
    Health Affairs. September/October 2003;22:189-197. PMID: 14515895

11. Alexander GC, Casalino LP, Meltzer DO. Patient-physician communication about out-of-pocket costs.
    JAMA. 2003;290:953-958. PMID: 12928475

12. Alexander GC, Werner RM, Ubel PA. The costs of denying scarcity. Archives of Internal Medicine.
    2004;164:593-596. PMID: 15037486
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227. Novick TK, Surapeneni A, Shin JI, Alexander GC, Inker LA, Chang AR, Grams ME. Risk of Death,
     Hospitalization and Fracture Associated with Opioid Prescriptions in People With Chronic Kidney
     Disease. Under review.

228. Qato DM, Alexander GC, Guadamuz J, Choi S, Trotzky-Sirr R, Lindau ST. Access to Pharmacist-
     Prescribed and Emergency Contraception in Los Angeles County, 2017. Under review.

229. Mojtabai R, Riehm KE, Cohen JE, Alexander GC, Rutkow L. Clean indoor air laws, cigarette excise
     taxes, and smoking: United States, 2003-2011. Under review.

230. Chang HY, Kong JH, Shermock KM, Alexander GC, Weiner JP, Kharrazi H. Comparing Patient
     Prescription Fills to Clinician e-Prescriptions: Impact of Being Medication Full Initial Fillers on
     Healthcare Costs and Utilization. Under review.

231. Murimi IB, Ballreich JM, Seamans MJ, Alexander GC. Impact of U.S. Pharmacopeia Monograph
     Standards on Generic Market Entry and Prescription Drug Costs. Under review.

232. Qiao Y, Shin JI, Sang Y, Inker LA, Secora A, Coresh J, Alexander GC, Jackson J, Chang AR, Grams
     ME. Discontinuation of Angiotensin Converting Enzyme Inhibitors and Angiotensin Receptor Blockers
     in Chronic Kidney Disease. Under review.

233. Moore TJ, Heyward J, Alexander GC. Scientific Evidence Supporting Benefits of Novel Therapeutic
     Agents Approved by the US Food and Drug Administration, 2015-2017. Under review.

234. Bicket MC, Schwartz A, Hsu A, Alexander GC, Pronovost PJ, Yaster M. Opioid prescriptions for
     painful dental procedures: a cross-sectional study. Under development.

235. Murimi IB, Hammond E, Lin DH, Wang X, Nab H, Desta B, Kan H, Li T, Onasanya O, Tierce JC,
     Alexander GC. Association Between Organ Damage in Systemic Lupus Erythematosus and Mortality:
     A Systematic Review and Meta-Analysis. Under development.

236. Lin DH, Murimi IB, Lucas E, Kan H, Tierce J, Wang X, Nab H, Desta B, Alexander GC, Hammond E.
     Health Care Utilization and Costs of Systemic Lupus Erythematosus (SLE) in the United States: A
     Systematic Review. Under development.


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237. Guadamuz J, Alexander GC, Zenk SN, Qato DM. Pharmacy Closures in the United States, 2009-2015.
     Under development.

238. Baksh S, Wen J, Mansour O, Chang HY, McAdams-DeMarco M, Segal JB, Ehrhardt S, Alexander
     GC. Dipeptidyl Peptidase-4 Inhibitor Use and Cardiovascular Events in High-Risk Patients with
     Diabetes: A Retrospective Cohort Study. Under development.

239. Baksh S, Segal JB, McAdams-DeMarco M, Kalyani RR, Alexander GC, Ehrhardt S. Dipeptidyl
     Peptidase-4 Inhibitor Use and Cardiovascular Events in Low-Risk Patients with Diabetes: A
     Retrospective Cohort Study.

240. Guadamuz J, Alexander GC, Qato DM. Use of Prescription Medications with Risk Evaluation and
     Mitigation Strategies Among Adults in the United States, 2003-2014. Under development.

241. Li X, Anderson KM, Chang HY, Curtis J, Alexander GC. Risk of Serious Infection Among New
     Users of Interleukin-17, Interleukin 12/23 and Tumor Necrosis Factor-alpha Inhibitors for the
     Treatment of Psoriasis and Psoriatic Arthritis: A Retrospective Cohort Study. Under development.

242. Secora A, Shin JI, Qiao Y, Alexander GC, Coresh J, Grams ME. Spironolactone Use Among Patients
     with Heart Failure. Under development.

243. Li X, Andersen KM, Chang HY, Curtis JR, Alexander GC. Risk of Serious Infections Among New
     Users of Interleukin-17, Interleukin 12/23 and Tumor Necrosis Factor (TNF)-Alpha Inhibitors for the
     Treatment of Psoriasis and Psoriatic Arthritis: A Retrospective Cohort Study. Under development.

Articles and Editorials not peer reviewed (names of trainees are underlined)
1. Alexander GC. "On Remaining Human." Becoming Doctors. Student Doctors Press, La Grange Park,
   IL: pp 226-228, 1995 (essay).

2. Alexander GC, Weiss A, George S. "Virtual Medical School." The New Physician. Oct 1996: 16-17
   (manuscript).

3. Alexander GC. Course Guide – Caring for Patients Near the End-of-Life. Case Western Reserve
   University - School of Medicine, 1997;1-88 (curriculum).

4. Alexander GC, Weiss A. Providing laptops to promote computer use: lessons learned. Academic
   Medicine. 1998;73:224-225 (letter).

5. Alexander GC. Patient care and student education. Virtual Mentor: Ethics Journal of the American
   Medical Association. Available at: http://www.ama-assn.org/ama/pub/category/7678.html Accessed
   April 26, 2002 (invited commentary).

6. Alexander GC, Kwiatkowski C. Diagnosing and managing adverse drug events in hospitalized patients.
   Topics in Drug Therapy (University of Chicago). 2003;45:1-8. (manuscript)

7. Alexander GC, Casalino LP, Metlzer DO. Factors in studying patient-physician communication.
   JAMA. 2003;290:2544. (letter)

8. Alexander GC. Prescriptions of sleep. Canadian Family Physician. 2004;50:543-545. (essay)

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9. Alexander GC. Unnecessary tests and ethics of quality of care. Virtual Mentor: Ethics Journal of the
   American Medical Association. Available at: http://www.ama-assn.org/ama/pub/category/12470.html
   Accessed June 2, 2004. (invited commentary)

10. Sayla M, Alexander GC. An annotated bibliography exploring prescription cost-sharing. Prepared for
    the national meeting of the Society of General Internal Medicine. June, 2005. (annotated bibliography)

11. Alexander GC. Issue brief: Many physicians engaged in addressing health disparities. Developed on
    behalf of the Commission to End Health Disparities, April 2005. (issue brief)

12. Alexander GC. Geographic barriers and access to care. Virtual Mentor: Ethics Journal of the American
    Medical Association. 2005;7. Available at:
    http://www.ama-assn.org/ama/pub/category/15218.html Accessed July 5, 2005. (invited commentary).

13. Alexander GC. A crash course? What happens when a patient’s medical and economic best interests
    collide? Virtual Mentor: Ethics Journal of the American Medical Association. 2006;8:147-149.
    Available at: http://www.ama-assn.org/ama/pub/category/15954.html Accessed March 1, 2006. (invited
    commentary)

14. Smith PJ, Alexander GC, Siegler M. Should editorials in peer-reviewed journals be signed? Chest.
    2006;129:1395-1396. (invited editorial)

15. Alexander GC, Lantos JD. Bioterrorism, public service, and the duty to treat. Cambridge Quarterly.
    2006;15:422-423. (invited commentary)

16. Torke AM, Alexander GC. Can healers have private lives? Virtual Mentor: Ethics Journal of the
    American Medical Association. 2006;8:441-448. Available at: http://www.ama-
    assn.org/ama/pub/category/16375.html Accessed July 26, 2006. (invited commentary)

17. Alexander GC, Lantos J. The nuances of self-disclosure. Response to: “Physician self-disclosure in
    primary care visits: enough about you, what about me?” Arch Intern Med. 2008;168:242-244. (letter)

18. Torke A, Alexander GC, Lantos J, Siegler M. Response to letter regarding “The doctor-surrogate
    relationship.” Archives of Internal Medicine. 2008;168:241-242. (letter)

19. Alexander GC. Dilemmas for a reason. Journal of Clinical Ethics. 2008;19:70-71. (invited
    commentary)

20. Lale A, Alexander GC. The Urban Health Initiative: a story of one academic medical center and the
    underserved. SGIM Forum. December 2008. (invited editorial)

21. Torke AM, Alexander GC, Lantos J. Substituted judgment. Journal of General Internal Medicine.
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22. Saunders M, Alexander GC. Turning and churning: loss of health insurance among adults in Medicaid.
    Journal of General Internal Medicine. 2009;24:133-4. (invited editorial)

23. Walton SM, Schumock GT, Lee KV, Alexander GC, Meltzer D, Stafford RS. Importance of
    distinguishing supported and unsupported off-label use. Archives of Internal Medicine. 2010;170:657-
    658. (Letter to editor, reply)
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24. Qato DM, Alexander GC. Response to: Hartung DM, Evans D, Haxby DG, Kraemer DF, Andeen G,
    Fagnan LJ. Effect of Drug Sample Removal on Prescribing in a Family Practice Clinic Ann Fam Med
    2010 8:402-409. (letter to editor, reply)

25. Alexander GC. Clinical prescribing (and off-label use) in a second-best world. Medical care.
    2010;48:285-287. (invited editorial)

26. Health IQ:2011. The Frontiers of Healthcare Advancement. IMS Institute for Healthcare Informatics.
    Diffusion of Innovation: Patterns and Effects. (Invited Chapter).

27. Alexander GC. Researcher’s Corner: Talk Early and Often. SGIM Forum. 2011;34:5.

28. Dusetzina S, Alexander GC. Drug vs. Class-Specific Black Box Warnings: Does One Bad Drug Spoil
    the Bunch? Journal of General Internal Medicine. 2011;26:570-572. (invited editorial)

29. Alexander GC. Seeding trials and the subordination of science. Arch Intern Med. 2011;171:1107-
    1108. (invited editorial)

30. deSouza JA, Alexander GC. Unsupported off-label use of cancer therapies: new challenges in the era
    of biopharmaceuticals. Expert Review of Pharmacoeconomics & Outcomes Research. 2011;11:495-
    498. (invited editorial)

31. Qato DM, Alexander GC. Just Because It’s Low Cost Doesn’t Mean It’s Accessible. Journal of
    General Internal Medicine. 2012;27:1233-1234. (invited editorial)

32. Tan J, Alexander GC, Segal JB. Academic Centers Play a Vital Role in the Study of Drug Safety and
    Effectiveness. Clin Ther. 2013;35:380-384. (invited editorial)

33. Alexander GC. Curious Conundrums of Off-label Prescribing. PM&R. 2013;5:882-889. (invited
    editorial)

34. Fain K, Alexander GC. Are FDA Prescription Drug Safety Plans Working: A Case Study of
    Isotretinoin. Pharmacoepidemiology and Drug Safety. Pending publication. (invited editorial)

35. Fain K, Alexander GC. Are FDA Prescription Drug Safety Plans Working: A Case Study of
    Isotretinoin. Pharmacoepidemiology and Drug Safety. 2014;23:440-441. (invited response to letter to
    the editor).

36. Fain K, Alexander GC. Drug Postmarketing Studies--Reply. JAMA. 2013;310:2459-2460. (invited
    response to letter to the editor)

37. Alexander GC. Capsule Commentary on Faerber and Kreling, “Content Analysis of False and
    Misleading Claims in Television Advertising for Prescription and Nonprescription Drugs”. Journal of
    General Internal Medicine. 2014;29:180. (invited commentary)

38. Fain K, Alexander GC. Mind the Gap: Understanding the Effects of Pharmaceutical Direct-to-
    Consumer Advertising. Medical Care. 2014;52:291-293. (invited editorial)



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39. Hwang CS, Alexander GC. Commentary on “Tamblyn R, Eguale T, Huang A, Winslade N, Doran P.
    The incidence and determinants of primary nonadherence with prescribed medication in primary care: a
    cohort study. Ann Intern Med. 2014;160:441-50.” Failure to Fill a First Prescription of a New
    Medication is Common in Primary Care Settings. BMJ Evidence Based
    Medicine. 2014;19:196. (invited commentary)

40. Fain K, Alexander GC. Disposing of Medicines Safely. American Journal of Public
    Health. 2014;104:e2-3. (letter to the editor)

41. Daubresse M, Fain K, Alexander GC. The Conversation. Upscheduling Hydrocodone. Pending
    publication. (invited commentary)

42. Riggs KR, Alexander GC. Cost Containment and Patient Well-Being. Journal of General Internal
    Medicine. 2015;30:701-702. (invited editorial)

43. Alexander GC, Keyes E. The Best Medicine: A Good Relationship With Your Doc. The Baltimore
    Sun. May 7, 2015. (OP-ED)

44. Lyapustina T, Alexander GC. The Prescription Opioid Epidemic: A Problem of Our Own Making. The
    Pharmaceutical Journal, 13 June 2015, Vol 294, No 7866, online | DOI:
    10.1211/PJ.2015.20068579 (invited editorial)

45. Iyer G, Alexander GC. Cardiovascular Outcomes Associated with Clarithromycin. BMJ. 2016;352:i23
    (invited editorial)

46. Dy S, Wegener S, Alexander GC, Suarez-Cuervo C, Bass E. Comparative Effectiveness of Alternative
    Strategies for Decreasing Initiation of Opioids for Managing Chronic Pain. PCORI Topic Brief. The
    Johns Hopkins Evidence Based Practice Center. February 2016.

47. Qato DM, Alexander GC. Fish Oils and Bleeding: Where Is the Evidence? – In Reply. JAMA Internal
    Medicine. 2016;176(9):1406-1407.

48. Barrett K, Lucas E, Alexander GC. How Polypharmacy Has Become a Medical Burden Worldwide.
    The Pharmaceutical Journal. June 9, 2016. Available at: http://www.pharmaceutical-journal.com

49. Murimi IB, Alexander GC. Opiate overdose as a patient safety problem [Perspective]. AHRQ PSNet
    [serial online]. May 2017. Available at: https://psnet.ahrq.gov/perspectives/perspective/225.

50. Alexander GC. In Ali AK, Hartzema AG (eds). Post-Authorization Safety Studies of Medicinal
    Products: The PASS Book. In press. (forward)

51. Qato DM, Alexander GC, Lindau ST. AAP’s Section on Integrative Medicine Suggests a More
    Balanced Approach to Dietary Supplement Data – In Reply. Pediatrics. In press.

52. Herder MR, Doshi P, Wallach JD, et al. FDA to Begin Releasing Clinical Study Reports in Pilot
    Progamme. BMJ. 2018;360:k294. (letter to the editor)

53. Mudumbai S, Stafford RS, Alexander GC. Having Surgery? Beware of Risk from Post-Op Opioids.
    USA Today. February 12, 2019. (Op-Ed)

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Monographs, book chapters and other scientific reports
1. Alexander GC, Wynia MK. Survey research in bioethics. In “Empiric Methods for Bioethics: A
   Primer.” Eds: Jacoby L, Siminoff LA. Elsevier Press, New York, New York, 2007”.

2. Quinn MT, Gnepp J, Alexander GC, Hollingsworth D, O’Connor KG, Lang W, Klayman J, Meltzer
   DO. Design and Evaluation of Worksite Promotions of Organ Donation: Real-world Challenges and
   Practical Solutions. In “Understanding organ donation: applied behavioral science perspectives.” Eds:
   Siegel JT, Alvaro EM. Blackwell/Claremont Applied Social Psychology Series. Wiley-Blackwell,
   Chichester, West Sussex, United Kingdom, 2010.

3. Saunders M, Alexander GC, Siegler M. Clinical ethics and the practice of hospital medicine. In
   “Principles and Practice of Hospital Medicine.” Eds: McKean, Ross, Dressler, Brotman, Ginsberg.
   McGraw-Hill Companies, 2012 (2nd Edition printed 2016).

4. Alexander GC, Frattaroli S, Gielen AC, eds. The Prescription Opioid Epidemic: An Evidence-Based
   Approach. Johns Hopkins Bloomberg School of Public Health, Baltimore, Maryland: 2015

5. Citizen Petition to the Food and Drug Administration (Signatory). Requesting that the Commission to
   the FDA place a black box warning on pharmaceuticals in the opioid and benzodiazepine classes
   warning patients of the potential serious risks with concomitant use of both classes of medications.
   Submitted February 22, 2016. Petition granted August 31, 2016. Petition available at:
   http://health.baltimorecity.gov/sites/default/files/Final%20Draft%20FDA%20petition-Full%20Co-
   Signers-2.19.16%20(2)%20(1).pdf (Accessed September 1, 2016).

6. Working Group Member. Transparency at the U.S. Food and Drug Administration: Recommendations
   to Support the Development of Safe and Effective Medical Products. October 2016.

7. Working Group Member. Partnership Forum: Navigating Innovations in Diabetes Care. Journal of
   Managed Care and Specialty Pharmacy. December 2016.

8. Sharfstein JM, Miller JD, Davis AL, Ross JS, McCarthy ME, Smith B, Chaudhry A, Alexander GC,
   Kesselheim AS. Blueprint for Transparency at the U.S. Food and Drug Administration:
   Recommendations to Advance the Development of Safe and Effective Medical Products. January 22,
   2017.

9. Alexander GC, Frattaroli S, Gielen AC, eds. The Opioid Epidemic: From Evidence to Impact. Johns
   Hopkins Bloomberg School of Public Health, Baltimore, Maryland: 2017.

10. Bicket MC, Alexander GC. Physician Prescribing Guidelines and Improving Opioid Stewardship. In
    “The Public Health Guide to Ending the Opioid Epidemic.” In press.

Other
Designed and hosted a web site devoted to patient education and empowerment regarding prescription costs
and polypharmacy. Previously available (2005-2012) at: http://prescriptions.bsd.uchicago.edu/




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                                     CURRICULUM VITAE
                                    G. Caleb Alexander, MD, MS

                                             PART II

TEACHING (Johns Hopkins University, 2012-present)

Graduate students (iMPH or MPH Advisor)
   Vibhuti Arya, PharmD; Academic Advisor for Part-time iMPH Program, 2012-2016
   Haley Gibbs, PharmD; Academic Advisor for Part-time iMPH Program, 2012-2015
   Ayu Katada; Academic Advisor for MPH Program (MPA/MBA Dual Degree), 2012-2014
   Etka Argawal; Academic Advisor for MPH Program in Epidemiologic and Biostatistical Methods
    for Public Health and Clinical Research, 2013-2014
   Lee Meller, MD; Academic Advisor for Part-time iMPH Program, 2013-2014
   Sharonjit Sagoo, PharmD; Academic Advisor for Part-time iMPH Program, 2015-
   Carolyn Tieu, PharmD, Academic Advisor for MPH Program, 2016-2017
   Ken Ogasawara, PhD, Academic Advisor for MPH Program, 2016-2017
   Denise Lepley, Academic Advisor for Part-time iMPH Program, 2017-2018
   Varsha Lalchandani, Academic Advisor for Part-time iMPH Program, 2018-2019
   Juan Franco, MD, Academic Advisor for Part-time iMPH Program, 2018-2019

Graduate students (MHS Advisor)
   Francine Chingcuanco; Academic Advisor for MHS Program in Cardiovascular Epidemiology, 2014-
    2016
   Geetha Ayer; Academic Advisor for ScD Program in Cardiovascular Epidemiology, 2014-2016
   Meijia Zhou; Academic Advisor for MHS Program in General Epidemiology and Methodology, 2012-
    2014
   Jeffrey Yu; Academic Advisor for MHS Program in Health Economics, 2017-2018
   Hanzhe Shang; Academic Advisor for MHS Program in General Epidemiology and Methodology,
    2017-2019

Graduate students (Capstone or Thesis Advisor)
   Ayu Katada; Academic Advisor for MPH Program (MPA/MBA Dual Degree), 2012-2014
   Jinhee Moon, MHS; Capstone Advisor for MPH Program, 2012-2013 (Outstanding Achievement
    Award)
   Steven Jones; Capstone Advisor for MPH Program, 2012-2013
   David Nartey; Capstone Advisor for MPH Program, 2012-2013
   Tatyana Lyapustina; Capstone Advisor for MPH Program (MD/MPH Dual Degree), 2014-2015
   James Goldberg; Capstone Advisor for iMPH Program, 2015-2016
   Zoya Fansler; Capstone Advisor for Part-time iMPH Program, 2015-2016
   Jeong Ah Cho; Capstone Advisor for MPH Program (MPH/MBA Dual Degree), 2016-2018
   Shengyuan (David) Luo; Thesis Co-Advisor for MHS Program, 2016-2018
   Yunwen Xu; Thesis Advisor for MHS Program, 2016-2018
   Omar Mansour; Thesis Advisor for MHS Program, 2016-2018
   Jeffrey Rollman; Capstone Advisor for MPH Program, 2017-2018
   Nune Makarova; Capstone Advisor for MPH Program, 2017-2018
   Nisha Parikh; Capstone Advisor for MPH Program, 2018-2019
   Xintong Li; Thesis Advisor for MHS Program, 2017-2019
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Graduate Students (Doctoral Advisor or Dissertation Committee Member)
   Kevin Fain, Dissertation Committee Member (DrPH/Epidemiology), 2012-2015
   Jingwen Tan, Dissertation Committee Member (PhD/Clinical Epidemiology), 2012-2016
   Shilpa Viswanathan, Dissertation Committee Member (PhD/Clinical Epidemiology), 2012-2015
   Richard Scott Swain, Dissertation Committee Member (PhD/Clinical Epidemiology), 2013-2015
   Christopher Kaufman, Dissertation Committee Member (PhD/Mental Health), 2013-2015
   Christine Buttorff, Dissertation Committee Member (PhD/Health Policy and Management), 2012-2014
   Remingon Nevin, Dissertation Committee Member (PhD/Mental Health), 2014-2017
   Mariana Socal, Dissertation Committee Member (PhD/Mental Health), 2014-2017
   Lisa Selker, Dissertation Committee Member (PhD/University of North Carolina Rollings School of
    Public Health), 2015-
   Sheriza Bakst, Doctoral Advisor (PhD/Epidemiology), 2015-2018
   Alex Secora, Doctoral Advisor (PhD/Epidemiology), 2016-
   Lucy Qiao, Doctoral Co-Advisor (PhD/Epidemiology), 2017-
   Kathleen Anderson, Doctoral Co-Advisor (PhD/Epidemiology), 2018-
   Jiajun Wen, Dissertation Committee Member (PhD/Epidemiology), 2018-

Other Trainees (Post-doctoral or beyond)
   Kevin Riggs, MD; Mentor for research program examining generic utilization and effect of drug
     coupons on drug utilization and expenditures, 2013-2016
   Mark Bicket, MD; Mentor of career development award activities focused on utilization, safety and
     effectiveness of prescription opioids in peri-operative setting, 2016-2018

Classroom Instruction
    Designer and Instructor, Pharmacoepidemiology: Drug Utilization, 2014-present (340.684.01)
    Co-Instructor, Design of Epidemiologic Studies: Proposal Development & Critique, 2015-present
       (340.715.01)
    Lecturer, Epidemiology of Aging (340.616.01)
    Lecturer, Pharmacoepidemiology Methods (340.682.01)
    Small Group Facilitator: Clinical Epidemiology, Johns Hopkins School of Medicine, 2014-2016
    Graduate Summer Institute of Epidemiology and Biostatistics: Pharmacoepidemiology (340.617.11)
          o Lecturer, 2012-2016
          o Designer and Co-Instructor, 2017-present

Other significant teaching
    Participate in informal mentoring with dozens of students through works in progress, journal clubs
       and seminar series within the Departments of Epidemiology (School of Public Health) and the
       Division of General Internal Medicine (Johns Hopkins Medicine)
    Co-lead Special Seminar Series “Pharmaceutical Safety, Value and Innovation” sponsored by Center
       for Drug Safety and Effectiveness




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TEACHING (University of Chicago, 2001-2012)

Undergraduate students
   Mounica Yanamandala, University of Chicago, Primary mentor (2009-2011)
   Regina Depietro, University of Chicago, Primary mentor (2009-2011)
   Mateusz Ciejka, University of Chicago, Primary mentor (2009-2010)
   Sarah Gallagher, University of Chicago, Primary mentor (2008-2009)
   Maliha Darugar, University of Chicago, Primary mentor (2003-2006)
   Nadiah Mohajir, Harris School for Public Policy, Honors thesis advisor (2002-2003)
   Diane McFadden, University of Chicago, Primary mentor (2002-2003)

Graduate students
   Frank Liu, Department of Pharmacy Administration, College of Pharmacy, University of Illinois at
   Chicago, Thesis committee (2008-2010)
   Teri Arthur, PhD, MSW, Social Services Administration, Dissertation Committee (2004-2008)
   Carolanne Dai, PhD, Harris School of Public Policy, Dissertation Committee (2002-2007)
   Sachiko Kuwabara, BA, Masters of Arts, University of Chicago (2004-2006)
   Melissa Brown, BA, Masters of Arts, University of Chicago (2005-2006)

Medical students
  Erica MacKenzie, BA, Research Mentor (2011)
  Daniel Kozman, BA, Research Mentor (2010)
  Jessica Pirella, BA, Research Mentor (2010)
  Andrew Cohen, BA, Research Mentor (2009)
  Michelle Stacey, BA, Research Mentor (2009)
  Karen Draper, BA, Research Mentor (2008)
  Allison Lale, BA, Research Mentor (2008)
  Rob Guzy, MD, PhD, Residency Advisor (2007)
  Susanne Phongsak, BA, Research Mentor (2006)
  Cesar Guerrero, BA, Research Mentor (2006)
  Patrick Lang, BA, Research Mentor (2004)
  Charles Kaufmann, MD, PhD, Residency Advisor (2004-2005)
  Stephanie Takahashi, MD, Residency Advisor (2005-2006)

Residents
   Victoria Wong, MD, Editorial fellow, Journal of General Internal Medicine (2009-)
   Femi Aboyeji, MD, Research elective mentor (2007)

Fellows
    Jonas DeSouza, MD (2010-2012)
    David Brush, MD (2009-2012)
    Milda Saunders, MD, MPH (2008-2012)
    Health services research fellows. University of Chicago (2004-2012)
    MacLean Center for Clinical Medical Ethics, Lecturer (2003-2012)
    Rachel Caskey, MD, Primary mentor (2006-2008)
    Alexia Torke, MD, HRSA Fellow, Primary mentor (2005-2007)
    Tumaini Colker, MD, MBA, Robert Wood Johnson Clinical Scholar (2005-2006)
    Gretchen Schwarze, MD, MPH, Vascular Surgery (2003-2006)



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Post-doctoral fellows
   Dima Qato, PharmD, MPH, PhD (2011)
   Atonu Rabbani, PhD (2007-2009)

Classroom Instruction
   Lecturer, The doctor-patient relationship in clinical practice (2002-2011)
   Lecturer, MacLean Center for Clinical Ethics Summer Intensive (2003-2011)
   Designer and lecturer, Research Design Course for RWJF Clinical Scholars (2004-2006)
   Designer and lecturer, Research Design Course for Fellow Summer Intensive (2004-2006)
   Lecturer, Introductory Course on the fundamentals of health services research

Other significant teaching
   Group leader for medical student summer research program (2004-2011)
   National Youth and Leadership Forum, Faculty participant (2005-2010)
   Participant in 1:1 Mentoring Program, Society of General Internal Medicine, 2007


RESEARCH GRANT AND CONTRACT PARTICIPATION

Current support
Grant: 1 T32 HL139426-01; 12/27/2017 – 12/26/2022; National Heart, Lung and Blood Institute
(Alexander/Segal)
Purpose: To optimize the safe and effective use of medicines to treat heart, lung and blood diseases

Grant: R01DK115534-01A1; 8/01/18 07/31/22; National Institutes of Diabetes and Digestive and Kidney
Diseases (Grams/Inker)
Purpose: To investigate the risk and benefits of specific medications across the range of kidney function
within 5 large, global electronic health records

Grant: 1R01DA044987-01; 9/30/2017 – 7/31/2021; National Institutes of Drug Abuse (McGinty/Rutkow)
Purpose: To quantify the effect of state laws intended to curb high-risk opioid prescribing

Grant: 1R01DA042738-01; 02/01/17–11/30/20; National Institutes of Drug Abuse (Rutkow)
Purpose: To assess the association between clean indoor air laws, cigarette taxes, and use of smoking
cessation treatments

Grant: 1 U01 FD005942-01; 9/1/2018-8/31/2022; Food and Drug Administration (Alexander)
Purpose: To enhance regulatory science through a unique FDA-academic partnership (CERSI)

Grant: 8/1/17-4/30/19; The Arnold Foundation (Andersen)
Purpose: To evaluate and advance policy recommendations to achieve a “fair price” of high cost prescription
drugs

Past support (selected list)
Grant: 5/5/2017- 1/30/2018; Department of Health and Human Services/ASPE (Alexander)
Purpose: To describe the breadth and depth of coverage policies for acute and chronic back pain among a
nationally representative selection of Medicaid, Medicare Advantage and commercial health plans

Grant: 7/1/2016-4/4/2017; AstraZeneca (Alexander)
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Purpose: To quantify the disease burden and resource utilization associated with Systemic Lupus
Erythematosus (SLE)

Grant: 12/2/2016-6/30/2017; AstraZeneca (Alexander)
Purpose: To characterize the association between organ damage, quality of life, and mortality among patients
with Systemic Lupus Erythematosus (SLE)

Grant: ID# 72452; 2/15/2015-1/31/2017; Robert Wood Johnson Foundation (Rutkow)
Purpose: To understand the role of interorganizational relationships, information sharing and legally
established infrastructure on prescription drug monitoring programs’ function and impact within the public
health system

Grant # U01FD005556: 09/15/15-08/31/16; Food and Drug Administration (Varadhan)
Purpose: To develop structural nested models to assess safety and effectiveness of generic drugs

Grant: 1 R01 HL 107345-01; 4/1/11-3/31/15; NHLBI (Alexander, Co-PI)
Purpose: To examine the effect of DTCA on prescription and non-prescription health care utilization

Grant: 1 R01 AG034187-01; 7/1/2012-6/30/2015; National Institutes on Aging (Kaestner)
Purpose: To determine if Part D Prescription Coverage Improves Health and Reduces Inpatient Use

Grant: 1 UO1 CE002499-01; 9/1/2014-9/1/2016; Center for Disease Control and Prevention (Alexander)
Purpose: To evaluate the effect of Florida’s Pill-Mill Law on opioid prescribing, utilization and dispensing

Grant: ID# 24741; 7/1/2014-1/1/2016; Robert Wood Johnson Foundation (Alexander)
Purpose: To evaluate the effect of Prescription Drug Monitoring Programs on opioid prescribing, utilization
and dispensing

Grant: 1 R01 HS 018960–01; 8/1/10-7/31/14; Agency for Health Care Quality and Research (Alexander)
Purpose: To assess the effect of FDA advisories on provider, patient, and firm behavior

Grant: 1 K08 HS15699-01A1; 2/01/06-2/01/11; Agency for Health Care Quality and Research (Alexander)
Purpose: To conduct a randomized trial to reduce patient’s out-of-pocket prescription costs

Grant: Robert Wood Johnson Physician Faculty Scholars Award; 7/1/06-6/30/09; RWJ Foundation (Alexander)
Title: Development and evaluation of interventions to reduce patients’ prescription costs

Contract: IMS Health Services Research Network; 10/1/10-12/31/11; IMS Health (Alexander)
Purpose: To develop and promote academic research network using IMS Health’s data assets to address questions
relevant to health care reform

Grant: UL1RR024999; 12/1/09-11/30/10; CTSA Institutional Pilot (Alexander)
Purpose: To quantify the impact of FDA advisories on psychotropic medication use among children

Grant: The University of Chicago Program for Pharmaceutical Policy; 2/01/05-6/1/09; The Merck
Foundation (Meltzer)
Purpose: To foster innovative research at the University of Chicago in pharmaceutical policy with a focus on
regulation, innovation, and technology assessment

Contract: HHSA 290 200 500 381; 9/16/05-9/15/10; Agency for Health Care Quality and Research (Schumock)
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Title: Chicago Area Pharmaceutical Outcomes Research Consortium. Developing Evidence to Inform Decisions
about Effectiveness: The DEcIDE Network

Grant: The Greenwall Foundation; 7/1/10-6/30/11 (Alexander)
Purpose: To conduct a mixed-methods study to examine management of conflict between physicians and surrogates
of critically ill adults

Grant: Center for Education and Research on Therapeutics (CERT); 09/01/07 – 3/31/11; Agency for Health Care
Quality and Research (Meltzer)
Purpose: To create an education and research infrastructure that produces and disseminates knowledge to
improve the effectiveness and cost-effectiveness of the use of therapeutics

Grant: Mixed-methods exploration of the adoption of the HPV Vaccine; 10/1/07-9/30/08; University of
Chicago Program for Pharmaceutical Policy Pilot Grant (Alexander)
Purpose: To establish prevalence and determinants of HPV vaccine uptake

Contract: HHSA29020050038I; 9/15/06-1/29/07; AHRQ (Walton)
Purpose: To develop a method of prioritization of research efforts on off-label drug use

Grant: R39OT03411-01-00; 10/01/04-09/30/07; Health Resources and Services Administration Division of
Transplantation (Lang)
Purpose: To develop, implement, and assess workplace intervention to increase organ donor intention

Grant: The Medicaid Pharmacy Cost Containment and Patient Outcomes; 7/1/06-6/30/07; Center for Health
and the Social Sciences - University of Chicago Pilot Grant (Alexander)
Purpose: To examine association between Medicaid cost-containment policies and clinical outcomes

Grant: Donald W. Reynolds Foundation; 9/1/03-8/31/07; National Institute of Aging (Sachs)
Purpose: Faculty Development in Geriatrics

Grant: Robert Wood Johnson Foundation Clinical Scholars Program; 7/1/03-7/1/06; Robert Wood Johnson
Foundation (Lantos)
Purpose: To provide a post-residency academic program that trains scholars to apply pure research methods
to health-related problems.

Grant: 1 H39 OT 00086-01; 10/01/01-09/30/04; Health Resources and Services Administration Division of
Transplantation (Lang)
Purpose: To develop, implement, and assess a corporate workplace intervention designed to increase
intention to become an organ donor

Grant: 5 K12 AG00488; 09/01/96-08/31/04; National Institute of Aging (Sachs)
Purpose: Geriatric Academic Program Award


ACADEMIC SERVICE

   2016               Faculty Search Committee (John Jackson), Department of Epidemiology, JHSPH
   2015               Faculty Search Committee (Mara McAdams), Department of Epidemiology, JHSPH
   2015               Faculty Search Committee, Johns Hopkins Berman Institute of Bioethics
   2014-2015          Graduate Training Program in Clinical Investigation (GTPCI) Review Committee

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   2014-2017          Admissions and Credentials Committee, Department of Epidemiology, JHSPH
   2014-              Technology Transfer Committee, JHSPH
   2013-2017          Curriculum Committee, Department of Epidemiology, JHSPH
   2010-2012          Diabetes Research and Training Center, University of Chicago
   2006-2010          Biological Sciences Division Institutional Review Board Member
   2006               Steering Committee, Conference on Pharmaceutical Policy, Chicago, Illinois
   2006-2008          Steering Committee, DOM Research Day, University of Chicago
   2006-2008          Steering Committee, UOC Program in Pharmaceutical Policy, University of Chicago
   2005-2006          Search Committee, UOC Comprehensive Cancer Center, Population Science Director
   2003-2012          MacLean Center Ethics Committee, University of Chicago
   2003-2008          Medicine and the Social Sciences, Co-Chair, University of Chicago
   2000-2001          General Medicine Interest Group, Co-Chair, UPHS
   2000-2001          Residency Review Committee, Class Officer, UPHS
   1999-2001          Hospital of the University of Pennsylvania Ethics Committee, UPHS
   1996-1997          Rainbow Babies and Children’s Hospital Ethics Committee, CWRU
   1994-1996          Class Officer and Chair, Committee of Student Representatives, CWRU



INVITED SEMINARS

Local or Regional Seminars
1. Racial differences in access and outcomes of kidney transplantation. Workshop on medicine and the
   social sciences. University of Chicago. November 2002.

2. Public support for physician deception of insurance companies. Council on ethical and judicial affairs,
   American Medical Association. Chicago, IL. April 2003.

3. Truth and lies: are the rules different for lawyers? Panel discussion at the American Bar Association
   Conference on Professional Responsibility. May 2003.

4. Patient-physician communication about out-of-pocket costs. Northwestern University, December 2002.

5. Patient-physician communication about out-of-pocket costs. Program in Medicine, Arts, and the Social
   Sciences. University of Chicago. Feb 2004.

6. Patient-physician communication about out-of-pocket costs. Program in Medicine, Arts, and the Social
   Sciences. University of Chicago. February 2004.

7. Is prescription choice rational? By whose standards? Pharmaceutical innovation and regulation: an
   American dilemma. Faculty workshop, University of Chicago. February 2004.

8. The doctor-patient relationship in the post-managed care era. American Medical Association. Chicago,
   IL. May 2004.

9. National trends in Cox-2 inhibitor use since market release: the non-selective diffusion of a selectively
   cost-effective innovation. Center for Pharmacoeconomics Research, University of Illinois School of
   Pharmacy. July 2004.


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10. Division of Geriatrics Grand Rounds, University of Chicago Hospitals. A framework for medication
    prioritization and discontinuation. December 2004.

11. Department of Medicine Grand Rounds, University of Chicago Hospitals. Pharmaceutical innovation
    and the doctor-patient relationship: understanding the diffusion of Cox-2 inhibitors from 30,000 feet to
    the ground level. February 2005.

12. Bioethics Interest Group, Stritch School of Medicine, Layola University. Physician deception of
    insurance companies. April 2005.

13. Midwest Center for Health Services and Policy Research. Hines Veterans Affairs System, Hines, IL.
    The diffusion of pharmaceutical innovation in the Veterans Affairs Health System. November 2005.

14. American Medical Student Association Panel Discussion. Pritzker School of Medicine, University of
    Chicago. Discussed role of industry in physician education and prescribing. November 2005.

15. Bioethics Interest Group. Pritzker School of Medicine, University of Chicago. Empiric ethics . . . or . . .
    what do numbers have to do with right and wrong? February 2006.

16. Chicago Medical Society. Panel discussion on medical ethics. Holiday Inn – Chicago Mart Plaza.
    Chicago, IL. March 2006.

17. Ethics dinner discussion with students from Pritzker Medical School, University of Chicago, May 2006.

18. The road less traveled – career paths in general internal medicine. National Youth Leadership Forum on
    Medicine, Chicago, IL. June 2006.

19. The Union League. Ethics considerations in pandemic planning. Chicago, IL. October 2006.

20. Attention: You have just entered the cost-sharing era: ethical, policy, and clinical considerations.
    Department of Medicine Research Series, December 2006.

21. Pharmacothis and pharmacothat: exploring topics in pharmaceutical research. University of Chicago
    Division of General Medicine Outcomes Group. March 2007.

22. Thinking globally, acting locally: a Chicagoland collaboration to unravel the impact of the Medicare
    Prescription Drug Benefit. TAP Pharmaceuticals. Chicago Midwest ISPOR Meeting. April 2007.

23. What do general internists do, and why? National Youth Leadership Forum on Medicine, Chicago, IL.
    June 2007.

24. The best of times, the worst of times: clinical decision-making and prescription choice in the 21st
    Century. Department of Otolaryngology. University of Chicago. October 2007.

25. What do we know about health care provider interaction with the pharmaceutical industry? University
    of Illinois Medical Center at Chicago Clinical Ethics Conference. March 2008.

26. Asking the right question(s) and getting funded to do so. University of Illinois at Chicago Advanced
    methods and grant writing workshop. March 2008.


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27. Challenges and opportunities examining the off-label use of prescription medicines. Institute for
    Healthcare Studies. Northwestern University, Chicago, IL, May 2008.

28. Improving pharmacotherapy during outpatient care. Primary care medicine today (PRIMED)
    conference. Rosemont, IL, February 2009.

29. Choosing a research question: the perennial dilemma of “what shall I study”? Midwest Hospitalist
    Meeting. Chicago, IL. October 2009.

30. Conflicts of interest in medicine. Pritzker School of Medicine, University of Chicago. May 2010.

31. Using social network methods to study prescription drug uptake and diffusion. Department of Health
    Studies. University of Chicago. November 2010.

32. Managing risk through ethical practice. ISMIE Mutual Insurance Company. Chicago, IL 2010.

33. Overview of Clinical Epidemiology, in Fundamentals of Epidemiology. Johns Hopkins Krieger School
    of Arts and Sciences. November 2012.

34. The Prescription Opioid Epidemic: In Search of Mission Control.
     Johns Hopkins Welch Center for Prevention, Epidemiology and Clinical Research Grand Rounds.
       December 2012.
     University of Maryland Department of Pharmaceutical Health Services Research. April 2013.
     Johns Hopkins Department of Medicine Osler Grand Rounds, October 2013.
     Anne Arundel Medical Center Department of Medicine Grand Rounds, January 2014.

35. Drugs and Aging, in Epidemiology of Aging. Johns Hopkins Bloomberg School of Public Health. May
    2013.

36. Career Development, in Public Health Economics Seminar. Johns Hopkins Bloomberg School of Public
    Health. September 2013.

37. The Effect of FDA Risk Communications on Patient, Provider and Firm Behavior. Johns Hopkins
    Department of Psychiatry Research Conference, December 2013.

38. Managing Prescription Opioids In Workers Compensation Programs. American Insurance Association.
    Washington, DC. June 2014.

39. Secondary Data Analysis. General Internal Medicine Fellows Conference. Johns Hopkins Medicine.
    Baltimore, MD. September 2014.

40. Center for Medical Technology Policy (CMTP) Green Park Collaborative Annual Meeting. “Real
    World Evidence – Defining What “Good” Looks Like”. Panel Discussion. April 2015.

41. Safety, Efficacy and Pharmacokinetic Bioequivalence of Biosimilar TNF-α Inhibitors Compared with
    their Reference Biologics: A Systematic Review. Department of Clinical Pharmacology, Johns Hopkins
    Hospital. February 2016.

42. Reducing Prescription Drug Spending: A Review of Policy Options. Johns Hopkins Bloomberg School
    of Public Health. March 2016.
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43. Keynote. Managing the Unmanageable: Reining in the Opioid Epidemic. CareFirst. Baltimore,
    Maryland, June 2017.

44. Moderator. Epidemiology Inclusion, Diversity, Equity & Science (Epi IDEAS) Communication with
    Policy Makers: The Opioid Epidemic. Panel Discussion featuring Lauren Jee and Amanda Latimore.
    Johns Hopkins Bloomberg School of Public Health. Baltimore, Maryland, January 2019.

National or International Seminars
45. Panel discussion of interdisciplinary health professions education. Ohio League of Nursing Annual
    Meeting, Cleveland, Ohio, October 1996.

46. Grand Rounds, Department of Medicine, University of Pennsylvania: Pharmaceutical industry
    sponsorship of continuing medical education: training physicians or marketing products? June 2001.

47. Patient-physician communication about out-of-pocket costs. University of Michigan, January 2003.

48. Patient-physician communication about out-of-pocket costs. MetroHealth Medical Center, January
    2003.

49. “Luxury care”, professional standards, and personal choice: ethical and professional issues in retainer
    medical practices. Panel discussion at the American Society of Bioethics and Humanities Annual
    Meeting. October 2004.

50. Ad hoc pharmacoeconomics working group. AstraZeneca LP. Patient-physician communication about
    out-of-pocket costs. June 2005.

51. How much should $38 billion buy? The uptake and impact of the Medicare Part D Prescription Benefit.
    Department of Medicine. VA Center for Health Equity Promotion and Research and University of
    Pittsburgh Department of Medicine. December 2007.

52. The Medicare Modernization Act Prescription Drug Benefit. Department of Ambulatory Care and
    Prevention, Harvard Medical School. January 2008.

53. Principles of survey research. Patan Academy of Health Sciences. Kathmandu, Nepal, April 2008.

54. Health care publishing in the peer-reviewed literature. Patan Academy of Health Sciences. Kathmandu,
    Nepal, April 2008.

55. Impact of FDA regulatory advisories on patient, provider and firm behavior. Mayo Clinic, April 2010;
    Virginia Commonwealth University, October 2010; Yale University, November 2010; Johns Hopkins
    University School of Medicine, November 2010; Johns Hopkins University School of Public Health,
    June 2011.

56. Special Guest: FED UP: Rally for a Federal Response to the Opioid Epidemic, National Sylvan Theater
    Stage at the Washington Monument, Washington DC, September 2014.

57. Panelist: Art and Science of Scientific Communications. CBI Advanstar. Publication Planning Forum.
    Philadelphia, PA. December 2014.

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58. CMS Grand Rounds: The Opioid Epidemic. CMS Headquarters, Baltimore, MD. November 2015.

59. Panelist: Drug Safety and Surveillance. FDA/CMS Summit. IIR/IBC Life Sciences. Ritz Carlton
    Hotel, Washington DC, December 2015.

60. Special Guest: The Opioid Epidemic. American Insurance Association: Workers’ Compensation
    Committee. Washington DC, February 2015.

61. Safety, Efficacy and Pharmacokinetic Bioequivalence of Biosimilar Tumor Necrosis Factor-alpha
    Inhibitors Compared with their Reference Biologics: A Systematic Review. Harvard Pilgrim Health
    Care. March 2016.

62. The Opioid Epidemic. Johns Hopkins Department of Pharmacy Grand Rounds. May 2016.

63. Guest Speaker: Innovations in Diabetes Care. Academy of Managed Care Pharmacy. Alexandria,
    Virginia, July 2016.

64. Panelist: Needed Changes in Federal Policy and Legislation to Address Nation’s Opioid Crisis.
    Educational Briefing for Congressional Members and Staff. Washington, DC, September 2016.

65. Panelist: Balancing Opioid Access and Use. Academy of Managed Care Pharmacy Annual Research
    Symposium. Alexandria, Virginia, October 2016.

66. Keynote. An Evidence-Based Approach to the Opioid Epidemic. National Academy for State Health
    Policy. Pittsburgh, Pennsylvania, October 2016.

67. Special Guest Speaker. Science, Public Health and the Prescription Opioid Industry. Motley Rice LLC.
    Washington, DC, June 2017.

68. Guest Speaker. Opioid Prescribing Practices. Bloomberg Philanthropies. January 2018.

69. Plenary Speaker. Conundrums in Biotechnology: How Does Quality Impact Safety. World Congress of
    Biopharmaceuticals. Washington, DC, February 2018.

70. Special Invited Speaker. “Covering the Opioid Crisis”. National Press Foundation. Washington, DC,
    February 2018.

71. Guest Panelist. “Addressing Prescription Drug Costs”. Johns Hopkins Carey School of Business Drug
    Accessibility and Pricing Symposium. Baltimore, MD, March 2018.

72. Guest Panelist. “Best Practices in Opioid Prescription, Pain Management, Medicine-Assisted Treatment
    and Recovery: New Models of Care for Opioid Use Disorder”. Modern Healthcare Opioid Symposium.
    Baltimore, MD, April 2018.

73. Invited Speaker. “Comparative Safety of NSAIDs and Opioids Among Hospitalized Patients: A Case
    Study”. Premier Annual Breakthroughs Conference. Nashville, TN, June 2018.

74. Guest Speaker. National Governor’s Association. Opioid Coverage Policy Roundable. Washington, DC,
    June 2018.
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75. Invited Panelist. National Black Caucus Foundation. Protecting the Health, Safety and Security of
    African American Communities. Health and Wellness Luncheon. Washington, DC, September 2018.

76. Session Moderator. State Legislative Leaders Foundation (SLLF) Fall Issues Summit. Addressing the
    Opioid Crisis. Baltimore, MD, September 2018.

77. Panelist. “Addiction Research – What is New and What is Interesting?” and “Why Recovery Research
    Matters and Why Residents and Alumni Should Participate”. Oxford House World Convention.
    Kansas City, MO, October 2018.

78. Facilitator. Academy of Managed Care Pharmacy Partnership Forum: “Building the Foundation for
    Patient-Reported Outcomes: Infrastructure and Methodologies”. Orlando, FL, November 2018.

79. Invited Panelist. National Academies of Science, Engineering and Medicine. “The Role of
    Nonpharmacological Approaches to Pain Management.” Washington, DC, December 2018.

80. Medicine Grand Rounds. Weill Cornell Medicine. “The Opioid Epidemic: Grief and Hope in the New
    Year”. New York, NY, January 2019.




NARRATIVE

G. Caleb Alexander, MD, MS is an Associate Professor of Epidemiology and Medicine at Johns Hopkins
Bloomberg School of Public Health, where he serves as a founding co-Director of the Center for Drug Safety
and Effectiveness and Principal Investigator of the Johns Hopkins Center of Excellence in Regulatory Science
and Innovation (CERSI). He is a practicing general internist and pharmacoepidemiologist and is internationally
recognized for his research examining prescription drug utilization, safety and effectiveness. Dr. Alexander is
the author of over 250 scientific articles and book chapters, and he has published regularly in leading scientific
journals including JAMA, Health Affairs and the Annals of Internal Medicine. He is a frequent speaker on
health care issues and has served on numerous editorial and advisory boards. Due to its impact and relevance
to a broad sector of the general public, his work has been widely featured in a media including the Economist,
Scientific American, the New York Times, the Wall Street Journal, Washington Post, National Public Radio
and other media. Dr. Alexander’s research focuses on population-based patterns and determinants of
pharmaceutical use, clinical decision-making regarding prescription drugs, and the impact of changes in
regulatory and payment policy on pharmaceutical utilization. In addition to expertise conducting survey-based
investigations, he has also extensive experience with the analysis of secondary data sources including
administrative claims and large national surveys. Dr. Alexander received his B.A. cum laude from the
University of Pennsylvania, an MD from Case Western Reserve University, and a Master of Science from the
University of Chicago.



KEYWORDS
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Pharmacoepidemiology, medication use, pharmaceutical policy, patient-physician communication, general
internal medicine




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                               Alexander Publications: 2009 - 2019

1.    AMBULATORY DIAGNOSIS AND TREATMENT OF NONMALIGNANT PAIN IN THE UNITED
STATES, 2000–2010 Med Care: Author manuscript; available in PMC 2014 October 01.

2.    AMBULATORY DIAGNOSIS AND TREATMENT OF NONMALIGNANT PAIN IN THE UNITED
STATES, 2000–2010 Med Care. 2013 October ; 51(10): .

3.     Clinical Prescribing (and Off-Label Use) in a Second-Best World Medical Care. 48(4):285-
287, APR 2010
4.    The Effect of the Medicare Part D Prescription Benefit on Drug Utilization and
Expenditures Ann Intern Med. 2008; 148:169-177.

5.     EFFECTS OF PRESCRIPTION DRUG INSURANCE ON HOSPITALIZATION AND MORTALITY:
EVIDENCE FROM MEDICARE PART D NBER Working Paper No. 19948 February 2014
JEL No. I12, I13,I18

6.     ENHANCING PRESCRIPTION DRUG INNOVATION AND ADOPTION Ann Intern Med. 2011
June 21; 154(12): 833–301.

7.     Impact of Fda Black Box Advisory on Antipsychotic Use; Article in Archives of internal
medicine · January 2010

8.   IMPACT OF FDA DRUG RISK COMMUNICATIONS ON HEALTH CARE UTILIZATION AND
HEALTH BEHAVIORS: A SYSTEMATIC REVIEW Published in final edited form as: 2012 June; 50(6):
466–478

9.     THE IMPACT OF MEDICARE PART D ON MEDICARE-MEDICAID DUAL-ELIGIBLE
BENEFICIARIES' PRESCRIPTION UTILIZATION AND EXPENDITURESNBER Working Paper No.
14413, October 2008

10. Impact of prescription drug monitoring programs and pill mill law son high-risk opioid
prescribers: A comparative interrupted time series analysis; Drug and Alcohol Dependence ·
June 2016

11.    National Trends in Ambulatory Asthma Treatment, 1997–2009; J Gen Intern Med
26(12):1465–70.

12. National Trends in Oral Anticoagulant Use in the United States, 2007 to 2011; Circ
.


Cardiovasc Qual Outcomes is available at http://circoutcomes.ahajournals.org

13. National Trends in Treatment of Type 2 Diabetes Mellitus, 1994–
2007; Arch Intern Med. 2008 October 27; 168(19): 2088–2094.
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14. The Prescription Opioid and Heroin Crisis: A Public Health Approach to an Epidemic of
Addiction; Annu. Rev. Public Health 2015. 36:559–74.

15. Primary Care Physicians' Knowledge and Attitudes Regarding Prescription Opioid Abuse
and Diversion. Clin J Pain. 2016; 32(4):279-84 (ISSN: 1536-5409)

16. PRIORITIZING FUTURE RESEACH ON OFF-LABEL PRESCRIBING: RESULTS OF
A QUANTITATIVE EVALUATION; Published in final edited form as:
Pharmacotherapy. 2008 December ; 28(12): 1443–1452. doi:10.1592/phco.28.12.1443
